             IN THE SUPREME COURT OF NORTH CAROLINA

                                2022-NCSC-17

                                 No. 413PA21

                            Filed 14 February 2022

REBECCA HARPER; AMY CLARE OSEROFF; DONALD RUMPH; JOHN
ANTHONY BALLA; RICHARD R. CREWS; LILY NICOLE QUICK; GETTYS
COHEN, JR.; SHAWN RUSH; JACKSON THOMAS DUNN, JR.; MARK S.
PETERS; KATHLEEN BARNES; VIRGINIA WALTERS BRIEN; and DAVID
DWIGHT BROWN

            v.
REPRESENTATIVE DESTIN HALL, in his official capacity as Chair of the House
Standing Committee on Redistricting; SENATOR WARREN DANIEL, in his
official capacity as Co-Chair of the Senate Standing Committee on Redistricting
and Elections; SENATOR RALPH HISE, in his official capacity as Co-Chair of the
Senate Standing Committee on Redistricting and Elections; SENATOR PAUL
NEWTON, in his official capacity as Co-Chair of the Senate Standing Committee
on Redistricting and Elections; SPEAKER OF THE NORTH CAROLINA HOUSE
OF REPRESENTATIVES, TIMOTHY K. MOORE; PRESIDENT PRO TEMPORE
OF THE NORTH CAROLINA SENATE, PHILIP E. BERGER; THE NORTH
CAROLINA STATE BOARD OF ELECTIONS; and DAMON CIRCOSTA, in his
official capacity

NORTH CAROLINA LEAGUE OF CONSERVATION VOTERS, INC.; HENRY M.
MICHAUX, JR.; DANDRIELLE LEWIS; TIMOTHY CHARTIER; TALIA FERNÓS;
KATHERINE NEWHALL; R. JASON PARSLEY; EDNA SCOTT; ROBERTA
SCOTT; YVETTE ROBERTS; JEREANN KING JOHNSON; REVEREND
REGINALD WELLS; YARBROUGH WILLIAMS, JR.; REVEREND DELORIS L.
JERMAN; VIOLA RYALS FIGUEROA; and COSMOS GEORGE

      v.

REPRESENTATIVE DESTIN HALL, in his official capacity as Chair of the House
Standing Committee on Redistricting; SENATOR WARREN DANIEL, in his
official capacity as Co-Chair of the Senate Standing Committee on Redistricting
and Elections; SENATOR RALPH E. HISE, JR., in his official capacity as Co-Chair
of the Senate Standing Committee on Redistricting and Elections; SENATOR
PAUL NEWTON, in his official capacity as Co-Chair of the Senate Standing
Committee on Redistricting and Elections; REPRESENTATIVE TIMOTHY K.
MOORE, in his official capacity as Speaker of the North Carolina House of
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                                  2022-NCSC-17

                                Opinion of the Court



Representatives; SENATOR PHILIP E. BERGER, in his official capacity as
President Pro Tempore of the North Carolina Senate; THE STATE OF NORTH
CAROLINA; THE NORTH CAROLINA STATE BOARD OF ELECTIONS;
DAMON CIRCOSTA, in his official capacity as Chairman of the North Carolina
State Board of Elections; STELLA ANDERSON, in her official capacity as
Secretary of the North Carolina State Board of Elections; JEFF CARMON III, in
his official capacity as Member of the North Carolina State Board of Elections;
STACY EGGERS IV, in his official capacity as Member of the North Carolina State
Board of Elections; TOMMY TUCKER, in his official capacity as Member of the
North Carolina State Board of Elections; and KAREN BRINSON BELL, in her
official capacity as Executive Director of the North Carolina State Board of
Elections



      Appeal pursuant to N.C.G.S. § 7A-27(b)(1) from the unanimous decision of a

three-judge panel of the Superior Court in Wake County, denying plaintiffs’ claims

and requests for Declaratory Judgment and Permanent Injunctive Relief. On 8

December 2021, pursuant to N.C.G.S. § 7A-31 and Rule 15(e) of the North Carolina

Rules of Appellate Procedure, the Supreme Court allowed plaintiffs’ petitions for

discretionary review prior to determination by the Court of Appeals. Heard in the

Supreme Court on 2 February 2022.


      Patterson Harkavy LLP, by Narendra K. Ghosh, Burton Craige, and Paul E.
      Smith; Elias Law Group LLP, by Abha Khanna, Lalitha D. Madduri, Jacob D.
      Shelly, and Graham W. White; and Arnold and Porter Kaye Scholer LLP, by
      Elisabeth S. Theodore, R. Stanton Jones, and Samuel F. Callahan, for Harper
      plaintiff-appellants.

      Robinson, Bradshaw &amp; Hinson, P.A., by Stephen D. Feldman, John R. Wester,
      Adam K. Doerr, and Erik R. Zimmerman; and Jenner &amp; Block LLP, by Sam
      Hirsch, Jessica Ring Amunson, Zachary C. Schauf, Karthik P. Reddy, and Urja
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                            2022-NCSC-17

                          Opinion of the Court



Mittal, for North Carolina League of Conservation Voters, Inc. plaintiff-
appellants.

Southern Coalition for Social Justice, by Hilary H. Klein, Allison J. Riggs,
Mitchell Brown, Katelin Kaiser, Jeffrey Loperfido, and Noor Taj; and Hogan
Lovells US LLP, by J. Tom Boer and Olivia T. Molodanof, for Common Cause
plaintiff-appellant.

North Carolina Department of Justice, by Amar Majmundar, Senior Deputy
Attorney General, and Terence Steed, Mary Carla Babb, and Stephanie A.
Brennan, Special Deputy Attorneys General, for State defendant-appellees.

Nelson Mullins Riley &amp; Scarborough, LLP, by Phillip J. Strach, Alyssa M.
Riggins, John Branch, and Thomas A. Farr; and Baker &amp; Hostetler LLP, by
Katherine L. McKnight and E. Mark Braden, for Legislative Defendants
defendant-appellees.

Abraham Rubert-Schewel, Chris Lamar, and Orion de Nevers, for Campaign
Legal Center, amicus curiae.

Haynsworth Sinkler Boyd, P.A., by William C. McKinney, Jonathan D. Klett
and Sara A. Sykes; and States United Democracy Center, by Christine P. Sun
and Ranjana Natarajan, for former governors, amici curiae.

Poyner Spruill LLP, by Edwin M. Speas Jr. and Caroline P. Mackie, for
Buncombe County Board of Commissioners, amicus curiae.

Joshua H. Stein, Attorney General, by Ryan Y. Park, Solicitor General, James
W. Doggett, Deputy Solicitor General, and Zachary W. Ezor, Solicitor General
Fellow, for Governor Roy A. Cooper II and Attorney General Joshua H. Stein,
amici curiae.

Phelps Dunbar LLP, by Nathan A. Huff and Jared M. Burtner, for National
Republican Congressional Committee, amicus curiae.

Forward Justice, by Kathleen E. Roblez, Caitlin A. Swain, Daryl V. Atkinson,
Ashley M. Mitchell, and Aviance Brown; and Irving Joyner for NC NAACP,
amicus curiae.
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                                           Opinion of the Court



            Poyner Spruill LLP, by Caroline P. Mackie, for Professor Charles Fried, amicus
            curiae.


            HUDSON, Justice.


¶1          Today, we answer this question: does our state constitution recognize that the

     people of this state have the power to choose those who govern us, by giving each of

     us an equally powerful voice through our vote? Or does our constitution give to

     members of the General Assembly, as they argue here, unlimited power to draw

     electoral maps that keep themselves and our members of Congress in office as long

     as they want, regardless of the will of the people, by making some votes more powerful

     than others? We hold that our constitution’s Declaration of Rights guarantees the

     equal power of each person’s voice in our government through voting in elections that

     matter.

¶2          In North Carolina, we have long understood that our constitution’s promise

     that “[a]ll elections shall be free” means that every vote must count equally. N.C.

     Const. art. I, § 10. As early as 1875, this Court declared it “too plain for argument”

     that the General Assembly’s malapportionment of election districts “is a plain

     violation of fundamental principles.”1 People ex rel. Van Bokkelen, v. Canaday, 73

     N.C. 198, 225 (1875). Likewise, this Court has previously held that judicial review


            1 Even earlier, in 1787, this Court held that the courts must interpret the constitution

     and invalidate laws that violate it. Bayard v. Singleton, 1 N.C. (Mart.) 5, 7 (1787).
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                                          Opinion of the Court



     was appropriate in legislative redistricting cases to enforce the requirements of the

     state constitution, even when doing so means interpreting state constitutional

     provisions more expansively than their federal counterparts. See Stephenson v.

     Bartlett, 355 N.C. 354, 379–82 (2002).

¶3          “A system of fair elections is foundational to self-government.” Comm. to Elect

     Dan Forest v. Emps. Pol. Action Comm., 376 N.C. 558, 2021-NCSC-6, ¶ 86 (Newby,

     C.J., concurring in the result). While partisan gerrymandering is not a new tool,

     modern technologies enable mapmakers to achieve extremes of imbalance that, “with

     almost surgical precision,”2 undermine our constitutional system of government.3

     Indeed, the programs and algorithms now available for drawing electoral districts

     have become so sophisticated that it is possible to implement extreme and durable

     partisan gerrymanders that can enable one party to effectively guarantee itself a

     supermajority for an entire decade, even as electoral conditions change and voter


            2 We note this expression was coined to describe the precision with which the North

     Carolina General Assembly targeted African American voters through the identification and
     exclusion of various forms of voter photo identification. N.C. State Conf. of NAACP v.
     McCrory, 831 F.3d 204, 214 (4th Cir. 2016). We believe it is equally apt as a description of
     the technical proficiency with which legislators across the country dilute the power of votes
     through the drawing of district lines.
            3 In fact, the term “gerrymander” was coined in 1812 after the redrawing of

     Massachusetts Senate election districts to ensure the advantage of the Democratic-
     Republican Party under then-Governor Elbridge Gerry, in reference to a district drawn in a
     manner so contrived that it was said to resemble a salamander. The gerrymander was
     successful, as although the Federalist Party ousted Governor Gerry and flipped the
     Massachusetts House in the 1812 election, the Democratic-Republicans retained control of
     the state senate under this map. See Elmer C. Griffith, The Rise and Development of the
     Gerrymander 73–77 (1907).
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                                             2022-NCSC-17

                                           Opinion of the Court



     preferences   shift.   Fortunately,     the    technology    that   makes   such   extreme

     gerrymanders possible likewise makes it possible to reliably evaluate the partisan

     asymmetry of such plans and review the extent to which they depart from and

     subordinate traditional neutral redistricting principles.

¶4         Partisan gerrymandering creates the same harm as malapportionment, which

     has previously been held to violate the state constitution: some peoples’ votes have

     more power than others. But a legislative body can only reflect the will of the people

     if it is elected from districts that provide one person’s vote with substantially the

     same power as every other person’s vote. In North Carolina, a state without a citizen

     referendum process and where only a supermajority of the legislature can propose

     constitutional amendments, it is no answer to say that responsibility for addressing

     partisan gerrymandering is in the hands of the people, when they are represented by

     legislators who are able to entrench themselves by manipulating the very democratic

     process from which they derive their constitutional authority. Accordingly, the only

     way that partisan gerrymandering can be addressed is through the courts, the branch

     which has been tasked with authoritatively interpreting and enforcing the North

     Carolina Constitution.

¶5         Here, the General Assembly enacted districting maps for the United State

     Congress, the North Carolina House of Representatives, and the North Carolina

     Senate that subordinated traditional neutral redistricting criteria in favor of extreme
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                                           2022-NCSC-17

                                         Opinion of the Court



     partisan advantage by diluting the power of certain people’s votes.4 Despite finding

     that these maps were “extreme partisan outliers[,]” “highly non-responsive” to the

     will of the people, and “incompatible with democratic principles[,]” the three-judge

     panel below allowed the maps to stand because it concluded that judicial action

     “would be usurping the political power and prerogatives” of the General Assembly.

¶6         We emphatically disagree. Although the task of redistricting is primarily

     delegated to the legislature, it must be performed “in conformity with the State

     Constitution.” Stephenson, 355 N.C. at 371. It is thus the solemn duty of this Court

     to review the legislature’s work to ensure such conformity using the available

     judicially manageable standards. We will not abdicate this duty by “condemn[ing]

     complaints about districting to echo into a void.” Rucho v. Common Cause, 139 S. Ct.

     2484, 2507 (2019). Today, we hold that the enacted maps violate several rights

     guaranteed to the people by our state constitution. Accordingly, we reverse the

     judgment of the trial court below and remand this case back to that court to oversee

     the redrawing of the maps by the General Assembly or, if necessary, by the court.

¶7         Our dissenting colleagues have overlooked the fundamental reality of this case.

     Rather than stepping outside of our role as judicial officers and into the policymaking

     realm, here we are carrying out the most fundamental of our sacred duties: protecting




           4 The 2021 enacted plans for Congress, the North Carolina House of Representatives,

     and the North Carolina Senate have been attached in an appendix for ease of reference.
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                                           2022-NCSC-17

                                        Opinion of the Court



     the constitutional rights of the people of North Carolina from overreach by the

     General Assembly. Rather than passively deferring to the legislature, our

     responsibility is to determine whether challenged legislative acts, although presumed

     constitutional, encumber the constitutional rights of the people of our state. Here, our

     responsibility is to determine whether challenged apportionment maps encumber the

     constitutional rights of the people to vote on equal terms and to substantially equal

     voting power. This role of the courts is not counter to precedent but was one of the

     earliest recognized. In 1787, in Bayard v. Singleton, 1 N.C. (Mart.) 5 (1787), in a

     passage quoted by the dissenters, the Court held that it must step in to keep the

     General Assembly from taking away the state constitutional rights of the people, and

     “if the members of the General Assembly could do this, they might with equal

     authority . . . render themselves the Legislators of the State for life, without any

     further election of the people[,]” id. at 7. This we cannot countenance.

¶8         The dissenters here do not challenge in any way, as Legislative Defendants

     presented no evidence at trial to disprove, the extensive findings of fact of the trial

     court, to the effect that the enacted plans are egregious and intentional partisan

     gerrymanders, designed to enhance Republican performance, and thereby give a

     greater voice to those voters than to any others. Instead, they attempt at some length

     to justify our taking no action to correct the constitutional violations or to ignore them

     altogether. For example, while acknowledging that the “right to vote on equal terms
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                                           2022-NCSC-17

                                        Opinion of the Court



     is a fundamental right,” citing Northampton Cnty. Drainage Dist. No. One v. Bailey,

     326 N.C. 742, 747 (1990) (emphasis by the dissent), the dissent asserts, contrary to

     the findings and the extensive evidence at the trial and with no citation to the record

     or other authority, that “partisan gerrymandering has no significant impact upon the

     right to vote on equal terms.”

¶9         Our contrary view is the beating heart of this case. Accordingly, we must act

     as a Court to make sure that the rights of the people are treated with proper respect.

     In so doing, we are protecting the individual rights of voters to cast votes that matter

     equally, as guaranteed by our constitution in article I, sections 10, 12, 14, and 19:

                  Sec. 10. Free elections.
                         All elections shall be free.

                  Sec. 12. Right of assembly and petition.
                         The people have a right to assemble together to
                  consult for their common good, to instruct their
                  representatives, and to apply to the General Assembly for
                  redress of grievances; . . . .

                  Sec. 14. Freedom of speech and press.
                         Freedom of speech and of the press are two of the
                  great bulwarks of liberty and therefore shall never be
                  restrained, but every person shall be held responsible for
                  their abuse.

                  Sec. 19. Law of the land; equal protection of the laws.
                         . . . No person shall be denied the equal protection of
                  the laws; . . . .

     N.C. Const. art. I, §§ 10, 12, 14, 19. We ground our decision in the text, structure,

     history, and intent of these provisions from the Declaration of Rights.
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                                             2022-NCSC-17

                                          Opinion of the Court



¶ 10         Despite the dissenters’ repeated assertions, we seek neither proportional

       representation for members of any political party, nor to guarantee representation to

       any particular group. We are only upholding the rights of individual voters as

       guaranteed by our state constitution. As the dissenters have noted, in Deminski and

       Corum, this Court has recently recognized and even expanded the role of the Court

       to interpret and protect individual rights enumerated in the state constitution.

¶ 11         In this opinion, we give as much direction as appropriate to the General

       Assembly while fully respecting their authority to proceed first in the effort to draw

       maps that meet constitutional standards. Should they be unable to do so or if they

       produce maps that fail to protect the constitutional rights of the people, the trial court

       may select maps by the process it deems best, subject to our review, in accordance

       with the timeline already set out in our order of 4 February 2022.

                          I.   Factual and Procedural Background

       A. Redistricting Process

¶ 12         Article II, sections 3 and 5 of the North Carolina Constitution require that

       “[t]he General Assembly, at the first regular session convening after the return of

       every decennial census of population taken by order of Congress, shall revise the

       [legislative] districts and the apportionment of Senators [and Representatives]

       among those districts, subject to [certain] requirements[.]” N.C. Const. art. II § 3, 5.

       This redistricting authority is subject to limitations contained in the North Carolina
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                                            2022-NCSC-17

                                         Opinion of the Court



       Constitution, including both in the provisions allocating the initial redistricting

       responsibility to the General Assembly and in other provisions which have been

       interpreted by this Court to be applicable to the redistricting process. See, e.g.,

       Stephenson, 355 N.C. 354; Blankenship v. Bartlett, 363 N.C. 518 (2009). Additionally,

       the General Assembly must comply with all applicable provisions of federal law,

       including federal one-person-one-vote requirements and the Voting Rights Act, under

       Article I, sections 3 and 5 of the North Carolina Constitution. See id.
¶ 13         On 12 February 2021, the United States Census Bureau announced that its

       release of the 2020 census data would be delayed by the COVID-19 pandemic and

       would not be released until the fall of 2021. On 24 February 2021, North Carolina

       State Board of Elections Executive Director Karen Brinson Bell recommended to the

       House Elections Law and Campaign Finance Reform Committee that the 2022

       primary elections be delayed to a 3 May primary, 12 July second primary, and 8

       November general election. The Committee, however, “did not follow the Board’s

       recommendations to delay the primaries and provide more time for the redistricting

       cycle.” The full census data was ultimately released to the states on 12 August 2021.

¶ 14         On 5 August 2021, the General Assembly’s Senate Committee on Redistricting

       and Elections and House Redistricting Committee convened a Joint Meeting to begin

       the discussion on the redistricting process. On 9 August 2021, the chairs of the Joint

       Redistricting Committee released its “2021 Joint Redistricting Committee Proposed
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                                     2022-NCSC-17

                                  Opinion of the Court



Criteria.” During the subsequent public comment period and committee debate,

several citizens (including counsel for plaintiff Common Cause) and legislators

(including Senate Minority Leader Dan Blue Jr.) urged the committee to change the

criteria, which mandated a “race-blind” approach, to allow for the consideration of

racial data in order to ensure compliance with the Voting Rights Act (VRA). The Joint

Committee rejected these proposals. On 12 August 2021, the Joint Committee

adopted the final redistricting criteria (Adopted Criteria), which were as follows:

             Equal Population. The Committees will use the 2020
             federal decennial census data as the sole basis of
             population for the establishment of districts in the 2021
             Congressional, House, and Senate plans. The number of
             persons in each legislative district shall be within plus or
             minus 5% of the ideal district population, as determined
             under the most recent federal decennial census. The
             number of persons in each congressional district shall be as
             nearly as equal as practicable, as determined under the
             most recent federal decennial census.

             Contiguity. No point contiguity shall be permitted in any
             2021      Congressional, House,    and Senate       plan.
             Congressional, House, and Senate districts shall be
             compromised of contiguous territory. Contiguity by water
             is sufficient.

             Counties, Groupings, and Traversals. The Committees
             shall draw legislative districts within county groupings as
             required by Stephenson v. Bartlett, 355 N.C. 354, 562
             S.E.2d 377 (2002) (Stephenson I), Stephenson v. Bartlett,
             357 N.C. 301, 582 S.E.2d 247 (2003) (Stephenson II),
             Dickson v. Rucho, 367 N.C. 542, 766 S.E.2d 238 (2014)
             (Dickson I) and Dickson v. Rucho, 368 N.C. 481, 781 S.E.2d
             460 (2015) (Dickson II). Within county groupings, county
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                        2022-NCSC-17

                     Opinion of the Court



lines shall not be traversed except as authorized by
Stephenson I, Stephenson II, Dickson I, and Dickson II.

Division of counties in the 2021 Congressional plan shall
only be made for reasons of equalizing population and
consideration of double bunking. If a county is of sufficient
population size to contain an entire congressional district
within the county’s boundaries, the Committees shall
construct a district entirely within that county.

Racial Data. Data identifying the race of individuals or
voters shall not be used in the construction or consideration
of districts in the 2021 Congressional, House, and Senate
plans. The Committees will draw districts that comply with
the Voting Rights Act.

VTDs. Voting districts (“VTDs”) should be split only when
necessary.

Compactness. The Committees shall make reasonable
efforts to draw legislative districts in the 2021
Congressional, House and Senate plans that are compact.
In doing so, the Committee may use as a guide the
minimum Reock (“dispersion”) and Polsby-Popper
(“permitter”) scores identified by Richard H. Pildes and
Richard G. Neimi in Expressive Harms, “Bizarre Districts,”
and     Voting   Rights:    Evaluating   Election-District
Appearances After Shaw v. Reno, 92 Mich. L. Rev. 483(1993).

Municipal Boundaries. The Committees may consider
municipal boundaries when drawing districts in the 2021
Congressional, House, and Senate plans.

Election Data. Partisan considerations and election
results data shall not be used in the drawing of districts in
the 2021 Congressional, House, and Senate plans.
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                                            2022-NCSC-17

                                         Opinion of the Court



                    Member Residence. Member residence may be
                    considered in the formation of legislative and congressional
                    districts.

                    Community Consideration. So long as a plan complies
                    with the foregoing criteria, local knowledge of the character
                    of communities and connections between communities may
                    be considered in the formation of legislative and
                    congressional districts.

¶ 15         On 5 October 2021, after thirteen public hearings across the state during the

       month of September, the House and Senate redistricting committees convened

       separately to begin the redistricting process. The committee chairs announced that

       beginning on 6 October 2021, computer stations would be available in two rooms for

       legislators to draw potential maps. These stations would be open during business

       hours, and both the rooms and the screens of the station computers would be live-

       streamed and available for public viewing while the stations were open. In an

       apparent effort to show transparency and instill public confidence in the redistricting

       process, Legislative Defendants “requir[ed] legislators to draw and submit maps

       using software on computer terminals in the redistricting committee hearing rooms.

       That software did not include political data, and the House and Senate Committees

       would only consider maps drawn and submitted on the software.” “According to

       Representative [Destin] Hall, [Chair of the House Standing Committee on

       Redistricting,] the Committee and ‘the House as a whole’ would ‘only consider maps

       that are drawn in this committee room, on one of the four stations.’ ”
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                                          Opinion of the Court



¶ 16         However, “[w]hile the four computer terminals in the committee hearing room

       did not themselves have election data loaded onto them, the House and Senate

       Committees did not actively prevent legislators and their staff from relying on pre-

       drawn maps created using political data, or even direct consultation of political data.”

       For instance, between sessions at the public computer terminals, Representative

       Hall, who “personally drew nearly all of the House map [later] enacted[,] . . . met with

       his then-General Counsel . . . and others about the map-drawing in a private room

       adjacent to the public map-drawing room.” During these meetings, and sometimes

       while sitting at the public terminals, Representative Hall viewed “concept maps”

       created on an unknown computer and using unknown software and data.5 Further,

       “Representative Hall and Senator Ralph E. Hise, Jr., one of the Chairs of the Senate

       Redistricting Committee, confirmed that no restrictions on the use of outside maps

       were ever implemented or enforced.”

¶ 17         Proposed versions of the congressional and House maps were filed on 28 and

       29 October 2021 and then passed several readings in each chamber without

       alteration. A proposed version of the Senate map was filed on 29 October 2021. On 1

       November 2021 the Senate Redistricting Committee adopted a substitute map. On 2




             5 On 21 December 2021, during trial, the court ordered Legislative Defendants to

       produce these “concept maps” and related materials. Legislative Defendants never did so.
       Instead, Legislative Defendants asserted in verified interrogatory responses that “the
       concept maps that were created were not saved, are currently lost[,] and no longer exist.”
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                                        Opinion of the Court



       November 2021, the Committee adopted two amendments offered by Senator

       Natasha Marcus and Senator Ben Clark, respectively. On 3 and 4 November 2021,

       the final versions of each map passed several readings in each chamber without

       further alteration.

¶ 18         On 4 November 2021, the congressional, House, and Senate reapportionment

       maps were ratified into law as S.L. 2021-174, S.L. 2021-175, and S.L. 2021-173,

       respectively. Each map passed along strict party-line votes in each chamber.

       B. Litigation

¶ 19         On 16 November 2021, plaintiffs North Carolina League of Conservation

       Voters, Inc., Henry M. Michaux Jr., Dandrielle Lewis, Timothy Chartier, Talia

       Fernos, Katherine Newhall, R. Jason Parsley, Edna Scott, Roberta Scott, Yvette

       Roberts, Jereann King Johnson, Reverend Reginald Wells, Yarbrough Williams Jr.,

       Reverend Deloris L. Jerman, Viola Ryals Figueroa, and Cosmos George (NCLCV

       Plaintiffs) filed a complaint against Legislative Defendants (Civil Action No. 21 CVS

       015426) contemporaneously with a Motion for Preliminary Injunction pursuant to

       Rules 7(b) and 65 of the North Carolina Rules of Civil Procedure. NCLCV Plaintiffs’

       complaint alleged

                    that the 2021 districting plans for Congress, the North
                    Carolina Senate, and the North Carolina House of
                    Representatives violate the North Carolina Constitution
                    by establishing severe partisan gerrymanders in violation
                    of the Free Elections Clause, Art. I, § 10, the Equal
                    Protection Clause, Art. I, § 19, and the Freedom of Speech
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                    and Assembly Clauses, Art. I, §§ 12, 14; by engaging in
                    racial vote dilution in violation of the Free Elections
                    Clause, Art. I, § 10, and the Equal Protection Clause, Art.
                    I, § 19; and by violating the Whole County Provisions, Art.
                    II, §§ 3(3), 5(3).

¶ 20         On 18 November 2021, plaintiffs Rebecca Harper, Amy Clare Oseroff, Donald

       Rumph, John Anthony Balla, Richard R. Crews, Lily Nicole Quick, Gettys Cohen Jr.,

       Shawn Rush, Mark S. Peters, Kathleen Barnes, Virginia Walters Brien, Eileen

       Stephens, Barbara Proffitt, Mary Elizabeth Voss, Chenita Barber Johnson, Sarah

       Taber, Joshua Perry Brown, Laureen Floor, Donald M. MacKinnon, Ron Osborne,

       Ann Butzner, Sondra Stein, Bobby Jones, Kristiann Herring, and David Dwight

       Brown (Harper Plaintiffs) filed a complaint against Legislative Defendants (Civil

       Action No. 21 CVS 500085) and a Motion for Preliminary Injunction pursuant to Rule

       65 and N.C.G.S. § 1-485. On 13 December 2021, Harper Plaintiffs amended their

       complaint. Harper Plaintiffs’ complaint “allege[d] that the 2021 districting plans for

       Congress, the North Carolina Senate, and the North Carolina House of

       Representatives violate the North Carolina Constitution―namely its Free Elections

       Clause, Art. I, § 10; its Equal Protection Clause, Art. I, § 19; and its Freedom of

       Speech and Freedom of Assembly Clauses, Art. I, §§ 12, 14.”

¶ 21         On 19 and 22 November 2021, “the NCLCV and Harper actions, respectively,

       were assigned to [a] three-judge panel of Superior Court, Wake County, pursuant to

       N.C.G.S. § 1-267.1.” On 3 December 2021, the panel consolidated the two cases
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       pursuant to Rule 42 of the North Carolina Rules of Civil Procedure and heard NCLCV

       Plaintiffs’ and Harper Plaintiffs’ motions for preliminary injunction. On 3 December

       2021, “after considering the extensive briefing and oral arguments on the motions,

       the [panel] denied [the parties’] Motion for Preliminary Injunction.”

¶ 22         NCLCV Plaintiffs and Harper Plaintiffs subsequently filed a notice of appeal

       with the North Carolina Court of Appeals. On 6 December 2021, “[a]fter initially

       partially granting a temporary stay of the candidate filing period for the 2022

       elections, the North Carolina Court of Appeals denied the requested temporary stay.”

       NCLCV Plaintiffs and Harper Plaintiffs subsequently filed several items with this

       Court: two petitions for discretionary review prior to determination by the Court of

       Appeals; a motion to suspend appellate rules to expedite a decision; and a motion to

       suspend appellate rules and expedite schedule. On 8 December 2021, this Court

       granted a preliminary injunction and temporarily stayed the candidate filing period

       “until such time as a final judgment on the merits of plaintiffs’ claims, including any

       appeals, is entered and remedy, if any is required, has been ordered.” “The Order

       further directed [the panel] to hold proceedings on the merits of NCLCV Plaintiffs’

       and Harper Plaintiffs’ claims and provide a written ruling on or before [11 January

       2022].”

¶ 23         On 13 December 2021, the panel “entered a scheduling order . . . expediting

       discovery and scheduling [a] trial to commence on [3 January 2022].” That same day,
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       “Common Cause moved to intervene in the[ ] consolidated cases as a plaintiff,

       challenging the process undertaken by the General Assembly to create and enact the

       state legislative and congressional districts as a product of intentional racial

       discrimination undertaken for the purpose of racial vote dilution and to further the

       legislature’s partisan gerrymandering goals.” On 15 December 2021, the panel

       granted plaintiff Common Cause’s motion. On 16 December 2021, plaintiff Common

       Cause filed its complaint, alleging

                    that the 2021 districting plans for Congress, the North
                    Carolina Senate, and the North Carolina House of
                    Representatives violate the North Carolina Constitution—
                    namely its Equal Protection Clause, Art. I, § 19; its Free
                    Elections Clause, Art. I, § 10; and its Freedom of Speech
                    and Freedom of Assembly Clauses, Art. I, §§ 12, 14—and
                    seeks, among other relief, a declaratory ruling under the
                    Declaratory Judgment Act.

¶ 24         On 17 December 2021 “Defendants Representative Destin Hall, in his official

       capacity as Chairman of the House Standing Committee on Redistricting; Senators

       Ralph E. Hise, Jr., Warren Daniel, Paul Newton, in their official capacities as Co-

       Chairmen of the Senate Committee on Redistricting and Elections; Philip E. Berger,

       in his official capacity as President Pro Tempore of the North Carolina Senate;

       Timothy K. Moore, in his official capacity as Speaker of the North Carolina House of

       Representatives (hereinafter “Legislative Defendants”) filed their Answer to NCLCV

       Plaintiffs’ Complaint.” Legislative Defendants asserted numerous affirmative

       defenses, including, inter alia, that: (1) granting the requested relief will violate the
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       VRA and the Constitution of the United States; (2) granting the requested relief will

       violate the rights of Legislative Defendants, Republican voters, and Republican

       candidates under the United States and North Carolina Constitutions; (3) the court

       cannot lawfully prevent the General Assembly from considering partisan advantage

       and incumbency protection; (4) plaintiffs seek to require districts where Democratic

       candidates are elected where such candidates are not currently elected; (5) plaintiffs’

       claims are barred by the doctrine of laches; (6) plaintiffs have failed to state claims

       upon which relief can be granted; (7) plaintiffs seek a theory of liability that will act

       to impose a judicial amendment to the North Carolina Constitution; (8) the only

       limitations on redistricting legislation are found in article II, sections 2, 3, 4, and 5 of

       the North Carolina Constitution; (9) plaintiffs’ request for a court-designed

       redistricting plan violates the separation of powers doctrine; (10) plaintiffs’ claims

       are nonjusticiable and fail to provide judicially manageable standards; (11) plaintiffs

       lack standing; and (12) plaintiffs have unclean hands and therefore are not entitled

       to equitable relief.

¶ 25          On 17 December 2021, defendants North Carolina State Board of Elections and

       its members Damon Circosta, in his official capacity as Chairman of the Board of

       Elections; Stella Anderson, in her official capacity as Secretary of the Board of

       Elections; and Jeff Carmon III, Stacy Eggers IV, and Tommy Tucker, in their official

       capacities as Members of the Board of Elections filed their answer to Harper
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       Plaintiffs’ amended complaint. That same day, these same defendants along with

       defendant State of North Carolina and defendant Karen Brinson Bell, in her official

       capacity as Executive Director of the North Carolina State Board of Elections filed

       their answer to NCLCV Plaintiffs’ complaint.

¶ 26         “Throughout the intervening and expedited two-and-a-half-week period

       reserved for discovery, the parties filed and the [c]ourt expeditiously ruled upon over

       ten discovery-related motions . . . .” “Plaintiffs collectively designated eight

       individuals as expert witnesses and submitted accompanying reports[, and]

       Legislative Defendants designated two individuals as expert witnesses and

       submitted accompanying reports.” The parties’ discovery period closed on 31

       December 2021, and a three-and-one-half day trial commenced on 3 January 2022.

       C. Trial Court’s Judgment

          1. Findings of Fact

¶ 27         First, the trial court made extensive factual findings based on the evidence

       presented at trial. In short, these factual findings confirmed plaintiffs’ assertions that

       each of the three enacted maps were “extreme partisan outliers” and the product of

       “intentional, pro-Republican partisan redistricting.”

             a. Plaintiffs’ Extreme Partisan Gerrymandering Claims

¶ 28         After reviewing the factual and procedural history summarized above, the trial

       court made factual findings regarding plaintiffs’ constitutional claims of extreme
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       partisan gerrymandering. First, the court considered whether the evidence presented

       showed partisan intent and effects. Addressing direct evidence, the court found that

       “[t]here is no express language showing partisan intent within the text of the session

       laws establishing the Enacted Plans” and noted that “[t]he Adopted Criteria

       expressly forbade partisan considerations and election results data from being used

       in drawing districts in the Enacted Plans.” Further, the court noted that “[n]o

       elections have been conducted under the Enacted Plans to provide direct evidence of

       partisan effects that could be attributed as a result of the Enacted Plans.” However,

       the lack of direct evidence of intent did not stop the trial court from determining that

       the enacted plans were intentionally constructed to yield a consistent partisan

       advantage for Republicans in a range of electoral environments.

¶ 29         Instead, the trial court turned to circumstantial evidence of partisan intent

       and effects. After surveying the recent history of partisan redistricting litigation and

       legislation and the neutral districting criteria Legislative Defendants claimed they

       had adhered to, the court reviewed plaintiffs’ and Legislative Defendants’ expert

       analyses of the enacted plans. The court’s extensive factual findings regarding each

       expert’s analysis are summarized below.

¶ 30         Harper Plaintiffs’ Expert Dr. Jowei Chen. “Dr. Chen was qualified and

       accepted as an expert at trial in the fields of redistricting, political geography,

       simulation analyses, and geographic information systems.” “Dr. Chen analyzed the
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       partisan bias of the enacted congressional plan on a statewide and district-by-district

       basis.” Specifically, Dr. Chen analyzed the congressional plans using

                    various computer simulation programming techniques
                    that allow him to produce a large number of nonpartisan
                    districting plans that adhere to traditional districting
                    criteria using U.S. Census geographies as building blocks.
                    Dr. Chen’s simulation process ignores all partisan and
                    racial considerations when drawing districts, and the
                    computer simulations are instead programmed to draw
                    districting plans following various traditional districting
                    goals, such as equalizing population, avoiding county and
                    Voting Tabulation District (VTD) splits, and pursuing
                    geographic compactness. By randomly generating a large
                    number of districting plans that closely adhere to these
                    traditional districting criteria, Dr. Chen assesses an
                    enacted plan drawn by a state legislature and determines
                    whether partisan goals motivated the legislature to deviate
                    from these traditional districting criteria. Specifically, by
                    holding constant the application of nonpartisan,
                    traditional districting criteria through the simulations, he
                    is able to determine whether the enacted plan could have
                    been the product of something other than partisan
                    considerations.

¶ 31         “Based on his analysis, Dr. Chen concluded that partisan intent predominated

       over the 2021 Adopted Criteria in drawing the adopted congressional plan, and that

       the Republican advantage in the enacted plan cannot be explained by North

       Carolina’s political geography or adherence to the Adopted Criteria.”

¶ 32         Harper Plaintiffs’ Expert Dr. Christopher Cooper. “Dr. Cooper was

       qualified and accepted as an expert at trial in the field of political science with a

       specialty in the political geography and political history of North Carolina.” Using
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       statewide voting data from the 2020 election, “Dr. Cooper analyzed the 2021

       Congressional Plan [and] the partisan effects of each district’s boundaries.” Based on

       Dr. Cooper’s analysis, the court observed that “[a]lthough North Carolina gained an

       additional congressional seat as a result of population growth that came largely from

       the Democratic-leaning Triangle (Raleigh-Durham-Chapel Hill) and the Charlotte

       metropolitan areas, the number of anticipated Democratic seats under the enacted

       map actually decreases, with only three anticipated Democratic seats, compared with

       the five seats that Democrats won in the 2020 election.” This decrease, the court

       observed, is enacted “by splitting the Democratic-leaning counties of Guilford,

       Mecklenburg, and Wake among three congressional districts each.” The court further

       noted that “[t]here was no population-based reason” for these splits.

¶ 33         After reviewing Dr. Cooper’s maps showing these redistricted congressional

       lines as compared to county boundaries and VTD boundaries, the court noted that

       “[t]he congressional district map is best understood as a single organism given that

       the boundaries drawn for a particular congressional district in one part of the state

       will necessarily affect the boundaries drawn for the districts elsewhere in the state.”

       Accordingly, the court found “that the ‘cracking and packing’ of Democratic voters in

       Guilford, Mecklenburg, and Wake counties has ‘ripple effects throughout the map.’ ”

¶ 34         Reviewing Dr. Cooper’s analysis of a few specific congressional districts within

       the new map as exemplars, the court noted that “[t]he 2021 Congressional Plan places
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       the residences of an incumbent Republican representative and an incumbent

       Democratic representative within a new, overwhelmingly Republican district, NC-11,

       ‘virtually guaranteeing’ that the Democratic incumbent will lose her seat.” Similarly,

       the court observed that “[t]he 2021 Congressional Plan includes one district where no

       incumbent congressional representative resides . . . [which] ‘overwhelmingly favors’

       the Republican candidate based on the district’s partisan lean.”

¶ 35         The court then found that the 2021 North Carolina House and Senate Plans

       “similarly benefit the Republican party.” The court noted that “Legislative

       Defendants’ exercise of . . . discretion in the Senate and House 2021 Plans resulted

       in Senate and House district boundaries that enhanced the Republican candidates’

       partisan advantage, and this finding is consistent with a finding of partisan intent.”

       Finally, the court noted Dr. Cooper’s finding that the “partisan redistricting carried

       out across the State has led to a substantial disconnect between the ideology and

       policy preferences of North Carolina’s citizenry and their representatives in the

       General Assembly.”

¶ 36       Harper Plaintiffs and Plaintiff Common Cause’s Expert Dr. Jonathan
           Mattingly.

                    Dr. Mattingly was qualified and accepted as an expert at
                    trial in the fields of applied math, statistical science, and
                    probability.

                           . . . Dr. Mattingly used the Metropolis-Hasting
                    Markov Chain Monte Carlo (“MCMC”) Algorithm to create
                    a representative set, or “ensemble,” of 100,000 maps for the
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                        state legislative districts and 80,000 maps for
                        congressional districts as benchmarks against which he
                        could compare the enacted maps. The algorithm produced
                        maps that accorded with traditional districting criteria. Dr.
                        Mattingly tuned his algorithm to ensure that the
                        nonpartisan qualities of the simulated maps were similar
                        to the nonpartisan qualities of the enacted map with
                        respect to compactness and, for his primary ensembles,
                        municipality splits.

       “After generating the sample of maps, Dr. Mattingly used votes from multiple prior

       North Carolina statewide elections reflecting a range of electoral outcomes to

       compare the partisan performance and characteristics of the 2021 Congressional Plan

       to the simulated plans.”

¶ 37          The trial court found, “based upon Dr. Mattingly’s analysis, that the

       Congressional map is the product of intentional, pro-Republican partisan

       redistricting.” The court further determined that “[t]he Congressional map is ‘an

       extreme outlier’ that is ‘highly non-responsive to the changing opinion of the

       electorate.’ ”

¶ 38          Regarding the North Carolina legislative districts, the court likewise found,

       “based upon Dr. Mattingly’s analysis, that the State House and Senate plans are

       extreme outliers that ‘systematically favor the Republican Party to an extent which

       is rarely, if ever, seen in the non-partisan collection of maps.’ ” The court found that

       “[t]he intentional partisan redistricting in both chambers is especially effective in
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       preserving Republican supermajorities in instances in which the majority or the vast

       majority of plans in Dr. Mattingly’s ensemble would have broken it.”

¶ 39         Regarding the North Carolina House map, the court further found that “the

       enacted plan shows a systematic bias toward the Republican party, favoring

       Republicans in every single one of the 16 elections [Dr. Mattingly] considered.” The

       court determined that the North Carolina House “map is also especially anomalous

       under elections where a non-partisan map would almost always give Democrats the

       majority in the House because the enacted map denied Democrats that majority. The

       probability that this partisan bias arose by chance, without an intentional effort by

       the General Assembly, is ‘astronomically small.’ ” The court determined that

                    [t]he North Carolina House maps show that they are the
                    product of an intentional, pro-Republican partisan
                    redistricting over a wide range of potential election
                    scenarios. Elections that under typical maps would
                    produce a Democratic majority in the North Carolina
                    House give Republicans a majority under the enacted
                    maps. Likewise, maps that would normally produce a
                    Republican majority under nonpartisan maps produce a
                    Republican supermajority under the enacted maps. Among
                    every possible election that Dr. Mattingly analyzed, the
                    partisan results were more extreme than what would be
                    seen from nonpartisan maps. In every election scenario,
                    Republicans won more individual seats tha[n] they
                    statistically should under nonpartisan maps.
                           . . . The 2021 House Plan’s partisan bias creates
                    firewalls protecting the Republican supermajority and
                    majority in the House, and this effect is particularly robust
                    when the Republicans are likely to lose the supermajority:
                    the enacted plan sticks at 48 democratic seats or fewer,
                    even in situations where virtually all of the plans in the
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                   nonpartisan ensemble would elect 49 Democratic seats or
                   more.

¶ 40         Regarding the North Carolina Senate, the court found that

                   the results are the same: the enacted plan is an outlier or
                   extreme outlier in elections where Democrats win a vote
                   share between 47.5% and 50.5%. This range is significant
                   because many North Carolina elections have this vote
                   fraction, and this is the range where the non-partisan
                   ensemble shows that Republicans lose the super-majority.
                   But the enacted map in multiple elections used in Dr.
                   Mattingly’s analysis sticks at less than 21 Democratic
                   seats, preserving a [Republican] supermajority. Notably,
                   the enacted map never favors the Democratic party in
                   comparison to the non-partisan ensemble in a single one of
                   the 16 elections that Dr. Mattingly considered.

¶ 41         The court then considered Dr. Mattingly’s “cracking and packing” analysis of

       the congressional, House, and Senate maps. Here, the court found

                   that cracking Democrats from the more competitive
                   districts and packing them into the most heavily
                   Republican and heavily Democratic districts is the key
                   signature of intentional partisan redistricting and it is
                   responsible for the enacted congressional plan’s non-
                   responsiveness when more voters favor Democratic
                   candidates, as shown in [Dr. Mattingly’s] charts. Across his
                   80,000 simulated nonpartisan plans, not a single one had
                   the same or more Democratic voters packed into the three
                   most Democratic districts—i.e., the districts Democrats
                   would win no matter what—in comparison to the enacted
                   plan. And not a single one had the same or more
                   Republican voters in the next seven districts—i.e., the
                   competitive districts—in comparison to the enacted plan.

¶ 42         The trial court found similar “cracking and packing” in the House maps, noting

       that “the enacted maps, as compared to the sample maps, there is an
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       overconcentration of Democratic voters in the least Democratic districts and in the

       most Democratic districts.” The court found that “the districts with the highest

       concentration of Democrats have far more Democratic voters than expected in

       nonpartisan maps, and threshold districts have far fewer Democratic voters than

       expected in nonpartisan maps.” In contrast, the court found that

                    [i]n the middle districts—between the 60th most
                    Democratic seat and the 80th most democratic seat—the
                    Democratic vote fraction in the enacted plan is far below
                    the . . . nonpartisan plans. These are the seats that
                    determine the supermajority line and the majority line (if
                    Republicans win the 61st seat, they win the majority, and
                    if they win the 72nd most Democratic seat, they win the
                    supermajority). The [c]ourt [found] that the systematic
                    depletion of Democratic votes in those districts signals
                    packing, does not exist in the non-partisan ensemble, and
                    is responsible for the map’s partisan outlier behavior.
                    Those Democrat[ic] votes are instead placed in the 90th to
                    105th most Democratic district[s], where they are wasted
                    because those seats are already comfortably Democratic.

¶ 43         Regarding cracking and packing in the Senate maps, the court found that “the

       same structure appears where virtually all of the seats in the middle range that

       determines majority and supermajority control have abnormally few Democrats.”

¶ 44         Next, the court determined that “a desire to prevent the pairing of incumbents

       cannot explain the extreme outlier behavior of the enacted plan.”

¶ 45         The court also observed that the General Assembly selectively prioritized

       preserving municipalities within the maps, choosing to do so “only when doing so

       advantaged Republicans.” “Put differently, prioritizing municipality preservation in
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       the Senate plans appears to enable more maps that favor Republicans. By contrast,

       for the House plan, where the enacted map does not prioritize preserving

       municipalities, . . . prioritizing municipalities would not have favored the Republican

       party in comparison.”

¶ 46         Finally, the court found that “[t]he partisan bias that Dr. Mattingly identified

       by comparing the enacted plans to his nonpartisan ensemble could not be explained

       by political geography or natural packing.”

¶ 47         Harper Plaintiffs’ Expert Dr. Wesley Pegden. “Dr. Pegden was qualified

       and accepted as an expert at trial in probability.”

                    In this case, Dr. Pegden used . . . outlier analysis to
                    evaluate whether and to what extent the 2021 Plans were
                    drawn with the intentional and extreme use of partisan
                    considerations. To do so, using a computer program, Dr.
                    Pegden began with the enacted plans, made a sequence of
                    small random changes to the maps while respecting certain
                    nonpartisan constraints, and then evaluated the partisan
                    characteristics of the resulting comparison maps.

       The trial court noted that “Dr. Pegden applied these constraints in a ‘conservative’

       way, to ‘avoid second-guessing the mapmakers’ choices in how they implemented the

       districting criteria.” The court observed that Dr. Pegden’s algorithm repeated this

       process “billions or trillions of times”: “begin[ning] with the enacted map, mak[ing] a

       small random change complying with certain constraints, and us[ing] historical

       voting data to evaluate the partisan characteristics of the resulting map.”
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¶ 48         Based on Dr. Pegden’s analysis, the court found “that the enacted

       congressional plan is more favorable to Republicans than 99.9999% of the comparison

       maps his algorithm generated.” Accordingly, the court determined that “the enacted

       congressional map is more carefully crafted to favor Republicans than at least

       99.9999% of all possible maps of North Carolina satisfying the nonpartisan

       constraints imposed in [Dr. Pegden’s] algorithm.” In every “run” of the analysis, the

       court found, “the enacted congressional plan was in the most partisan 0.000031% of

       the approximately one trillion maps generated by making tiny random changes to the

       district’s boundaries.” “[I]f the districting had not been drawn to carefully optimize

       its partisan bias,” the court stated, “we would expect naturally that making small

       random changes to the districting would not have such a dramatic and consistent

       partisan effect.”

¶ 49         The court found similar extremes regarding North Carolina’s legislative

       districts. Regarding the North Carolina House, the court determined based on Dr.

       Pegden’s analysis that “the enacted House map was more favorable to Republicans

       than 99.99999% of the comparison maps generated by his algorithm making small

       random changes to the district boundaries.” Accordingly, the court found “that the

       enacted map is more carefully crafted for Republican partisan advantage than at

       least 99.9999% of all possible maps of North Carolina satisfying [the nonpartisan]

       constraints.” Regarding the North Carolina Senate, the court determined “that the
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       enacted Senate map was more favorable to Republicans than 99.9% of comparison

       maps.” Accordingly, the court found “that the enacted Senate map is more carefully

       crafted for Republican partisan advantage than at least 99.9% of all possible maps of

       North Carolina satisfying [the nonpartisan] constraints.” “These results,” the court

       determined, “cannot be explained by North Carolina’s political geography.”

¶ 50         NCLCV Plaintiffs’ Expert Dr. Moon Duchin. “Dr. Duchin was qualified and

       accepted as an expert at trial in the field of redistricting.” The trial court noted that

       Dr. Duchin’s analysis “uses a Close-Votes-Close-Seats principle, [in which] ‘an

       electoral climate with a roughly 50-50 split in partisan preference should produce a

       roughly 50-50 representational split.’ ” The trial court observed that “Close-Votes-

       Close-Seats is not tantamount to a requirement for proportionality. Rather, it is

       closely related to the principle of Majority Rule, which is where ‘a party or group with

       more than half of the votes should be able to secure more than half of the seats.’ ”

¶ 51         Based on Dr. Duchin’s analysis, the trial court found “that the political

       geography of North Carolina today does not lead only to a district map with partisan

       advantage given to one political party.” Rather, the court determined, “[t]he Enacted

       Plans behave as though they are built to resiliently safeguard electoral advantage for

       Republican candidates.” The results of Dr. Duchin’s analysis, the court found, “reveal

       a partisan skew in close elections.” For instance, the court determined that in a recent
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       statewide election in which the Republican candidate won by less than 500 total

       votes,

                      [t]he Enacted Plans would have converted that near tie at
                      the ballot box into a resounding Republican victory in seat
                      share across the board: Republicans would have won 10
                      (71%) of North Carolina’s congressional districts, 28 (56%)
                      of North Carolina’s Senate districts, and 68 (57%) of North
                      Carolina’s House districts. Nor is that election unusual.

       In fact, the court found “that in every single one of the 52 elections decided within a

       6-point margin, the Enacted Plans give Republicans an outright majority in the

       state’s congressional delegation, the State House, and the State Senate.” “This is

       true[,]” the court noted, “even when Democrats win statewide by clear margins.” Or,

       more plainly, “more Democratic votes usually do not mean more [D]emocratic seats.”

       Accordingly, the trial court determined that “[t]he Enacted Plans resiliently

       safeguard electoral advantage for Republican candidates. This skewed result is not

       an inevitable feature of North Carolina’s political geography.” Rather, the court

       found, “[t]he plan is designed in a way that safeguards Republican majorities in any

       plausible election outcome, including those where Democrats win more votes by clear

       margins.”

¶ 52            Next, the court specified that these findings were consistent across all three of

       the enacted maps. First, regarding the enacted congressional plan, the court found

       that “a clear majority of Democratic votes does not translate into a majority of seats.”
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       The court determined “that the Enacted Congressional Plan achieves these results

       by the familiar means of ‘packing’ and ‘cracking’ Democratic voters across the state.”

¶ 53          Second, the court found that

                      [t]he Enacted Senate Plan effectuates the same sort of
                      partisan advantage as the Enacted Congressional Plan.
                      The Enacted Senate Plan consistently creates Republican
                      majorities and precludes Democrats from winning a
                      majority in the Senate even when Democrats win more
                      votes. Even in an essentially tied election or a close
                      Democratic victory, the Enacted Senate Plan gives
                      Republicans a Senate majority, and sometimes even a veto-
                      proof 30-seat majority. And that result holds even when
                      Democrats win by larger margins.

       “As with the Enacted Congressional Plan, the [c]ourt [found] that the Enacted Senate

       Plan achieves its partisan goals by packing Democratic voters into a small number of

       Senate districts and then cracking the remaining Democratic voters by splitting them

       across other districts . . . .”

¶ 54          Third, the court likewise determined that

                      the Enacted House Plan is also designed to systematically
                      prevent Democrats from gaining a tie or a majority in the
                      House. In close elections, the Enacted House Plan always
                      gives Republicans a substantial House majority. That
                      Republican majority is resilient and persists even when
                      voters clearly express a preference for Democratic
                      candidates.

       “As with the Enacted Congressional Plan and the Enacted Senate Plan, the [c]ourt

       [found] that the Enacted House Plan achieves this resilient pro-Republican bias by

       the familiar mechanisms of packing and cracking Democratic voters . . . .”
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¶ 55         Plaintiff Common Cause’s Expert Dr. Daniel Magleby. “Dr. Magleby was

       qualified and accepted as an expert at trial in the fields of political geography and

       legislative and congressional elections, mathematical modeling and political

       phenomena and measurements of gerrymandering.” Like plaintiffs’ previous experts,

       Dr. Magleby “used a peer-reviewed algorithm . . . to generate a set of unbiased maps

       against which he compared the enacted House, Senate, and congressional maps.” “Dr.

       Magleby . . . used this algorithm to develop a set of between 20,000 and 100,000 maps,

       from which he took a random sample of 1,000 maps that roughly met the North

       Carolina Legislature’s 2021 criteria for drawing districts.” Using voting data from

       statewide races between 2016 and 2020, Dr. Magleby compared expected performance

       under the enacted maps with performance in the neutral sample maps. More

       specifically, Dr. Magleby’s analysis utilized “median-mean” calculations. Median-

       mean calculations compare “the average Democratic vote share” in districts statewide

       with “the median Democratic vote share” in those districts “by lining up the enacted

       . . . districts from least Democratic to most Democratic and identifying the districts

       that fell in the middle. In a nonpartisan map, a low median-mean difference is

       expected.”

¶ 56         Based on Dr. Magleby’s analysis, the trial court found “that the level of

       partisan bias in seats in the House maps went far beyond expected based on the

       neutral political geography of North Carolina.” Specifically, the court determined
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       “that the median-mean bias in the enacted maps was far more extreme than expected

       in nonpartisan maps.” In fact, the court found, “[n]o randomly generated map had

       such an extreme median-mean share—meaning that . . . no simulated map . . . was

       as extreme and durable in terms of partisan advantage.”

¶ 57         Legislative Defendants’ Expert Dr. Michael Barber.

                    Dr. Barber was qualified and accepted as an expert at trial
                    in the areas of political geography, partisanship statistical
                    analysis, and redistricting.
                           . . . Dr. Barber analyzed the Enacted Plans, as well
                    as NCLCV Plaintiffs’ Optimized Maps, in the context of the
                    partisan gerrymandering claims brought by Plaintiffs
                    challenging the North Carolina Senate and North Carolina
                    House of Representatives Districts.
                           . . . Dr. Barber utilized a publicly-available and peer-
                    reviewed redistricting simulation algorithm to generate
                    50,000 simulated district maps in each county grouping in
                    which there are multiple districts in both the North
                    Carolina House of Representatives and the North Carolina
                    Senate. In Dr. Barber’s simulations, the model generates
                    plans that adhere to the restrictions included in the North
                    Carolina Constitution as well as the Stephenson criteria of
                    roughly equal population, adherence to county cluster
                    boundaries, minimization of county traversals within
                    clusters, and geographic compactness. Only after the
                    simulated district plans are complete is the partisan lean
                    of each district in each plan computed . . . .


¶ 58         Although Dr. Barber was qualified as an expert, the trial court found that “Dr.

       Barber’s method is not without limitations.” “Because it is impossible for a

       redistricting algorithm to account for all non-partisan redistricting goals[,]” the court

       noted, “differences between the range of his simulated plans and the 2021 Plans may
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       be the result of non-partisan goals the algorithm failed to account for, rather than of

       partisan goals.” The court observed that “under Dr. Barber’s analysis, it is plausible

       that the 2021 Plans were prepared without partisan data or considerations.” The

       court noted Dr. Barber’s subsequent conclusion that “the advantage between the

       expected Republican seat share in the state legislature compared to the statewide

       Republican vote share in the recent past is more due to geography than partisan

       activity by Republican map drawers.” Notably, the court did not adopt Dr. Barber’s

       findings as its own as it did for plaintiffs’ experts and later explicitly rejected his

       conclusions regarding the impact of political geography on the enacted maps.

¶ 59         Legislative Defendants’ Expert Dr. Andrew Taylor. “Dr. Taylor was

       qualified and accepted as an expert at trial in the areas of political science, political

       history of North Carolina[ ] and its constitutional provisions, and the comparative

       laws and Constitutions in other states and jurisdictions.” The trial court reviewed Dr.

       Taylor’s analysis of the enacted maps under political science principles, including

       noting that “in political science, an election is generally regarded as ‘equal’ so long as

       ‘[e]ach person has one vote to elect one legislator who has one vote in the legislature,’

       and departures even from that ideal are tolerated.” Likewise, the court noted Dr.

       Taylor’s opinion that “[i]n political science, equal outcomes are not generally accepted

       as a necessary facet of equal elections, administering such a rule would seem to be

       unworkable, and voting is not a feature of party participation but of individual
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       participation as a citizen.” The court further noted Dr. Taylor’s opinion that

       “purportedly ‘fair’ redistricting plans are not understood in the political-science field

       as germane to free speech, [because free speech] can occur regardless of the shapes

       and sizes of districts.” “For many of these reasons,” the court noted, “measuring

       gerrymanders can be elusive, problematic, and beyond the consensus of political

       scientists.”

¶ 60          The trial court also noted Dr. Taylor’s opinion that the “significant change in

       North Carolina’s political geography over the past thirty years . . . ‘is not the result

       of redistricting[,]’ ” but is instead “a function of slow social and economic forces,

       changes in the state’s citizenry, and party ideology.” As with Dr. Barber’s similar

       conclusion noted above, the trial court again later explicitly rejected Dr. Taylor’s

       conclusions regarding the impact of political geography on the enacted maps.

¶ 61          Legislative Defendants’ Rebuttal Expert Sean Trende. “Mr. Trende was

       qualified and accepted as an expert at trial in the areas of political science,

       redistricting, drawing redistricting maps[,] and analyzing redistricting maps.” The

       trial court noted that Mr. Trende used color-coded maps of North Carolina counties

       “noting the number of counties in which a majority of voters voted for the Republican

       presidential candidate in the past decade (between 70 and 76 counties) and whether

       the Republican candidate performed better in a county than nationally.” It is unclear
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       how, if at all, the trial court considered Mr. Trende’s testimony. This concluded the

       trial court’s review of the expert testimony.

¶ 62         After considering the analysis of each expert, the trial court engaged in a

       district-by-district analysis of each of the three enacted maps: those for the North

       Carolina Senate, North Carolina House, and Congress, respectively.

¶ 63         North Carolina Senate Districts. The trial court found that the following

       North Carolina Senate district groupings minimized Democratic districts and

       maximized safe Republican districts through the “packing” and “cracking” of

       Democratic    voters   as   the   “result   of   intentional,   pro-Republican   partisan

       redistricting”: the Granville-Wake Senate County Grouping; the Cumberland-Moore

       Senate County Grouping; the Guilford-Rockingham Senate County Grouping; the

       Forsyth-Stokes Senate County Grouping; the Iredell-Mecklenburg Senate County

       Grouping; the Northeastern Senate County Grouping (Bertie County, Camden

       County, Currituck County, Dare County, Gates County, Hertford County,

       Northampton County, Pasquotank County, Perquimans County, Tyrrell County,

       Carteret County, Chowan County, Halifax County, Hyde County, Martin County,

       Pamlico County, Warren County, and Washington County); and the Buncombe-

       Burke-McDowell Senate County Grouping. The trial court did not find any of the

       Senate district groupings to not be the result of intentional, pro-Republican

       redistricting through packing and cracking.
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¶ 64         North Carolina House of Representatives District. The trial court found

       that the following North Carolina House district groupings minimized Democratic

       districts and maximized safe Republican districts through the “packing” and

       “cracking” of Democratic voters as the “result of intentional, pro-Republican partisan

       redistricting”: the Guilford House County Grouping; the Buncombe House County

       Grouping; the Mecklenburg House County Grouping; the Pitt House County

       Grouping; the Durham-Person House County Grouping; the Forsyth-Stokes House

       County Grouping; the Wake House County Grouping; the Cumberland House County

       Grouping; and the Brunswick-New Hanover House County Grouping. Notably,

       however, the trial court found the Duplin-Wayne House County Grouping and the

       Onslow-Pender House County Grouping “to not be the result of intentional, pro-

       Republican partisan redistricting.”

¶ 65         North Carolina Congressional Districts. Next, the trial court found “that

       the 2021 Congressional plan is a partisan outlier intentionally and carefully designed

       to maximize Republican advantage in North Carolina’s Congressional delegation.”

       The court found that the enacted congressional map “fails to follow and subordinates

       the Adopted Criteria’s requirement[s]” regarding splitting counties and VTDs.

       Further, the court found

                    that the enacted congressional plan fails to follow, and
                    subordinates, the Adopted Criteria’s requirement to draw
                    compact districts. The [c]ourt [found] that the enacted
                    congressional districts are less compact than they would be
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                     under a map-drawing process that adhered to the Adopted
                     Criteria and prioritized the traditional districting criteria
                     of compactness.

       Further, “when compared to the 1,000 computer-simulated plans[,]” the court found

       that “the enacted congressional plan is a statistical outlier” in regard to the total

       number of Republican-favoring districts it creates.

¶ 66         Next, the court noted four types of analyses in particular that confirm the

       “extreme partisan outcome” of the congressional map that “cannot be explained by

       North Carolina’s political geography or by adherence to Adopted Criteria”: (1) “mean-

       median difference” analysis ; (2) “efficiency gap” analysis (“measur[ing] . . . the degree

       to which more Democratic or Republican votes are wasted across an entire districting

       plan”); (3) “the lopsided margins test”; and (4) “partisan symmetry” analysis. Based

       on these methods, the trial court found “that the enacted congressional plan

       subordinates the Adopted Criteria and traditional redistricting criteria for partisan

       advantage.”

¶ 67         Next, the trial court considered “whether the congressional plan is a statistical

       partisan outlier at the regional level.” Here, the court found “that the enacted

       congressional plan’s districts in each region examined exhibit[ed] political bias when

       compared to the computer-simulated districts in the same regions.” These included

       the Piedmont Triad area, the Research Triangle area, and the Mecklenburg County

       area. “The [c]ourt [found] that the packing and cracking of Democrats in [these
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       regions] could not have resulted naturally from the region’s political geography or the

       districting principles required by the Adopted Criteria.” “The enacted congressional

       map[,]” the court determined, “was therefore designed in order to accomplish the

       legislature’s predominant partisan goals.” Later, the court again confirmed “that the

       enacted congressional plan’s partisan bias goes beyond any ‘natural’ level of electoral

       bias caused by North Carolina’s political geography or the political composition of the

       state’s voters, and this additional level of partisan bias . . . can be directly attributed

       to the map-drawer’s intentional efforts to favor the Republican Party.”

¶ 68          Next, as it did for the North Carolina House and Senate districts, the trial

       court engaged in a district-by-district analysis of all fourteen enacted congressional

       districts. After individual analysis, the court found all fourteen districts “to be the

       result of intentional, pro-Republican partisan redistricting.”

¶ 69          Finally, the trial court noted that “elections are decided by any number of

       factors.” Statistical analyses, the court observed, “treat the candidates as inanimate

       objects” and “assume that voters will vote along party lines.” In essence, the court

       doubted that a computer analysis could ever “take the human element out of the

       human.” “Notwithstanding these doubts,” though, the court “conclude[d] based upon

       a careful review of all of the evidence that the Enacted Maps are a result of

       intentional, pro-Republican partisan redistricting.” This concluded the court’s factual

       findings regarding plaintiffs’ partisan gerrymandering claims.
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             b. Plaintiffs’ Intentional Racial Discrimination and Racial Vote Dilution
                Claims

¶ 70         Second, the trial court considered plaintiffs’ intentional racial discrimination

       and racial vote dilution claims. Beginning with intentional racial discrimination, the

       court found that “[t]here is no express language showing discriminatory intent within

       the text of the session laws establishing the Enacted Plans.” Next, the court noted

       plaintiffs’ circumstantial evidence of racial discrimination, including testimony from

       plaintiff Common Cause’s expert James Leloudis II, regarding the historical

       connection between North Carolina’s past racial gerrymandering practices and the

       current plans.

¶ 71         The trial court then considered plaintiffs’ racial vote dilution claims. After

       reviewing the evidence presented by plaintiffs’ and Legislative Defendants’ experts

       on this matter, the court found that “[r]ace was not the predominant, overriding factor

       in drawing the districts in the Enacted Plans.” The court found that “[t]he General

       Assembly did not subordinate traditional race-neutral districting principles,

       including compactness, contiguity, and respect for political subdivisions to racial

       considerations.” Accordingly, the court found that a district-by-district analysis of

       racial vote dilution, as it had previously performed for the extreme partisan

       gerrymandering claim, was not necessary. This concluded the trial court’s findings

       regarding plaintiffs’ intentional racial discrimination and racial vote dilution claims.

             c. Plaintiffs’ Whole County Provision Claims
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¶ 72         Finally, the court made findings regarding plaintiffs’ whole county provision

       claim. Here, the court noted that under the enacted plans, 35 senate districts and 107

       North Carolina House districts split counties. The court observed that the Senate

       districts divided 15 total counties, while the House districts divided 37 total counties.

       The court noted that in instances where “multiple county groupings were possible

       under the Supreme Court’s interpretation of the Whole County Provision[,] . . .

       groupings were chosen from the range of legally possible groupings.” “Within each

       remaining county grouping containing a district challenged under the Whole County

       Provision,” the court found, “the district line’s traversal of a county line occurs

       because of the need to comply with the equal-population rule required by law and

       memorialized in the Adopted Criteria.”

          2. Trial Court’s Conclusions of Law

¶ 73         After making these extensive findings of fact, the trial court concluded as a

       matter of law that claims of extreme partisan gerrymandering present purely

       political questions that are nonjusticiable under the North Carolina Constitution.

       Accordingly, the court concluded that the enacted maps are not unconstitutional as a

       result of partisan gerrymandering.

             a. Standing

¶ 74         First, the court addressed plaintiffs’ standing to bring their various claims.

       Because “[i]ndividual private citizens and voters of a county have standing to sue to
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       seek redress from an alleged violation of N.C. Const. art II, §§ 3 and 5[,]” the court

       held, “the Individual NCLCV Plaintiffs challenging a district based upon the Whole

       County Provision have standing.” However, based on its legal conclusion that

       “Plaintiffs have not stated any cognizable claim for partisan gerrymandering under

       the various provisions of the North Carolina Constitution[,]” the court concluded that

       all plaintiffs lack standing for these claims.

¶ 75         Finally, the court addressed NCLCV Plaintiffs’ and Common Cause Plaintiffs’

       standing to bring claims of intentional racial discrimination and racial vote dilution

       under the North Carolina Constitution. Because the court found “there to be no

       factual basis underlying these asserted claims,” it concluded that “there is a lack of

       the requisite ‘direct injury’—i.e., the deprivation of a constitutionally guaranteed

       personal right. Accordingly, [the court concluded that] these Plaintiffs do not have

       standing for these claims.” Similarly, the court concluded that “Plaintiff Common

       Cause lacks standing for its claim requesting a declaratory judgment . . . directing

       the legislative process to be undertaken in redistricting.”

             b. Partisan Gerrymandering Claims

¶ 76         Next, the court addressed plaintiffs’ partisan gerrymandering claims under

       various provisions of the North Carolina Constitution. Here, the court determined

       that plaintiffs’ claims amounted to political questions that are nonjusticiable under

       the North Carolina Constitution. Specifically, after surveying the history of the
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       constitutional provisions under which plaintiffs brought their claims, the court

       concluded that “redistricting is an inherently political process” that “is left to the

       General Assembly.”

¶ 77          The court then addressed each of plaintiffs’ constitutional claims. First, the

       court held that the enacted maps do not violate the free elections clause, which

       mandates that “[a]ll elections shall be free.” N.C. Const. art. I, § 10. The court noted

       that “[w]hile the Free Elections Clause has been part of our constitutional

       jurisprudence since the 1776 Constitution, there are very few reported decisions that

       construe the clause.” Based on a survey of the clause’s history, the court “conclude[d]

       that the Free Elections Clause does not operate as a restraint on the General

       Assembly’s ability to redistrict for partisan advantage.”

¶ 78          Second, the trial court addressed plaintiffs’ claims under the free speech clause

       and the equal protection clause. After reviewing the historical background of the

       addition of these clauses to the constitution in 1971, the court concluded that “the

       incorporation of the Free Speech Clause and the Equal Protection Clause to the North

       Carolina Constitution of 1971 was not intended to bring about a fundamental change

       to the power of the General Assembly.” Accordingly, the court refused to “assume that

       . . . the Equal Protection Clause and Free Speech Clause impose new restrictions on

       the political process of redistricting.”
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¶ 79          From this historical foundation, the court concluded that “the Enacted Maps

       do not violate the Equal Protection Clause.” The court concluded that although “[i]t

       is true that there is a fundamental right to vote[,] . . . [r]edistricting and the political

       considerations that are part of that process do not impinge on the right to vote.

       Nothing about redistricting affects a person’s right to cast a vote.” Accordingly, and

       because political affiliation is not a suspect class, the court concluded that “[a]ny

       impingement is limited and distant and as such is subject to rational basis review.”

       The court then concluded “that the plans are amply supported by a rational basis and

       thus do not violate the Equal Protection Clause.”

¶ 80          Third, the court likewise concluded that “the Enacted Plans do not violate the

       Free Speech Clause.” Specifically, the court concluded that “plaintiffs are free to

       engage in speech no matter what the effect the Enacted Plans have on their district.”

¶ 81          Fourth, the trial court concluded that “the Enacted Plans do not violate the

       Right of Assembly Clause.” Specifically, the court noted that “Plaintiffs remain free

       to engage in their associational rights and rights to petition no matter what effect the

       Enacted Plans have on their district.”

¶ 82          In total, the trial court concluded that “[t]he objective constitutional

       constraints that the people of North Carolina have imposed on legislative

       redistricting are found in Article II, Sections 3 and 5 of the 1971 Constitution and not

       in the Free Elections, Equal Protection, Freedom of Speech[,] or Freedom of Assembly
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       Clauses found in Article I of the 1971 Constitution.” “Therefore, the [c]ourt

       conclude[d] that our Constitution does not address limitations on considering

       partisan advantage in the application of its discretionary redistricting decisions and

       Plaintiffs’ claims on the basis of ‘extreme partisan advantage’ fail.”

             c. Justiciability

¶ 83         Next, the court again addressed justiciability. First, the court considered

       whether the North Carolina Constitution delegates the responsibility and oversight

       of redistricting exclusively to the General Assembly. Citing article II, sections 3, 5,

       and 20, the court concluded that “[t]he constitutional provisions relevant to the issue

       before [it] establish that redistricting is in the exclusive province of the legislature.”

¶ 84         Second, the court considered “whether satisfactory and manageable criteria or

       standards exist for judicial determination of the issue.” Here, relying on its analysis

       of the Supreme Court of the United States in Rucho, 139 S. Ct. at 2506–07, regarding

       the justiciability of partisan gerrymandering claims in federal courts, the trial court

       “determine[d] that satisfactory and manageable criteria or standards do not exist for

       judicial determination of the issue and thus the partisan gerrymandering claims

       present a political issue beyond our reach.”

¶ 85         In reaching this conclusion, the court noted that it

                    agree[s] with the United States Supreme Court that
                    excessive partisanship in districting leads to results that
                    are incompatible with democratic principles. Rucho, 139 S.
                    Ct[.] at 2504. Furthermore, it has the potential to violate
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                    “the core principle of republican government . . . that the
                    voters should choose their representatives, not the other
                    way around.” Ariz. State Legislature v. Ariz. Indep.
                    Redistricting Comm’n, 567 U.S. 787, 824 . . . (2015). Also,
                    it can represent “an abuse of power that, at its core, evinces
                    a fundamental distrust of voters, serving the self-interest
                    of the political parties at the expense of the public good.”
                    LULAC v. Perry, 548 U.S. 399, 456 . . . (2006) (Stevens, J.[,]
                    concurring in part and dissenting in part) (quotation and
                    citation omitted)).

       The Court then added that it “neither condones the enacted maps nor their

       anticipated potential results” and that it has a “disdain for having to deal with issues

       that potentially lead to results incompatible with democratic principles and subject

       our State to ridicule.” Nevertheless, the court concluded that because redistricting “is

       one of the purest political questions which the legislature alone is allowed to

       answer[,]” judicial action “in the manner requested . . . would be usurping the political

       power and prerogatives of an equal branch of government.” Accordingly, the trial

       court concluded that plaintiffs’ partisan gerrymandering claims are nonjusticiable.

             d. Intentional Racial Discrimination and Racial Vote Dilution

¶ 86         Next, the trial court addressed plaintiffs’ claims of intentional racial

       discrimination and racial vote dilution. The court “conclude[d] that based upon the

       record before [it], Plaintiffs have failed to prove the merit of their claim.”

¶ 87         Here, the court noted that “[t]he North Carolina Constitution’s guarantees of

       ‘substantially equal voting power’ and ‘substantially equal legislative representation’

       are violated when a redistricting plan deprives minority voters of ‘a fair number of
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       districts in which their votes can be effective,’ measured based on ‘the minority’s

       rough proportion of the relevant population[,]’ ” quoting Bartlett v. Strickland, 556

       U.S. 1, 28–29 (2009) (Souter, J., dissenting). The court then stated that “[a]n act of

       the General Assembly can violate North Carolina’s Equal Protection Clause if

       discriminatory purpose was ‘a motivating factor.’ ” “And whether discriminatory

       purpose was a motivating factor[,]” the court observed, “can be ‘inferred from the

       totality of the relevant facts, including the fact, if it is true, that the law bears more

       heavily on one race than another.’ ” “To determine whether this is true,” the court

       stated, “the court may weigh the law’s historical background, the sequence of events

       leading up to the law, departures from normal procedure, legislative history, and the

       law’s disproportionate impact.”

¶ 88         Based upon these standards, the court then concluded that “NCLCV Plaintiffs

       and Plaintiff Common Cause have failed to satisfy their burden of establishing that

       race was the predominant motive behind the way in which the Enacted Plans were

       drawn.” The court first reached this conclusion based on plaintiffs’ “fail[ure] to show

       a predominant racial motive through direct [or circumstantial] evidence.” Second, the

       court concluded, “Plaintiffs have failed to establish that the General Assembly failed

       to adhere to traditional districting principles on account of racial considerations.”

       Third, the court concluded that “Plaintiffs have failed to make the requisite

       evidentiary showing that the General Assembly sought to dilute the voting strength
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       of Blacks based upon their race, or that Blacks have less of an opportunity to vote for

       or nominate members of the electorate less than those of another racial group.”

       Although the court agreed with plaintiffs’ showing “that a substantial number of

       Black voters are affiliated with the Democratic Party[,]” it nevertheless concluded

       that plaintiffs had not shown

                     how the General Assembly targeted this group on the basis
                     of race instead of partisanship. Black voters who also
                     happen to be Democrats have therefore been grouped into
                     the partisan intent of the General Assembly. There is
                     nothing in the evidentiary record before th[e] [c]ourt
                     showing that race and partisanship were coincident goals
                     predominating over all other factors in redistricting.

       Accordingly, the court rejected plaintiffs’ claims of intentional racial discrimination

       within the enacted plans.

¶ 89         Second, the court addressed plaintiffs’ claims of racial vote dilution in violation

       of the free elections clause. Having previously concluded that the free elections clause

       should be narrowly interpreted to not apply in the redistricting context, the court

       concluded that “NCLCV Plaintiffs’ claim that the Enacted Plans unnecessarily dilute

       the voting power of citizens on account of race in violation of the Free Elections Clause

       of Art. I, § 10 is without an evidentiary or legal basis.” Accordingly, the court rejected

       this claim.

             e. Whole-County Provision Claims
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¶ 90         Next, the trial court addressed plaintiffs’ claims under the whole county

       provision of article II, sections 3 and 5 of the North Carolina Constitution. Although

       the boundaries of certain legislative districts under the enacted plans indeed crossed

       county lines, the court “conclude[d] that the counties grouped and then divided in the

       formation of the specific districts at issue for this claim were the minimum necessary,

       and contained the minimum number of traversals and maintained sufficient

       compactness, to comply with the one-person-one-vote standard in such a way that it

       met the equalization of population requirements set forth in Stephenson v. Bartlett,

       355 N.C. 354, 383[–]84 . . . (2002).” Accordingly, the court “conclude[d] that the

       manner by which the counties at issue for this specific claim were traversed was not

       unlawful because it was predominantly for traditional and permissible redistricting

       principles, including for partisan advantage, which are allowed to be taken into

       account in redistricting.”

             f. Declaratory Judgment Claim

¶ 91         Finally, the trial court addressed plaintiff Common Cause’s declaratory

       judgment claim regarding the redistricting process laid out in Stephenson and

       Dickson v. Rucho, 368 N.C. 481 (2015). On this issue, the court stated that “[t]he

       requirement in Stephenson that districts required by the VRA be drawn first was put

       in place to alleviate the conflict and tension between the WPC and VRA.” But, the

       court noted, “[t]here is nothing in Stephenson that requires any particular analysis
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       prior to making a decision as to whether VRA districts are necessary.” Accordingly,

       the court concluded that “[t]he fact is, whether correct or not, the Legislative

       Defendants made a decision that no VRA Districts are required.” The court then

       stated that, in this situation, “[w]hat Plaintiff Common Cause asks of this [c]ourt is

       to impose a judicially-mandated preclearance requirement . . . [that] does not exist in

       Stephenson.” Therefore, the court concluded as a matter of law “that Plaintiff

       Common Cause is not entitled to a Declaratory Judgment or Injunctive Relief.”

          3. Trial Court’s Decree

¶ 92          Following these extensive factual findings and conclusions of law, the trial

       court issued its ultimate decree. Specifically, the trial court ordered that (1) plaintiffs’

       requests for declaratory judgment are denied; (2) plaintiffs’ requests for permanent

       injunctive relief are denied; (3) the court’s judgment fully and finally resolves all

       claims of plaintiffs, judgment is entered in favor of Legislative Defendants, and

       plaintiffs’ claims are dismissed with prejudice; and (4) the candidate filing period for

       the 2022 primary and municipal elections is set to resume at 8:00 a.m. on Thursday,

       24 February 2022, and shall continue through and end at 12:00 noon on Friday, 4

       March 2022.

       D. Present Appeal

¶ 93          Pursuant to this Court’s 8 December 2021 order certifying the case for

       discretionary review prior to determination by the Court of Appeals, all plaintiffs filed
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       notices of appeal to this Court from the trial court’s final judgment on 11 and 12

       January 2022. The parties’ briefs and arguments before this Court largely echoed the

       arguments made before the trial court. Namely, plaintiffs asserted that the enacted

       plans constitute extreme partisan gerrymandering in violation of the free elections

       clause, equal protection clause, free speech clause, and freedom of assembly clause of

       the North Carolina Constitution and that these state constitutional claims were

       justiciable in state court. Legislative Defendants argued that plaintiffs’ claims

       presented nonjusticiable political questions and therefore did not violate any of the

       asserted state constitutional provisions. The Court also accepted amicus briefs from

       several interested parties. Due to the time-sensitive nature of this case, oral

       arguments were calendared and heard in a special session on 2 February 2022.

                                      II.      Legal Analysis

¶ 94         Now, this Court must determine whether plaintiffs’ claims are justiciable

       under the North Carolina Constitution and, if so, whether Legislative Defendants’

       enacted plans for congressional and state legislative districts violate the free elections

       clause, equal protection clause, free speech clause, and freedom of assembly clause of

       our   constitution.   After   careful    consideration,     we   conclude   that   partisan

       gerrymandering claims are justiciable under the North Carolina Constitution and

       that Legislative Defendants’ enacted plans violate each of these provisions of the

       North Carolina Constitution beyond a reasonable doubt.
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       A. Standing

¶ 95          As a threshold issue, we must determine whether plaintiffs have standing to

       bring their claims. As noted above, the trial court ruled that individual NCLCV

       Plaintiffs had standing to challenge the enacted plans under the whole county

       provision but that plaintiffs lacked standing to bring their partisan gerrymandering

       claims because they had “not stated any cognizable claim for partisan

       gerrymandering under the various provisions of the North Carolina Constitution.”

       The court further determined that NCLCV Plaintiffs and plaintiff Common Cause

       likewise lacked standing to bring their intentional racial discrimination and racial

       vote dilution claims under the North Carolina Constitution. Specifically, the court

       ruled that “[b]ecause . . . there [is] no factual basis underlying these asserted claims,

       there is a lack of the requisite ‘direct injury’—i.e., the deprivation of a constitutionally

       guaranteed personal right.”

¶ 96          We cannot agree. As this Court held in Committee to Elect Dan Forest v.

       Employees Political Action Committee, “the federal injury-in-fact requirement has no

       place in the text or history of our Constitution.” 376 N.C. 558, 2021-NCSC-6, ¶ 73.

       Rather, in the case of direct constitutional challenges to statutes or other acts of

       government, we require only the requisite “concrete adverseness which sharpens the

       presentation of issues upon which the court so largely depends for illumination of

       difficult constitutional questions.” Id. ¶ 64 (quoting Stanley v. Dep’t of Cons. and Dev.,
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284 N.C. 15, 28 (1973)). Accordingly, as a “prudential principle of judicial self-

restraint” and not as a limitation on the judicial power, we have required that a

person challenging government action be directly injured or adversely affected by it.

Id. ¶ 63. This prudential requirement that the person challenging a statute be

directly injured or adversely affected thereby is purely to ensure that the putative

injury belongs to them and not another, and hence that they “can be trusted to battle

the issue.” Id. ¶ 64 (citing Stanley, 284 N.C. at 28). Accordingly, “[t]he ‘direct injury’

required in this context could be, but is not necessarily limited to, ‘deprivation of a

constitutionally guaranteed right or an invasion of his property rights,’ ” id. ¶ 62

(emphasis added), and “[w]hen a person alleges the infringement of a legal

right . . . arising under . . . the North Carolina Constitution, . . . the legal injury itself

gives rise to standing,” id. ¶ 82 (emphasis added). This direct injury requirement does

not require a showing that a party will in fact prevail under the constitutional theory

they advance. Rather, alleging the violation of a legal right which belongs to them,

even if widely shared with others and even if they are not entitled to relief under their

theory of the legal right, is sufficient to show the requisite “concrete adverseness” in

our courts which we, for purely pragmatic reasons, require in the resolution of

constitutional questions. To hold otherwise would resuscitate an injury-in-fact

requirement as a barrier to remedy by the courts in another form.
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¶ 97         The trial court contravened the concrete adverseness rationale for the direct

       injury requirement by concluding that plaintiffs lacked standing because their

       partisan gerrymandering claims, which they contended violated their constitutional

       rights under the free elections clause, equal protection clause, free speech clause, and

       freedom of assembly clause, were not “cognizable.”6 The allegation of violations of

       these constitutional rights was sufficient to generate an actual controversy and hence

       concrete adverseness, whether or not their theory of the violation ultimately

       prevailed in the courts. For example, in Baker v. Carr, from which this Court in part

       derived its concrete adverseness rationale, see Comm. to Elect Dan Forest, ¶ 64, the

       Supreme Court of the United States announced for the first time that claims of vote

       dilution were cognizable and justiciable under the Equal Protection Clause. See

       generally Baker v. Carr, 369 U.S. 186 (1962); see also Comm. to Elect Dan Forest, ¶

       46 (“[T]he only injury asserted [in Baker] is the impairment of a constitutional right

       broadly shared and divorced from any ‘factual’ harm experienced by the plaintiffs”).

       The constitutional right to equal protection of the laws existed although the Baker

       Court had not yet extended it to the precise theory the plaintiffs advanced. Similarly,

       here, the plaintiffs all had standing to challenge the maps based on their allegation

       of violations of their constitutional rights under the free elections clause, equal



             6 The trial court also conflated the existence of a “cognizable” claim under the state

       constitution with one that is justiciable. A claim may violate the constitution yet not be
       justiciable because it is a political question.
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        protection clause, free speech clause, and freedom of assembly clause of our

        Declaration of Rights, which are injuries to legal rights that they directly suffered,

        irrespective of whether courts previously or the court below determined their

        particular theory under those rights ultimately entitled them to prevail.

¶ 98             Finally, the court also determined that “the organizational Plaintiffs each seek

        to vindicate rights enjoyed by the organization under the North Carolina

        Constitution” and that “organizational Plaintiffs each have members who would

        otherwise have standing to sue in their own right, the interests each seeks to protect

        are germane to the organization’s purpose, and neither the claim asserted nor the

        relief requested requires the participation of individual members in the lawsuit.” We

        agree.

¶ 99             Taken together, the trial court’s findings are sufficient to establish that each

        individual and organizational plaintiff here meets the standing requirements under

        the North Carolina Constitution as summarized above. Accordingly, the trial court

        erred in ruling to the contrary.

        B. The Political Question Doctrine

¶ 100            We next address Legislative Defendants’ contention that plaintiffs’ claims

        present only nonjusticiable political questions. Whether partisan gerrymandering

        claims present a nonjusticiable “purely political question” under North Carolina law

        is a question of first impression. We have held that certain claims raising “purely
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        political question[s]” are “nonjusticiable under separation of powers principles.” Hoke

        Cnty. Bd. of Educ. v. State, 358 N.C. 605, 618 (2004). Purely political questions are

        those questions which have been wholly committed to the “sole discretion” of a

        coordinate branch of government, and those questions which can be resolved only by

        making “policy choices and value determinations.” Bacon v. Lee, 353 N.C. 696, 717
        (2001) (quoting Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478 U.S. 221, 230 (1986)).

        Purely political questions are not susceptible to judicial resolution. When presented

        with a purely political question, the judiciary is neither constitutionally empowered

        nor institutionally competent to furnish an answer. See Hoke Cnty. Bd. of Educ., 358

        N.C. at 638–39 (declining to reach the merits after concluding that “the proper age at

        which children should be permitted to attend public school is a nonjusticiable political

        question reserved for the General Assembly”).

¶ 101         The trial court and Legislative Defendants rely in part on Rucho and other

        federal cases. These cases may be instructive, but they are certainly not controlling.

        We have previously held that “[w]hile federal standing doctrine can be instructive as

        to general principles . . . and for comparative analysis, the nuts and bolts of North

        Carolina standing doctrine are not coincident with federal standing doctrine.”

        Goldston v. State, 361 N.C. 26, 35 (2006). This principle extends to all justiciability

        doctrines. “Federal justiciability doctrines—standing, ripeness, mootness, and the

        prohibition against advisory opinions—are not explicit within the constitutional text,
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but are the fruit of judicial interpretation of Article III’s extension of the ‘judicial

Power’ to certain ‘Cases’ or ‘Controversies.’ ” Comm. to Elect Dan Forest, 376 N.C.

558, 2021-NCSC-6, ¶ 35. Originally, federal courts showed great reluctance to involve

themselves in policing redistricting practices at all. The result was both the grossly

unequal apportionment of representation of legislative and congressional seats and

the drawing of district lines in pursuit of partisan advantage.7 The judicial

repudiation of any role in redistricting was summarized in Colegrove v. Green, where

the Supreme Court declared a challenge to the drawing of congressional districting

lines in Illinois nonjusticiable under the Fourteenth Amendment. 328 U.S. 549, 556
(1946). Writing for the Court, Justice Frankfurter reasoned that “effective working of

our Government revealed this issue to be of a peculiarly political nature and therefore

not [fit] for judicial determination.” Id. at 552. “Authority for dealing with such

problems resides elsewhere.” Id. at 554. The Court concluded, revealing the

prudential basis of its reasoning, that “[c]ourts ought not to enter this political


       7 Before the “reapportionment revolution” of Baker v. Carr and its progeny in the

1960s, “states had much more leeway over when, and even if, to redraw district boundaries.
One result was that in many states, district lines remained frozen for decades—often leading
to gross inequalities in district populations and substantial partisan biases.” Erik J.
Engstrom, Partisan Gerrymandering and the Construction of American Democracy 13 (2013).
“Connecticut, for instance, kept the exact same congressional district lines for 70 years (1842–
1912).” Id. at 8. Other state legislatures redrew maps whenever they wanted. “In every year
from 1862 to 1896, with one exception, at least one state redrew its congressional district
boundaries. Ohio, for example, redrew its congressional district boundaries six times between
1878 and 1890.” Id. Moreover, “parties were willing to push partisan advantage to the edge.
To do so, partisan mapmakers carved states into districts with narrow, yet winnable,
margins.” Id.
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        thicket.” Id. at 556 (emphasis added).

¶ 102         In the landmark decision of Baker v. Carr, the Supreme Court reversed course

        and held in a case involving claims that malapportionment violates the Equal

        Protection Clause of the Fourteenth Amendment that such claims are justiciable

        since they do not present political questions. 369 U.S. 186, 209 (1962). The Baker

        Court began its justiciability analysis by noting that “the mere fact that the suit seeks

        protection of a political right does not mean it presents a political question. Such an

        objection is little more than a play upon words.” Id. (cleaned up). After reviewing

        cases to discern the threads that, in various formulations, comprise a nonjusticiable

        political question, the Court identified what has become the standard definition of

        the political question doctrine under federal law:

                     Prominent on the surface of any case held to involve a
                     political question is found a textually demonstrable
                     constitutional commitment of the issue to a coordinate
                     political department; or a lack of judicially discoverable
                     and manageable standards for resolving it; or the
                     impossibility of deciding without an initial policy
                     determination of a kind clearly for nonjudicial discretion;
                     or the impossibility of a court’s undertaking independent
                     resolution without expressing lack of the respect due
                     coordinate branches of government; or an unusual need for
                     unquestioning adherence to a political decision already
                     made; or the potentiality of embarrassment from
                     multifarious pronouncements by various departments on
                     one question.

        Id. at 217. The Court in Baker held that the plaintiffs’ claim under the Equal

        Protection Clause, unlike prior claims under the Guaranty Clause, was justiciable
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        because it presented, inter alia, “no question decided, or to be decided, by a political

        branch of government coequal with th[e] Court” and no “policy determinations for

        which judicially manageable standards are lacking,” as “[j]udicial standards under

        the Equal Protection Clause are well developed and familiar,” which are “that a

        discrimination reflects no policy, but simply arbitrary and capricious action.” Id. at

        226. Accordingly, over a dissent written by Justice Frankfurter and joined by Justice

        Harlan, the Court entered the political thicket. The Court did not in that decision

        announce a remedy for the violation of the Equal Protection Clause but in later cases

        held that the principle of “one person, one vote” required as close to mathematical

        equality as practicable in the drawing of congressional districts and “substantial

        equality” in the drawing of legislative districts. Cf. Wesberry v. Sanders, 376 U.S. 1,

        7–8 (1964) (holding that “as nearly as is practicable one man’s vote in a congressional

        election is to be worth as much as another’s”); Reynolds v. Sims, 377 U.S. 533, 579
        (1964) (“So long as the divergences from a strict population standard are based on

        legitimate considerations incident to the effectuation of a rational state policy, some

        deviations from the equal-population principle are constitutionally permissible with

        respect to the apportionment of seats in either or both of the two houses of a bicameral

        state legislature.”).

¶ 103          Although federal courts concluded that malapportionment claims were

        justiciable, the Supreme Court of the United States did not expressly hold that a
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partisan gerrymandering claim was justiciable until Davis v. Bandemer, where it

held that a partisan gerrymandering claim existed under the Fourteenth Amendment

that did not present a nonjusticiable political question.8 478 U.S. 109, 124 (1986)

(plurality opinion), abrogated by Rucho, 139 S. Ct. 2484. The plurality opinion in

Bandemer identified the claim as being “that each political group in a State should

have the same chance to elect representatives of its choice as any other political

group,” and although the claim was distinct from that in Reynolds involving districts

of unequal size, “[n]evertheless, the issue is one of representation, and we decline to

hold that such claims are never justiciable.” Id. The plurality adopted as a test that

“unconstitutional discrimination occurs only when the electoral system is arranged

in a manner that will consistently degrade a voter’s or a group of voters’ influence on

the political process as a whole.” Id. at 132. Justice O’Connor concurred in the

judgment, arguing in part that the Court’s decision would result in a requirement for

“roughly proportional representation.”9 Id. at 147 (O’Connor, J., concurring in the

judgment).



       8 As noted in the plurality opinion in Bandemer, the Supreme Court did address a

partisan gerrymandering claim in Gaffney v. Cummings, by holding that a districting plan
which incorporated a “political fairness principle” across the plan did not violate the Equal
Protection Clause; however, no concern about justiciability was raised in Gaffney. 412 U.S.
735, 751–52 (1973).
        9 The plurality responded that their decision did not reflect “a preference for

proportionality per se but a preference for a level of parity between votes and representation
sufficient to ensure that significant minority voices are heard and that majorities are not
consigned to minority status.” Davis v. Bandemer, 478 U.S. 109, 125 n.9 (1986).
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¶ 104         Eighteen years later the Supreme Court overruled Bandemer in Vieth v.

        Jubelirer, 541 U.S. 267 (2004), a challenge to Pennsylvania’s 2001 congressional

        redistricting plan on the grounds that it was a political gerrymander. Justice Scalia

        wrote the plurality opinion, in which three other justices joined, and would have also

        held partisan gerrymandering claims to be nonjusticiable political questions because

        they lack a “judicially discernable and manageable standard[,]” id. at 306—“judicially

        discernible in the sense of being relevant to some constitutional violation[,]” id. at

        288. Justice Kennedy concurred in the judgment but refused to hold partisan

        gerrymandering nonjusticiable because “in another case a standard might emerge.”

        Id. at 312 (Kennedy, J., concurring in the judgment).

¶ 105         In Rucho, completing its retreat from Bandemer, the Supreme Court of the

        United States abandoned the field in policing partisan gerrymandering claims. The

        Supreme Court held that claims alleging that North Carolina’s and Maryland’s

        congressional districts were unconstitutionally gerrymandered for partisan gain were

        nonjusticiable in federal court. Rucho, 139 S. Ct. at 2493–2508. It reached this

        conclusion because it could find “no legal standards discernible in the [United States]

        Constitution for” resolving partisan gerrymandering claims, “let alone limited and

        precise standards that are clear, manageable, and politically neutral.” Id. at 2500.

¶ 106         Three concerns appear to have motivated the Court in Rucho. The first premise

        which concerned the Court in Rucho was the absence of a “judicially discernable”
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        standard, that is, one that is “relevant to some constitutional violation.” Vieth, 541

        U.S. at 288; see Rucho, 139 S. Ct. at 2507 (“ ‘[J]udicial action must be governed by

        standard, by rule,’ and must be ‘principled, rational, and based upon reasoned

        distinctions’ founded in the [United States] Constitution or laws.” (first alteration in

        original) (quoting Vieth, 541 U.S. at 278)). In essence, the Supreme Court concluded

        that no provision of the United States Constitution supplied a cognizable legal basis

        for challenging the practice of partisan gerrymandering. See, e.g., Rucho, 139 S. Ct.

        at 2501 (“[T]he one-person, one-vote . . . requirement does not extend to political

        parties.”); id. at 2502 (“[O]ur racial gerrymandering cases [do not] provide an

        appropriate standard for assessing partisan gerrymandering.”); id. at 2504 (“[T]here

        are no restrictions on speech, association, or any other First Amendment activities in

        the districting plans at issue.”); id. at 2506 (“The North Carolina District Court

        further concluded that the 2016 Plan violated the Elections Clause and Article I, § 2.

        We are unconvinced by that novel approach.”).

¶ 107         The second premise underpinning Rucho’s political-question holding was the

        absence of a standard that the Court deemed to be “clear, manageable[,] and

        politically neutral.” Id. at 2500. This rationale was particularly pressing because,

        “while it is illegal for a jurisdiction to depart from the one-person, one-vote rule, or to

        engage in racial discrimination in districting, ‘a jurisdiction may engage in

        constitutional political gerrymandering’ ” under federal law. Id. at 2497 (quoting
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        Hunt v. Cromartie, 526 U.S. 541, 551 (1999)). According to the Court, “the question

        is one of degree,” and “it is vital in such circumstances that the Court act only in

        accord with especially clear standards.” Id. at 2498. However, the Court held the

        plaintiffs had not supplied standards to answer the question, “At what point does

        permissible partisanship become unconstitutional?” Id. at 2501. Moreover, the tests

        adopted by the lower courts were unsatisfactory because they failed to articulate such

        a standard that was sufficiently “clear” and “manageable.” Id. at 2503–05. Finally,

        the dissent’s proposed test, using “a State’s own districting criteria as a neutral

        baseline” was unmanageable because “it does not make sense to use criteria that will

        vary from State to State and year to year.” Id. at 2505.

¶ 108         A third consideration animating the Court’s decision was a prudential

        evaluation of the role of federal courts in the constitutional system. Rucho, 139 S. Ct.

        at 2494 (framing the question presented as “whether there is an ‘appropriate role for

        the Federal Judiciary’ in remedying the problem of partisan gerrymandering”

        (emphasis added) (quoting Gill v. Whitford, 138 S. Ct. 1916, 1926 (2018))); id. at 2507

        (“Consideration of the impact of today’s ruling on democratic principles cannot ignore

        the effect of the unelected and politically unaccountable branch of the Federal

        Government assuming such an extraordinary and unprecedented role.”); id.

        (advocating action through states, including by state supreme courts on state law

        grounds); id. at 2508 (suggesting Congress could act); id. at 2499 (“But federal courts
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        are not equipped to apportion political power as a matter of fairness, nor is there any

        basis for concluding that they were authorized to do so.”).

¶ 109         In summary, federal courts initially forswore virtually any role in the “political

        thicket” of apportionment. See Colegrove, 328 U.S. at 556. However, in Baker and its

        progeny, the Supreme Court of the United States entered that thicket at least to the

        extent of policing malapportionment. See Baker, 369 U.S. 186. The Court’s reasons

        for entering the thicket are relevant today: the Supreme Court recognized that absent

        its intervention to enforce constitutional rights, our system of self-governance would

        be representative and responsive to the people’s will in name only. The Court entered

        the political thicket for a time as well to review partisan gerrymandering claims in

        Bandemer, but ultimately rejected that decision in Vieth, and in Rucho, the Court

        removed such claims from the purview of federal courts altogether. The premises that

        animated the Court in Rucho are substantially the same as those that kept it from

        policing malapportionment claims in the first place: the perception that there is no

        “discernable” right to such claims cognizable in the federal Constitution, a prudential

        evaluation that courts are ill-equipped to hear such claims, and a belief that courts

        should not involve themselves in “political” matters.

¶ 110         However, simply because the Supreme Court has concluded partisan

        gerrymandering claims are nonjusticiable in federal courts, it does not follow that

        they are nonjusticiable in North Carolina courts, as Chief Justice Roberts himself
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        noted in Rucho. Rucho, 139 S. Ct. at 2507 (“Provisions in state statutes and state

        constitutions can provide standards and guidance for state courts to apply.”). First,

        our state constitution “is more detailed and specific than the federal Constitution in

        the protection of the rights of its citizens.” Corum v. Univ. of N.C. Through Bd. of

        Governors, 330 N.C. 761, 783 (1992). Second, state law provides more specific neutral

        criteria against which to evaluate alleged partisan gerrymanders, and those criteria

        would not require our court system to consider fifty separate sets of criteria, as would

        federal court involvement. Finally, Rucho was substantially concerned with the role

        of federal courts in policing partisan gerrymandering, while recognizing the

        independent capacity of state courts to review such claims under state constitutions

        as a justification for judicial abnegation at the federal level. The role of state courts

        in our constitutional system differs in important respects from the role of federal

        courts.

¶ 111         Having canvassed relevant federal decisions, we now consider whether as a

        matter of state law plaintiffs’ partisan gerrymandering claims are justiciable under

        the North Carolina Constitution. We conclude that they are.

        C. The Question Presented Is Not Committed to the “Sole Discretion” of
           the General Assembly

¶ 112         Under North Carolina law, courts will not hear “purely political questions.”

        This Court has recognized two criteria of political questions: (1) where there is “a

        textually demonstrable constitutional commitment of the issue” to the “sole
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        discretion” of a “coordinate political department[,]” Bacon v. Lee, 353 N.C. 696, 717
        (2001) (quoting Baker v. Carr, 369 U.S. 186, 217 (1962)); and (2) those questions that

        can be resolved only by making “policy choices and value determinations[,]” id.
        (quoting Japan Whaling Ass’n v. American Cetacean Soc’y, 478 U.S. 221, 230 (1986)).

¶ 113         We first consider the issue of whether there is a textually demonstrable

        commitment of the issue to the “sole discretion” of a coordinate branch of government.

        The constitution vests the responsibility for apportionment of legislative districts in

        the General Assembly under article II of our state constitution. Article II provides:

        “The General Assembly . . . shall revise the senate districts and the apportionment of

        Senators among those districts.” N.C. Const. art. II, § 3; see N.C. Const. art. II, § 5

        (stating the same requirement for the North Carolina House). Legislative Defendants

        contend that “a delegation of a political task to a single political branch of government

        impliedly forecloses the other branches of government from undertaking that task”

        and that these provisions evidence such a textual commitment. They argue that this

        Court “has repeatedly acknowledged that this constitutional text is a grant of

        unreviewable political discretion to the legislative branch.” This argument—that

        gerrymandering claims are categorically nonjusticiable because reapportionment is

        committed to the sole discretion of the General Assembly—is flatly inconsistent with

        our precedent interpreting and applying constitutional limitations on the General

        Assembly’s redistricting authority. We have interpreted and applied both the
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        expressly enumerated limitations contained in article II, sections 3 and 5, and the

        limitations contained in other constitutional provisions such as the equal protection

        clause. Stephenson v. Bartlett, 355 N.C. 354, 370–71, 378–81 (2002) (determining

        whether the General Assembly’s use of its article II power to apportion legislative

        districts complied with federal law in accordance with article I, sections 3 and 5 of

        our constitution, and our state’s equal protection clause in article I, section 19);

        Blankenship v. Bartlett, 363 N.C. 518, 525–26 (2009) (holding that General

        Assembly’s exercise of its power under article IV, section 9 to establish the election of

        superior court judges in judicial districts must comport with our state’s equal

        protection clause in article I, section 19). Legislative defendants’ argument is,

        essentially, an effort to turn back the clock to the time before courts entered the

        political thicket to review districting claims in Baker v. Carr. Yet, as the facts of this

        case demonstrate, the need for this Court to continue to enforce North Carolinians’

        constitutional rights has certainly not diminished in the intervening years.

¶ 114         Relatedly, but more specifically, Legislative Defendants argue that even if

        certain gerrymandering claims may be justiciable, claims alleging partisan

        gerrymandering in violation of state constitutional provisions are nonjusticiable

        because this Court has endorsed the consideration of partisan advantage in the

        redistricting process. In support of this proposition, Legislative Defendants cite to our

        decision in Stephenson, where we stated the following in full:
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             The General Assembly may consider partisan advantage
             and incumbency protection in the application of its
             discretionary redistricting decisions, see Gaffney v.
             Cummings, 412 U.S. 735, 93 S. Ct. 2321, 37 L. Ed. 2d 298             (1973), but it must do so in conformity with the State
             Constitution. To hold otherwise would abrogate the
             constitutional limitations or “objective constraints” that
             the people of North Carolina imposed on legislative
             redistricting and reapportionment in the State
             Constitution.

355 N.C. at 371. Legislative Defendants misread this statement. We did not conclude

that the text of our state constitution permits the General Assembly to “consider

partisan advantage and incumbency protection”; we concluded that federal law

permitted that consideration by citing to the decision of Gaffney v. Cummings, 412

U.S. 735 (1973). See Stephenson, 355 N.C. at 371. Moreover, Gaffney in no way

supports Legislative Defendants’ argument that we have endorsed their interest in

securing partisan advantage to any extent and which results in systematically

disfavoring voters of one political party. In Gaffney, the Supreme Court of the United

States rejected a partisan gerrymandering claim to an apportionment plan that

pursued a principle of “political fairness” in order to “allocate political power to the

parties in accordance with their voting strength.” Gaffney, 412 U.S. at 754 (emphasis

added). We expressly reserved the question of whether the General Assembly could

consider such criteria “in conformity with the State Constitution,” while also

affirming the applicability of “constitutional limitations” that the people imposed on

the legislative redistricting process in other provisions of the North Carolina
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        Constitution, such as the equal protection clause. Stephenson, 355 N.C. at 371.

        Simply put, resolving Stephenson did not require us to decide the legality of partisan

        gerrymandering under the North Carolina Constitution.

¶ 115         The commitment of responsibility for apportionment to the General Assembly

        in article II provides no support for the Legislative Defendants’ argument. First, the

        list of criteria the General Assembly is required to consider by that section does not

        include “partisan advantage.” See N.C. Const. art. II, § 3. Furthermore, we cannot

        infer the non-justiciability of partisan gerrymandering purely from the structural fact

        that the decennial apportionment of legislative districts is committed to a “political”

        branch. The General Assembly has the legislative power of apportionment under

        article II, but exercise of that power is subject to other “constitutional limitations.”

        Stephenson, 355 N.C. at 371. Put another way, the mere fact that responsibility for

        reapportionment is committed to the General Assembly does not mean that the

        General Assembly’s decisions in carrying out its responsibility are fully immunized

        from any judicial review. That startling proposition is, again, entirely inconsistent

        with our modern redistricting precedents and, on a more fundamental level,

        inconsistent with this Court’s obligation to enforce the provisions of the North

        Carolina Constitution dating to 1787.

¶ 116         Stephenson itself is incompatible with Legislative Defendants’ argument.

        Stephenson was a vote-dilution challenge under the equal protection clause of our
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        state constitution. If Stephenson concluded that redistricting decisions were

        exclusively constitutionally committed to the General Assembly because of article II,

        then no other constitutional limitations would be applicable. Plainly they are. See id.

        at 379.

¶ 117         This case does not ask us to remove all discretion from the redistricting

        process. The General Assembly will still be required to make choices regarding how

        to reapportion state legislative and congressional districts in accordance with

        traditional neutral districting criteria that will require legislators to exercise their

        judgment. Rather, this case asks how constitutional limitations in our Declaration of

        Rights limit the General Assembly’s power to apportion districts under article II. It

        is thus analogous to Cooper v. Berger, 370 N.C. 392 (2018), in that it “involves a

        conflict between two competing constitutional provisions,” and it “involves an issue

        of constitutional interpretation, which this Court has a duty to decide.” Id. at 412.

¶ 118         More fundamentally, Legislative Defendants’ argument that the textual grant

        of a power to a “political” branch is sufficient to render exercise of that power

        unreviewable strikes at the foundation stone of our state’s constitutional caselaw—

        Bayard v. Singleton, 1 N.C. (Mart.) 5 (1787). In Bayard, the courts of North Carolina

        first asserted the power and duty of judicial review of legislative enactments for

        compliance with the North Carolina Constitution, and to strike down laws in conflict

        therewith. Id. at 7. In holding that we had the power of judicial review we specifically
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        reasoned that if “members of the General Assembly” could violate some constitutional

        rights, “they might with equal authority, not only render themselves the Legislators

        of the State for life, without any further election of the people, [but] from thence

        transmit the dignity and authority of legislation down to their heirs male forever.”

        Id. It was out of concern for the very possibility that the legislature might intercede

        in the elections for their own office, which our constitution delegates the legislature

        power over, in contravention of the constitutional rights of the people to elect their

        own representatives that led this Court to assert the power of judicial review. To

        conclude that the mere commitment of the apportionment power in article II to the

        General Assembly renders its apportionment decisions unreviewable would require

        us to betray our most fundamental constitutional duty. “It is the state judiciary that

        has the responsibility to protect the state constitutional rights of the citizens; this

        obligation to protect the fundamental rights of individuals is as old as the State.”

        Corum v. Univ. of N.C., 330 N.C. 761, 783 (1992).

¶ 119          The General Assembly has the power to apportion legislative and

        congressional districts under article II and state law, but exercise of that power is

        subject to other “constitutional limitations,” including the Declaration of Rights. The

        question is whether the General Assembly complied with provisions of the

        Declaration of Rights in its exercise of the apportionment power. There is no textually

        demonstrable commitment of that issue to the legislative branch.
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¶ 120         In determining whether plaintiffs’ claims would require the court to make

        “policy choices and value determinations,” Bacon, 353 N.C. at 717, we must determine

        whether, as plaintiffs argue, the Declaration of Rights of the North Carolina

        Constitution prohibits partisan gerrymandering and, if so, whether the application of

        those claims would require such determinations. As we long ago established and have

        since repeatedly affirmed, “[t]his Court is the ultimate interpreter of our State

        Constitution.” Corum, 330 N.C. at 783 (citing Bayard, 1 N.C. (Mart.) 5). So too when

        it comes to reapportionment. Stephenson, 355 N.C. at 370–71, 378–81; Blankenship,

        363 N.C. at 525–26.

        D. Partisan Gerrymandering Violates the Declaration of Rights in the
           North Carolina Constitution and Is Justiciable

¶ 121         Plaintiffs argue that Legislative Defendants’ districting plans violate the free

        elections clause, equal protection clause, free speech clause, and freedom of assembly

        clause of our constitution’s Declaration of Rights. Accordingly, we must examine the

        text and structure of the Declaration of Rights as well as the intent and history of

        these constitutional provisions to determine whether the rights plaintiffs allege are

        protected by the Declaration of Rights and whether this Court is empowered by the

        constitution to guarantee those rights.

¶ 122         Before examining specific provisions in detail, we make some general

        observations about the Declaration of Rights in article I of our constitution. First,

        “[t]he Declaration of Rights was passed by the Constitutional Convention on 17
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        December 1776, the day before the Constitution itself was adopted, manifesting the

        primacy of the Declaration in the minds of the framers.” 10 Corum, 330 N.C. at 782.

        The Declaration of Rights preceded the constitution, and hence the rights reserved

        by the people preceded the division of power among the branches therein. “The

        relationship is not that exhibited by the U.S. Constitution with its appended Bill of

        Rights, the latter adding civil rights to a document establishing the basic institutions

        of government. Instead, North Carolina’s declaration of rights . . . is logically, as well

        as chronologically, prior to the constitutional text.” John V. Orth &amp; Paul M. Newby,

        The North Carolina Constitution 5–6 (2d ed. 2013). That logical and chronological

        primacy is preserved in our present constitution, with the Declaration of Rights now

        incorporated in the text of the constitution itself as article I.

¶ 123          Second, early in this Court’s history we “recognized the supremacy of rights

        protected in Article I and indicated that [we] would only apply the rules of decision


               10 The primacy of the Declaration of Rights over the powers allocated in the
        constitutional text in the minds of the framers is fitting for a people so opposed to government
        tyranny coalesced in any source. North Carolinians preceded the Revolution by ten years
        through the Regulator Movement opposing the Royal Governor William Tryon. They
        preceded the Declaration of Independence with the Halifax Resolves. After the Revolution
        they only belatedly approved by convention the federal Constitution because of its failure to
        include a Bill of Rights, an implicit rejection of the notion that structural protections of rights,
        like the separation and division of powers, would suffice. It is worth noting that a leading
        argument for the adoption of a federal Bill of Rights, in the words of Thomas Jefferson, was
        “the legal check which [such a Bill would put] into the hands of the judiciary,” as “a body,
        which if rendered independent, and kept strictly to their own department merits great
        confidence for their learning and integrity.” Laurence H. Tribe, American Constitutional Law
        8 &amp; n.8 (3d ed. 2000) (quoting 14 The Papers of Thomas Jefferson 659 (Julian P. Boyd ed.,
        1958)).
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        derived from the common law and such acts of the legislature that are consistent with

        the Constitution.” Corum, 330 N.C. at 783 (citing Trs. of the Univ. of N.C. v. Foy, 5

        N.C. 57 (1805)). In tying judicial review to the primacy of the Declaration of Rights,

        we recognized that

                     [t]he fundamental purpose for [the Declaration’s] adoption
                     was to provide citizens with protection from the State’s
                     encroachment upon these rights. Encroachment by the
                     State is, of course, accomplished by the acts of individuals
                     who are clothed with the authority of the State. The very
                     purpose of the Declaration of Rights is to ensure that the
                     violation of these rights is never permitted by anyone who
                     might be invested under the Constitution with the powers
                     of the State.

        Id. at 782–83 (citing State v. Manuel, 20 N.C. 144 (1838)); see also id. at 782 (“The

        civil rights guaranteed by the Declaration of Rights in Article I of our Constitution

        are individual and personal rights entitled to protection against state action . . . .”).

¶ 124         Finally, the framers of our Declaration of Rights and constitution guarded

        against not only abuses of executive power but also the tyrannical accumulation of

        power that subverts democracy in the legislative branch. William Hooper, a North

        Carolina delegate to the Continental Congress, urged that the state constitution

        prevent legislators from making “their own political existence perpetual.” Letter from

        William Hooper to the Provincial Congress of North Carolina (Oct. 26, 1776), in 10

        Colonial   and    State    Records     of   North     Carolina   867–68,   available    at

        https://docsouth.unc.edu/csr/index.php/document/csr10-0407. John Adams, “already
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        a renowned authority on constitutionalism,” Orth &amp; Newby at 5, submitted two

        letters of advice to the Convention, recommending that to prevent the legislature

        from “vot[ing] itself perpetual” the constitution must divide the General Assembly

        into two chambers so each could check the other. Essay by John Adams on “Thoughts

        on Government” (March 1776), in 11 Colonial and State Records of North Carolina

        321, 324, available at https://docsouth.unc.edu/csr/index.php/document/csr11-0189.

        And so the framers did create two chambers, and we have maintained that division

        to this day. See N.C. Const. of 1776, § 1; N.C. Const. art. II, § 1.

¶ 125         Despite these protections, the primacy of the Declaration of Rights suggests

        that our framers did not believe that division of power alone would be sufficient to

        protect their civil and political rights and prevent tyranny. Accordingly, they

        enshrined their rights in the Declaration of Rights. They also created a state judiciary

        invested with the “judicial power.” See N.C. Const. of 1776, § 1; N.C. Const. art. IV,

        § 1. This independent judiciary was another structural protection. In Bayard, we

        concluded that our courts have the power, and indeed the obligation, to review

        legislative enactments for compliance with the North Carolina Constitution and to

        strike down unconstitutional laws. 1 N.C. (Mart.) at 7. The Court reasoned that if we

        abdicated this power and obligation, legislators could make themselves “Legislators

        of the State for life” and insulate themselves from “any further election of the people.”

        Id. Giving effect to the will of the people through popular sovereignty and the rights
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        protected by the Declaration of Rights, including the rights to free and frequent

        elections, were central to our recognition of the necessity of judicial review.

¶ 126         Having reviewed these structural and historical aspects of the Declaration of

        Rights, we now turn to the text to analyze whether plaintiffs’ partisan

        gerrymandering claims have a discernible basis therein. Indeed, the very text of the

        Declaration of Rights calls us back time and again to itself, the source of

        constitutional meaning, by providing that “[a] frequent recurrence to fundamental

        principles is absolutely necessary to preserve the blessings of liberty.” N.C. Const. art

        I, § 35.11 In a leading case from Virginia, construing a cognate provision of the

        Virginia Declaration of Rights, Judge Roane defined “fundamental principles” as

                     those great principles growing out of the Constitution, by
                     the aid of which, in dubious cases, the Constitution may be
                     explained and preserved inviolate; those landmarks, which
                     it may be necessary to resort to, on account of the
                     impossibility to foresee or provide for cases within the
                     spirit, but without the letter of the Constitution.

        Kamper v. Hawkins, 3 Va. (1 Va. Cas.) 20, 40 (1793); see Orth &amp; Newby at 92

        (discussing same). These “landmarks” serve as an important backdrop to aid in

        interpreting the “spirit” of the North Carolina Constitution and the scope of the




              11 By this text, “[a]ll generations are solemnly enjoined to return ad fontes (to the

        sources) and rethink for themselves the implications of the fundamental principles of self-
        government that animated the revolutionary generation.” John V. Orth &amp; Paul M. Newby,
        The North Carolina Constitution 91 (2d ed. 2013).
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        sweeping provisions of its Declaration of Rights.

¶ 127          North Carolina’s Declaration of Rights as it exists today in article I was forged

        not only out of the revolutionary spirit of 1776 but also the reconstruction spirit of

        1868. See John L. Sanders, Our Constitutions: An Historical Perspective,

        https://www.sosnc.gov/documents/guides/legal/North_Carolina_Constitution_Histori

        cal.pdf (“Drafted and put through the convention by a combination of native

        Republicans and a few carpetbaggers, . . . [f]or its time, [the Constitution of 1868] was

        a progressive and democratic instrument of government.”); id. (“The Constitution of

        1868 incorporated the 1776 Declaration of Rights into the Constitution as Article I

        and added several important guarantees.”); id. (“[T]he Constitution of 1971 brought

        forward much of the 1868 language with little or no change.”). Our Declaration of

        Rights begins with the declaration of two fundamental principles, the costly fruit paid

        in the blood of the Civil War and Revolutionary War, respectively: equality of persons

        and the democratic principle of popular sovereignty.12 Article I, sections 1 and 2

        provide:

                      Section 1. The equality and rights of persons.
                             We hold it to be self-evident that all persons are
                      created equal; that they are endowed by their Creator with
                      certain inalienable rights; that among these are life,
                      liberty, the enjoyment of the fruits of their own labor, and
                      the pursuit of happiness.


               12 Article I, section 1 originates from the 1868 constitution, while article I, section 2,

        originates from the 1776 constitution.
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                      Sec[tion] 2. Sovereignty of the people.
                             All political power is vested in and derived from the
                      people; all government of right originates from the people,
                      is founded upon their will only, and is instituted solely for
                      the good of the whole.

        N.C. Const. art. I, §§ 1–2.

¶ 128          Under article I, section 1, equality logically precedes sovereignty, as equality

        is “self-evident.” Article I, section 1 recognizes the self-evident fundamental principle

        of equality; however, that does not mean it is not a source of cognizable rights by its

        own terms as well. See, e.g., Tully v. City of Wilmington, 370 N.C. 527, 533, 536 (2018)

        (holding each person’s “inalienable right” to the “enjoyment of the fruits of their own

        labor” protects the fundamental right to “pursue his chosen profession free from”

        unreasonable government interference). This section deliberately borrowed the

        language of the Declaration of Independence, which was quoted and expanded upon

        in the Gettysburg Address just a few years prior to the 1868 Reconstruction

        Convention. Article I, section 1’s recognition of the first principle that “all persons are

        created equal” is universal.

¶ 129          Article I, section 2 locates the source of all “political power” under the

        Declaration of Rights in “the people.” N.C. Const. art. I, § 2. It specifies that “all

        government of right” can only “originate[ ] from the people.” Id. This “government of

        right” is only established when it is “founded upon [the people’s] will only,” and

        “instituted solely for the good of the whole.” Id. Section 2 of the Declaration of Rights
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can fruitfully be read together with the first clause of section 3. N.C. Const. art. I, §

3, cl. 1 (“The people of this State have the inherent, sole, and exclusive right of

regulating the internal government and police thereof . . . .”). “These two sections

contain both a general and a specific assertion of democratic theory.” Orth &amp; Newby

at 48 (emphasis added). Section 2’s declaration that “[a]ll political power is vested in

and derived from the people” is an “abstract statement of principle.” Id. Meanwhile,

section 3’s declaration that “the people of this State have the inherent, sole, and

exclusive right of regulating the internal government and police thereof,” is “a specific

local application of the general rule.” Id. These sections “now serve as a fuller

theoretical statement” of the core democratic principle: “the revolutionary faith in

popular sovereignty.” Id.; see Thrift v. Bd. of Comm’rs, 122 N.C. 31, 37 (1898) (“Our

theory of government, proceeding directly from the people, and resting upon their will,

is essentially different — at least, in principle — from that of England . . . .” (emphasis

added)). Under popular sovereignty, the democratic theory of our Declaration of

Rights, the “political power” of the people which is “vested in and derives from

[them],” is channeled through the proper functioning of the democratic processes of

our constitutional system to the people’s representatives in government. N.C. Const.

art. I, § 2. Only when those democratic processes function as provided by our

constitution to channel the will of the people can government be said to be “founded

upon their will only.” Id.
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¶ 130         The principle of equality and the principle of popular sovereignty are the two

        most fundamental principles of our Declaration of Rights. N.C. Const. art. I, §§ 1–2.

        The principle of equality, adopted into our Declaration of Rights from the Declaration

        of Independence and the Gettysburg Address, provides that “all persons are created

        equal.” N.C. Const. art. I, § 1. Meanwhile, under the principle of popular sovereignty,

        the “political power” of the people is channeled through the proper functioning of the

        democratic processes of our constitutional system to the people’s representatives in

        government. N.C. Const. art. I, § 2. While these are two separate fundamental

        principles under our present constitutional system, one cannot exist without the

        other. Equality, being logically as well as chronologically prior, is essential to popular

        sovereignty. See Abraham Lincoln, “On Slavery and Democracy,” I Speeches and

        Writings, 484 (1989) (“As I would not be a slave, so I would not be a master. This

        expresses my idea of democracy. Whatever differs from this, to the extent of the

        difference, is no democracy.”); “Address at Gettysburg, Pennsylvania,” II Speeches

        and Writings at 536 (connecting “the proposition that all men are created equal” to

        “government of the people, by the people, for the people”). Consequently, sections 1

        and 2 of our Declaration of Rights, when read together, declare a commitment to a

        fundamental principle of democratic and political equality. The principle of political

        equality, from the Halifax Resolves and the Declaration of Independence to Lincoln’s

        Gettysburg Address and the Reconstruction Convention to our Declaration of Rights
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        today, can mean only one thing—to be effective, the channeling of “political power”

        from the people to their representatives in government through the democratic

        processes envisioned by our constitutional system must be done on equal terms. If

        through state action the ruling party chokes off the channels of political change on

        an unequal basis, then government ceases to “derive[ ]” its power from the people or

        to be “founded upon their will only,” and the principle of political equality that is

        fundamental to our Declaration of Rights and our democratic constitutional system

        is violated. N.C. Const. art. I, §§ 1, 2; see Bayard, 1 N.C. (Mart.) at 7 (recognizing this

        principle in holding that judicial review is needed to prevent legislators from

        permanently insulating themselves from popular will); see also John Hart Ely,

        Democracy and Distrust 103 (1980) (“In a representative democracy value

        determinations are to be made by our elected representatives, and if in fact most of

        us disapprove we can vote them out of office. Malfunction occurs when the process is

        undeserving of trust, when [ ] the ins are choking of the channels of political change

        to ensure that they will stay in and the outs will stay out.”).

¶ 131         In Dickson v. Rucho, we held a partisan gerrymandering challenge that

        legislative reapportionment plans violated the “Good of the Whole” clause failed

        because that argument “is not based upon a justiciable standard.” 368 N.C. 481, 534
        (2015). Of course, the judgment in Dickson was vacated on federal law grounds, 137

        S. Ct. 2186 (2017). However, taken as a valid proposition of state law, it does not
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        follow that sections 1 and 2 in toto provide no guidance for determining the

        constitutionality and justiciability of partisan gerrymandering or do not aid in

        construing other constitutional provisions. The principle of political equality which

        we have articulated is a fundamental principle of our Declaration of Rights. See N.C.

        Const. art. I, § 35. Such fundamental principles guide us in part through the light

        they throw on other constitutional provisions. Accordingly, interpreting article I,

        section 2, we have held that “[t]his is a government of the people, by the people, and

        for the people, founded upon the will of the people, and in which the will of the people,

        legally expressed, must control” and reasoned that “[i]n construing [other] provisions

        of the constitution, we should keep in mind” this fundamental principle. State ex rel.

        Quinn v. Lattimore, 120 N.C. 426, 428–29 (1897). While plaintiffs do not contend the

        enacted plans constitute partisan gerrymanders in violation of article I, sections 1

        and 2, the fundamental principle of political equality underpinning those sections

        guides our interpretation of other provisions of the Declaration of Rights.

¶ 132         Plaintiffs allege Legislative Defendants’ enacted plans violate the free

        elections clause under section 10, the free speech clause under section 14, the freedom

        of assembly clause under section 12, and the equal protection clause under section 19

        of the Declaration of Rights as partisan gerrymanders. Along with guidance from the

        fundamental principles described above, in construing these provisions in the

        Declaration of Rights, we are mindful that:
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                             It is the state judiciary that has the responsibility to
                      protect the state constitutional rights of the citizens; this
                      obligation to protect the fundamental rights of individuals
                      is as old as the State. Our Constitution is more detailed
                      and specific than the federal Constitution in the protection
                      of the rights of its citizens. We give our Constitution a
                      liberal interpretation in favor of its citizens with respect to
                      those provisions which were designed to safeguard the
                      liberty and security of the citizens in regard to both person
                      and property.

        Corum, 330 N.C. at 783 (cleaned up). More broadly, “a Constitution should generally

        be given, not essentially a literal, narrow, or technical interpretation, but one based

        upon broad and liberal principles designed to ascertain the purpose and scope of its

        provisions.” Elliott v. Gardner, 203 N.C. 749, 753 (1932). In interpreting these

        provisions, we remain mindful of our “duty to follow a reasonable, workable, and

        effective interpretation that maintains the people’s express wishes.” Stephenson v.

        Bartlett, 355 N.C. 354, 382 (2002).

           1. Free Elections Clause

¶ 133          Plaintiffs first argue that partisan gerrymandering violates the free elections

        clause in section 10 of our Declaration of Rights. The free elections clause has no

        analogue in the federal Constitution and is, accordingly, a provision that makes the

        state constitution “more detailed and specific than the federal Constitution in the

        protection of the rights of its citizens.” Corum, 330 N.C. at 783. This clause provides,

        in laconic terms, “[a]ll elections shall be free.” N.C. Const. art. I, § 10.

¶ 134          We turn to the history of the free elections clause. See Sneed v. Greensboro City
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        Bd. of Educ., 299 N.C. 609, 613 (1980) (noting in constitutional interpretation we

        consider “the history of the . . . provision and its antecedents”). The free elections

        clause was included in the 1776 Declaration of Rights. It was modeled on a nearly

        identical clause in Virginia’s declaration of rights. See Va. Const. of 1776, Declaration

        of Rights, § 6 (1776); Earle H. Ketcham, The Sources of the North Carolina

        Constitution of 1776, 6 N.C. Hist. Rev. 215, 221 (1929). The Virginia clause was

        derived from a clause in the English Bill of Rights of 1689, a product of the Glorious

        Revolution of 1688. Ketcham, The Sources of the North Carolina Constitution of 1776,

        6 N.C. Hist. Rev. at 221. That provision provided “election of members of parliament

        ought to be free.” Bill of Rights 1689, 1 W. &amp; M. Sess. 2 c. 2 (Eng.). This provision of

        the 1689 English Bill of Rights was adopted in response to the king’s efforts to

        manipulate parliamentary elections by diluting the vote in different areas to attain

        “electoral advantage,” leading to calls for a “free and lawful parliament” by the

        participants of the Glorious Revolution. J.R. Jones, The Revolution of 1688 in

        England 148 (1972); Gary S. De Krey, Restoration and Revolution in Britain: A

        Political History of the Era of Charles II and the Glorious Revolution 241, 247–48,

        250 (2007). Avoiding the manipulation of districts that diluted votes for electoral gain

        was, accordingly, a key principle of the reforms following the Glorious Revolution.

¶ 135         North Carolina’s free elections clause was enacted following the passage of

        similar clauses in other states, including Pennsylvania and Virginia. See John V.
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        Orth, North Carolina Constitutional History, 70 N.C. L. Rev. 1759, 1797–98 (1992).

        Pennsylvania’s free elections clause was enacted in response to laws that

        manipulated elections for representatives to Pennsylvania’s colonial assembly.

        League of Women Voters of Pa. v. Pennsylvania, 645 Pa. 1, 178 A.3d 737, 804 (2018).

        Pennsylvania’s version of the free elections clause was intended to end “the dilution

        of the right of the people of [the] Commonwealth to select representatives to govern

        their affairs,” League of Women Voters of Pa., 645 Pa. at 108, 178 A.3d 737 at 808,

        and to codify an “explicit provision[ ] to establish protections of the right of the people

        to fair and equal representation in the governance of their affairs[,]” id. at 104, 178

        A.3d 737 at 806.

¶ 136          Under North Carolina law, our free elections clause was also intended for that

        purpose. This clause was enacted with the preceding clause requiring “frequent

        elections,” which provides that “[f]or redress of grievances and for amending and

        strengthening the laws, elections shall be often held.” N.C. Const. art. I, § 9.

        Construing these provisions in pari materia, it follows that the “elections” which the

        prefatory clause of section 9 calls for must be “free” as well as “frequent.” As a matter

        of fundamental principle, these sections “concern[ ] the application of the principle of

        popular sovereignty, first stated in Section 2.” Orth &amp; Newby at 55. The free elections

        clause, accordingly, provides “free elections” as the most fundamental democratic

        process by which the principle of popular sovereignty is applied, and the government
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        “derive[s]” its power from the people and is “founded upon their will only.” N.C. Const.

        art. I, § 2; see also Quinn, 120 N.C. at 426.

¶ 137         The free elections clause reflects the principle of the Glorious Revolution that

        those in power shall not attain “electoral advantage” through the dilution of votes

        and that representative bodies—in England, parliament; here, the legislature—must

        be “free and lawful.” De Krey, Restoration and Revolution in Britain at 250.

        Legislative Defendants argue and the trial court concluded that the free elections

        clause could not be read to speak on partisan gerrymandering because Patrick Henry,

        one of the drafters of the Virginia free elections clause on which ours was based,

        engaged in the practice of partisan gerrymandering “to the detriment of James

        Madison” at the time of that clause’s drafting.

¶ 138         We are unpersuaded by this evidence. First, the framers of our constitution did

        not establish fixed rules preemptively attempting to address every possible

        contingency. Thus, Legislative Defendants’ attempt to fix the meaning of these

        provisions by sole reference to the practices thought permissible at the time they were

        enacted is not only inconsistent with hundreds of years of constitutional development,

        but it is also inconsistent with the intent of the people as expressed in their choice to

        espouse broad principles rather than narrow rules. Furthermore, the framers of

        North Carolina’s constitution repeatedly articulated their intent to make the North

        Carolina Constitution responsive to the broader principles of the Glorious
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Revolution.13 The framers of North Carolina’s constitution, such as James Iredell,

believed that the American Revolution represented the fulfillment of the same

principles vindicated by England’s Glorious Revolution. See generally Speech by

James Iredell to the Edenton District Superior Court Grand Jury (May 1778), in 13

Colonial    and    State    Records     of   North     Carolina     434–36,     available    at

https://docsouth.unc.edu/csr/index.php/document/csr13-0498. And in 1775, prior to

the drafting of the state constitution, North Carolina’s delegates to the Continental

Congress urged North Carolina to fight British attempts to infringe “those glorious

Revolution principles.” Circular letter from William Hooper, Joseph Hewes, and

Richard Caswell to the inhabitants of North Carolina, in 10 Colonial and State

Records of North Carolina 23. Finally, North Carolina’s leaders demanded the

election of delegates to the Provincial Congress “be free and impartial.” Minutes of

the North Carolina Council of Safety (Aug. 22, 1776), in 10 Colonial and State Records

of North Carolina 702. These primary sources indicate that our founders did not hold

the limited view that the only requirement for an election to be a “free” election was

that those qualified had access to the ballot box, although that is also within the


       13 The trial court concluded the free elections clause in our Declaration of Rights “does

not operate as a restraint on the General Assembly’s ability to redistrict for partisan
advantage,” based in part on the history of the free elections clauses in the Virginia
Declaration of Rights and the English Bill of Rights. But based on the history we have
recounted, the perceived unfairness of drawing of borough lines for partisan advantage was
a central concern of the Glorious Revolution, and the framers of the North Carolina
Declaration of Rights and Constitution in 1776 expressed a strong commitment to the
principles of the Glorious Revolution, including an insistence on elections being “impartial.”
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        ambit of the clause; rather, they adhered to the broad principles of the Glorious

        Revolution—that all attempts to manipulate the electoral process, especially through

        vote dilution on a partisan basis, as in the “rotten boroughs” of England, would be

        prohibited. Such a reading is consonant with section 2, which adopts the principle of

        popular sovereignty in order that the government be “founded upon [the people’s] will

        only.” N.C. Const. art. I, § 2.

¶ 139          Moreover, the precise wording of the free elections clause has changed over

        time. It originally read, “[E]lections of Members to serve as Representatives in

        General Assembly ought to be free.” In 1868, in concert with its adoption of the

        equality principle in section 1, the Reconstruction Convention amended the free

        elections clause to read “[a]ll elections ought to be free.” In 1971, the present version

        was adopted, changing “ought to” to the command “shall.” This change was intended

        to “make it clear” that the free elections clause, along with other “rights secured to

        the people by the Declaration of Rights[,] are commands and not mere admonitions

        to proper conduct on the part of government.” N.C. State Bar v. DuMont, 304 N.C.

        627, 639 (1982) (quoting John L. Sanders, “The Constitutional Development of North

        Carolina,” in North Carolina Manual 87, 94 (1979)). Accordingly, though those in

        power during the early history of our state may have viewed the free elections clause

        as a mere “admonition” to adhere to the principle of popular sovereignty through

        elections, a modern view acknowledges this is a constitutional requirement.
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¶ 140         Finally, from the earliest language, the framers evidenced an intent to

        enshrine a broad principle of “free” elections, and this language is a direct application

        of the principle of popular sovereignty in section 2. See N.C. Const. art. 1, § 2. Since

        the Reconstruction Convention of 1868, it must also be textually read in concord

        with—and as giving effect to—the fundamental principle of equality, that “all persons

        are created equal,” announced in section 1. See N.C. Const. art. 1, § 1. Therefore, even

        if “free” originally meant the electoral process would be available for some, at least

        since 1868, it must also mean that voters must not be denied voting power on an

        equal basis in harmony with this fundamental principle. Although our understanding

        of what is required to maintain free elections has evolved over time, there is no doubt

        these fundamental principles establish that elections are not free if voters are denied

        equal voting power in the democratic processes which maintain our constitutional

        system of government. When the legislature denies to certain voters this

        substantially equal voting power, including when the denial is on the basis of voters’

        partisan affiliation, elections are not free and do not serve to effectively ascertain the

        will of the people. This violates the free elections clause as interpreted against the

        backdrop of the fundamental principles in our Declaration of Rights. Accordingly, for

        an election to be free and the will of the people to be ascertained, each voter must

        have substantially equal voting power and the state may not diminish or dilute that

        voting power on a partisan basis.
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¶ 141         Thus, partisan gerrymandering, through which the ruling party in the

        legislature manipulates the composition of the electorate to ensure that members of

        its party retain control, is cognizable under the free elections clause because it can

        prevent elections from reflecting the will of the people impartially and by diminishing

        or diluting voting power on the basis of partisan affiliation. Partisan gerrymandering

        prevents election outcomes from reflecting the will of the people and such a claim is

        cognizable under the free elections clause.

           2. Equal Protection Clause

¶ 142         Plaintiffs also argue that partisan gerrymandering is cognizable under the

        equal protection clause because partisan gerrymandering may violate every

        individual voter’s fundamental right to vote on equal terms and the fundamental

        right to substantially equal voting power. We agree.

¶ 143         The equal protection clause provides that “[n]o person shall be denied the equal

        protection of the laws.” N.C. Const. art. I, § 19. This clause was added to our

        Declaration of Rights with the adoption of the 1971 constitution. Although the

        language of this provision mirrors the federal Equal Protection Clause, “[i]t is beyond

        dispute that this Court ‘ha[s] the authority to construe [the State Constitution]

        differently from the construction by the United States Supreme Court of the Federal

        Constitution, as long as our citizens are thereby accorded no lesser rights than they

        are guaranteed by the parallel federal provision.’ ” Stephenson, 355 N.C. at 381 n.6
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        (second alteration in original) (quoting State v. Carter, 322 N.C. 709, 713 (1988)). Our

        state constitution provides greater protection of voting rights than the federal

        Constitution. Blankenship v. Bartlett, 363 N.C. 518, 522–24 (2009); Stephenson, 355

        N.C. at 376, 380–81, 381 n.6.

¶ 144         The equal protection clause in section 19 of our Declaration of Rights requires

        that if a government classification “impermissibly interferes with the exercise of a

        fundamental right a strict scrutiny must be given the classification.” Northampton

        Cnty. Drainage Dist. No. One v. Bailey, 326 N.C. 742, 746 (1990).

¶ 145         We have held that under our equal protection clause, “the right to vote on equal

        terms is a fundamental right.” Stephenson, 355 N.C. at 378 (quoting Northampton,

        326 N.C. at 747). In Stephenson, we further held that our equal protection clause

        protects “the fundamental right of each North Carolinian to substantially equal

        voting power.” 355 N.C. at 379. Under our state constitution, the fundamental right

        to vote in elections, which is the central democratic process in our constitutional

        system through which the “political power” that inheres in the people under the

        fundamental principles of our Declaration of Rights is channeled to the people’s

        representatives in government, encompasses “the principles of substantially equal

        voting power and substantially equal legislative representation.” Id. at 382.

¶ 146         Accordingly, our state constitution’s equal protection clause in article I, section

        19 provides greater protections in redistricting cases than the federal constitution. In
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Stephenson, we also held that the use of single-member and multi-member districts

in a redistricting plan violated our state’s equal protection clause. It did so because

voters in multi-member districts had a greater opportunity to influence

representatives, as “those living in [multi-member] districts may call upon a

contingent of responsive Senators and Representatives to press their interests, while

those in a single-member district may rely upon only one Senator or Representative.”

Id. at 379. This “classification of voters” between single-member districts and multi-

member districts created an “impermissible distinction among similarly situated

citizens[,]” implicated “the fundamental right to vote on equal terms,” id. at 378, and

restricted the right to “substantially equal voting power and substantially equal

legislative representation[,]” id. at 382. Accordingly, the redistricting plan triggered

strict scrutiny, not because the government drew a distinction on the basis of a

protected classification, but because the distinction the government drew implicated

a fundamental right. Id. at 378. Under Stephenson, the fundamental right to

substantially equal voting power is more expansive than any analogous fundamental

right under the Equal Protection Clause of the Fourteenth Amendment, since that

provision does not prohibit the use of single-member and multi-member legislative

districts in one map. See Fortson v. Dorsey, 379 U.S. 433, 437 (1965) (holding that the

use of multi-member and single-member districts in the same legislative map did not

violate the Equal Protection Clause where there was “no mathematical disparity”
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        between voters).

¶ 147         Furthermore, the equal protection clause in article I, section 19 applies in

        circumstances where the federal Equal Protection Clause is silent. In Blankenship v.

        Bartlett, we held that our state’s equal protection clause “requires a heightened level

        of scrutiny of judicial election districts,” because it implicates the fundamental “right

        to vote on equal terms in representative elections,” although federal courts have held

        the one-person, one-vote standard of the federal Equal Protection Clause is

        inapplicable to state judicial elections. Blankenship, 363 N.C. at 522–23 (citing

        Chisom v. Roemer, 501 U.S. 380 (1991)).

¶ 148         We hold here that partisan gerrymandering claims are cognizable under the

        equal protection clause of our Declaration of Rights. “[T]he fundamental right to vote

        on equal terms[,]” Stephenson, 355 N.C. at 378, includes the right to “substantially

        equal voting power and substantially equal legislative representation[,]” id. at 382.

        This necessarily encompasses the opportunity to aggregate one’s vote with

        likeminded citizens to elect a governing majority of elected officials who reflect those

        citizens’ views. Designing districts in a way that denies voters substantially equal

        voting power by diminishing or diluting their votes on the basis of party affiliation

        deprives voters in the disfavored party of the opportunity to aggregate their votes to

        elect such a governing majority. Like the distinctions at issue in Stephenson, drawing

        distinctions between voters on the basis of partisanship when allocating voting power
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        diminishes the “representational influence” of voters. Id. at 377. Except, in the case

        of partisan gerrymandering, the effect on the representational influence is more

        severe because those who have been deprived equal voting power lack the same

        opportunity as those from the favored party to elect a governing majority, even when

        they vote in numbers that would garner voters of the favored party a governing

        majority. Accordingly, those voters have far fewer legislators who are “responsive” to

        their concerns and who can together “press their interests.” Id. at 379.

¶ 149         Our reading of the equal protection clause is most consistent with the

        fundamental principles in our Declaration of Rights of equality and popular

        sovereignty—together, political equality. See N.C. Const. art. I, §§ 1, 2. Popular

        sovereignty requires that for a government to be “of right” it must be “founded upon

        [the people’s] will only.” N.C. Const. art. I, § 2. In a statewide election, ascertaining

        the will of the people is straightforward. But in legislative elections, voters only have

        equal “representational influence” if results fairly reflect the will of the people not

        only district by district, but in aggregate, and on equal terms. See Stephenson, 355

        N.C. at 377 (examining the effect of single-member and multi-member districts across

        the state). Otherwise, the “will” on which the government “is founded” is not that of

        the people of this state but that of the ruling party.

¶ 150         We conclude that when on the basis of partisanship the General Assembly

        enacts a districting plan that diminishes or dilutes a voter’s opportunity to aggregate
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        with likeminded voters to elect a governing majority—that is, when a districting plan

        systematically makes it harder for one group of voters to elect a governing majority

        than another group of voters of equal size—the General Assembly unconstitutionally

        infringes upon that voter’s fundamental rights to vote on equal terms and to

        substantially equal voting power. Classifying voters on the basis of partisan

        affiliation so as to dilute their votes in this manner is subject to strict scrutiny

        because it burdens a fundamental right and is presumed unconstitutional unless

        narrowly tailored to a compelling governmental interest. See Northampton, 326 N.C.

        at 746 (“[I]f a classification impermissibly interferes with the exercise of a

        fundamental right a strict scrutiny must be given the classification. Under the strict

        scrutiny test the government must demonstrate that the classification it has imposed

        is necessary to promote a compelling governmental interest.”).

           3. Free Speech Clause and Freedom of Assembly Clause

¶ 151         Finally, plaintiffs argue that partisan gerrymandering is cognizable under the

        free speech clause under section 14 and the freedom of assembly clause under section

        12 of our Declaration of Rights. We agree.

¶ 152         Our free speech clause provides that “[f]reedom of speech and of the press are

        two of the great bulwarks of liberty and therefore shall never be restrained.” N.C.

        Const. art. I, § 14. Our freedom of assembly clause provides, in pertinent part, that

        “[t]he people have a right to assemble together to consult for their common good, to
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        instruct their representatives, and to apply to the General Assembly for redress of

        grievances.” Id. § 12. These provisions textually differ from their federal analogues,

        and we have construed them to provide greater protection than those provisions.

¶ 153         In Corum, this Court construed the free speech clause in our Declaration of

        Rights. 330 N.C. at 781. The plaintiff alleged “retaliation against plaintiff for his

        exercise of certain free speech rights.” Id. at 766. He brought a claim for, inter alia, a

        direct cause of action under article I, section 14 of the state constitution. Id. We

        reasoned that “[t]he words ‘shall never be restrained’ are a direct personal guarantee

        of each citizen’s right of freedom of speech[,]” id. at 781; that this provision “is self-

        executing[,]” id. at 782; and, accordingly, “the common law, which provides a remedy

        for every wrong, will furnish the appropriate action for the adequate redress of a

        violation of that right[,]” id. We observed concerning the free speech clause that

                     [t]his great bulwark of liberty is one of the fundamental
                     cornerstones of individual liberty and one of the great
                     ordinances of our Constitution. Freedom of speech is equal,
                     if not paramount, to the individual right of entitlement to
                     just compensation for the taking of property by the State.
                     Certainly, the right of free speech should be protected at
                     least to the extent that individual rights to possession and
                     use of property are protected. A direct action against the
                     State for its violations of free speech is essential to the
                     preservation of free speech.

        Id. (cleaned up). Under the Court’s decision in Corum, government action that

        burdens people because of disfavored speech or association violates the free speech

        clause. Id. at 766. The retaliation in Corum involved the allegation that government
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        actors conditioned the plaintiff’s public employment (in that case, through demotion)

        on limitations upon the plaintiff’s free speech and expression. See id. at 776. In

        essence, by allegedly conditioning a public right or benefit (the plaintiff’s

        employment) on speech, the government accomplished indirectly what it could not

        have accomplished directly, and it penalized plaintiff’s protected free speech rights

        based on his views.

¶ 154         In recognizing a direct cause of action for plaintiff’s retaliation claim under the

        free speech clause, we construed the clause more expansively than the Supreme Court

        of the United States has construed the Free Speech Clause of the First Amendment,

        since that Court has not recognized a comparable direct constitutional claim under

        that provision for retaliation. Even when federal free speech principles are

        persuasive, we reserve the right to extend the reach of our free speech clause beyond

        the scope of the First Amendment. See Libertarian Party v. State, 365 N.C. 41, 47
        (2011).

¶ 155         Free speech and freedom of assembly rights are essential to the preservation

        of our constitutional system. We have held that the “associational rights rooted in the

        free speech and assembly clauses” are “of utmost importance to our democratic

        system.” Libertarian Party, 365 N.C. at 49. In Libertarian Party, we reasoned that

        “citizens form parties to express their political beliefs and to assist others in casting

        votes in alignment with those beliefs.” Id. at 49.
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¶ 156         The role of free speech is also central in our democratic system. As one scholar

        has noted:

                     Once one accepts the premise of the Declaration of
                     Independence—that governments derive ‘their just powers
                     from the consent of the governed’—it follows that the
                     governed must, in order to exercise their right of consent,
                     have full freedom of expression both in forming individual
                     judgments and in forming the common judgment.

        Thomas I. Emerson, The System of Freedom of Expression 7 (1970). Since 1776, the

        people of North Carolina have founded our constitutional system on the premise that

        “[a]ll political power is vested in and derived from the people” and that “government

        of right” must “originate[ ] from the people” and be “founded upon their will only.”

        N.C. Const. art. I, § 2. Since 1868, they have recognized that “all persons are created

        equal.” N.C. Const. art. I, § 1. And since 1971, they have recognized that “[f]reedom

        of speech” is one “of the great bulwarks of liberty” and therefore “shall never be

        restrained.” N.C. Const. art. I, § 14.

¶ 157         Partisan gerrymandering violates the freedoms of speech and association and

        undermines their role in our democratic system. In Corum, we recognized that under

        the free speech clause, state officials may not penalize people for the exercise of their

        protected rights. But partisan gerrymandering does just that. When legislators

        apportion district lines in a way that dilutes the influence of certain voters based on

        their prior political expression—their partisan affiliation and their voting history—it

        imposes a burden on a right or benefit, here the fundamental right to equal voting
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        power on the basis of their views. When the General Assembly systematically

        diminishes or dilutes the power of votes on the basis of party affiliation, it

        intentionally engages in a form of viewpoint discrimination and retaliation that

        triggers strict scrutiny. See State v. Petersilie, 334 N.C. 169, 182 (1993). This practice

        subjects certain voters to disfavored status based on their views, undermines the role

        of free speech and association in formation of the common judgment, and distorts the

        expression of the people’s will and the channeling of the political power derived from

        them to their representatives in government based on viewpoint.

           4. The Declaration of Rights and the Law of Partisan Gerrymandering
              Summarized

¶ 158         In summary, the two most fundamental principles of our Declaration of Rights

        are equality and popular sovereignty. N.C. Const. art. I, §§ 1, 2. Together, they reflect

        the democratic theory of our constitutional system: the principle of political equality.

        The principle of political equality, from the Halifax Resolves and the Declaration of

        Independence to Lincoln’s Gettysburg Address and the Reconstruction Convention to

        our Declaration of Rights today, can mean only one thing—to be effective, the

        channeling of “political power” from the people to their representatives in government

        through the democratic processes envisioned by our constitutional system must be

        done on equal terms. If through state action the ruling party chokes off the channels

        of political change on an unequal basis, then government ceases to “derive[ ]” its

        power from the people or to be “founded upon their will only,” and the principle of
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        political equality that is fundamental to our Declaration of Rights and our

        constitutionally enacted representative system of government is violated.

¶ 159         This principle is reflected in various provisions of our Declaration of Rights.

        The free elections clause under section 10 guarantees the central democratic process

        by which the people’s political power is transferred to their representatives. The equal

        protection clause prohibits government from burdening on the basis of partisan

        affiliation the fundamental right to equal voting power. And the free speech clause

        and the freedom of assembly clause prohibit discriminating against certain voters by

        depriving them of substantially equal voting power, which is a form of impermissible

        viewpoint discrimination and retaliation for engaging in protected political activity.

¶ 160         Partisan gerrymandering of legislative and congressional districts violates the

        free elections clause, the equal protection clause, the free speech clause, and the

        freedom of assembly clause, and the principle of democratic and political equality that

        reflects the spirits and intent of our Declaration of Rights. To comply with the

        constitutional limitations contained in the Declaration of Rights which are applicable

        to redistricting plans, the General Assembly must not diminish or dilute on the basis

        of partisan affiliation any individual’s vote. The fundamental right to vote includes

        the right to enjoy “substantially equal voting power and substantially equal

        legislative representation.” Stephenson, 355 N.C. at 382. The right to equal voting

        power encompasses the opportunity to aggregate one’s vote with likeminded citizens
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        to elect a governing majority of elected officials who reflect those citizens’ views.

        When, on the basis of partisanship, the General Assembly enacts a districting plan

        that diminishes or dilutes a voter’s opportunity to aggregate with likeminded voters

        to elect a governing majority—that is, when a districting plan systematically makes

        it harder for individuals because of their party affiliation to elect a governing majority

        than individuals in a favored party of equal size—the General Assembly deprives on

        the basis of partisan affiliation a voter of his or her right to equal voting power.

¶ 161         This diminution or dilution of a voter’s voting power on the basis of his or her

        views can be measured either by comparing the number of representatives that a

        group of voters of one partisan affiliation can plausibly elect with the number of

        representatives that a group of voters of the same size of another partisan affiliation

        can plausibly elect, or by comparing the relative chances of voters from each party

        electing a supermajority or majority of representatives under various possible

        electoral conditions. Similarly, the diminution or dilution of voting power based of

        partisan affiliation in this way suffices to show a burden on that voter’s speech and

        associational rights. Accordingly, such a plan is subject to strict scrutiny and is

        unconstitutional unless the General Assembly can demonstrate that the plan is

        “narrowly tailored to advance a compelling governmental interest.” Stephenson, 355

        N.C. at 377. Achieving partisan advantage incommensurate with a political party’s

        level of statewide voter support is neither a compelling nor a legitimate governmental
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        interest, as it in no way serves the government’s interest in maintaining the

        democratic processes which function to channel the people’s will into a representative

        government as secured in the above provisions in the Declaration of Rights.

¶ 162         Here, the partisan gerrymandering violation is based on the redistricting plan

        as a whole, not a finding with regard to any individual district. 14 Certainly it is

        possible, as the plaintiffs and the trial court demonstrated, to identify which

        individual districts in the state legislative maps ignore traditional redistricting

        principles to achieve a partisan outcome that otherwise would not occur. It is possible

        to identify the most gerrymandered individual districts. But here the violation is

        statewide because of the evidence that on the whole, the districts have been drawn

        such that voters supporting one political party have their votes systematically

        devalued by having less opportunity to elect representatives to seats, compared to an

        equal number of voters in the favored party. The effect is stark and even more severe

        than what this Court identified in Stephenson as the equal protection clause violation

        arising from the use of both single-member and multi-member districts in a

        redistricting plan. See Stephenson, 355 N.C. at 379–82.

¶ 163         We do not believe it prudent or necessary to, at this time, identify an

        exhaustive set of metrics or precise mathematical thresholds which conclusively



              14 This is not to rule out the possibility that under an equal protection theory or a free

        speech theory there may be a circumstance where a single district is a partisan gerrymander
        but that is not the situation here.
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demonstrate or disprove the existence of an unconstitutional partisan gerrymander.

Cf. Reynolds v. Sims, 377 U.S. 533, 578 (1964) (“What is marginally permissible in

one [case] may be unsatisfactory in another, depending on the particular

circumstances of the case. Developing a body of doctrine on a case-by-case basis

appears to us to provide the most satisfactory means of arriving at detailed

constitutional requirements in the area of . . . apportionment.”). As in Reynolds,

“[l]ower courts can and assuredly will work out more concrete and specific standards

for evaluating state legislative apportionment schemes in the context of actual

litigation.” Id. However, as the trial court’s findings of fact indicate, there are

multiple reliable ways of demonstrating the existence of an unconstitutional partisan

gerrymander. In particular, mean-median difference analysis; efficiency gap analysis;

close-votes, close-seats analysis; and partisan symmetry analysis may be useful in

assessing whether the mapmaker adhered to traditional neutral districting criteria

and whether a meaningful partisan skew necessarily results from North Carolina’s

unique political geography.15 If some combination of these metrics demonstrates

there is a significant likelihood that the districting plan will give the voters of all

political parties substantially equal opportunity to translate votes into seats across



       15 Further, while adherence to neutral districting criteria primarily goes to whether

the map is justified by a compelling governmental interest, the disregarding of neutral
criteria such as compactness, contiguity, and respect for political subdivisions, particularly
when the effect of the map subordinates those criteria to pursuit of partisan advantage, may
also be some evidence a map burdens the fundamental right to equal voting power.
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        the plan, then the plan is presumptively constitutional.

¶ 164         To be sure, the evidence in this case and in prior partisan gerrymandering

        cases provides ample guidance as to possible bright-line standards that could be used

        to distinguish presumptively constitutional redistricting plans from partisan

        gerrymanders. There is such a thing as a plan that creates a level playing field for all

        voters. Indeed, historically, there is evidence indicating that most redistricting plans

        actually have provided for partisan fairness instead of partisan advantage. See, e.g.,

        Common Cause v. Rucho, 318 F. Supp. 3d 777, 886–87 (M.D.N.C. 2018), rev’d on other

        grounds 139 S. Ct. 2484 (2019) (finding that North Carolina’s efficiency gap of 19.4%

        was the largest of all states studied and that between 1972 and 2016, the distribution

        of efficiency gaps centered on zero “meaning that, on average, the districting plans in

        [t]his sample did not tend to favor either party”). Those who deny such standards

        exist ignore what the public sees and experiences and what political scientists have

        demonstrated.

¶ 165         Several possible bright-line standards have emerged in the political science

        literature and in the parties’ briefing before this Court. For example, Dr. Duchin

        testified at the trial to having analyzed North Carolina historical election data over

        a period of years, by using a simple overlay method, overlaying the maps onto data

        from all 52 of the statewide elections since 2012 to determine whether “close votes”

        resulted in “close seats,” as one would see in all of the alternative maps to the enacted
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        plans. Under this method, which Dr. Duchin has written about extensively, a plan

        which persistently resulted in the same level of partisan advantage to one party when

        the vote was closer than 52%, could be considered presumptively unconstitutional. As

        Dr. Duchin noted, “I don’t think you get that large and durable [an effect of partisan

        skew] by accident.”

¶ 166         Second, at the trial court below, Dr. Daniel Magleby presented a report in

        rebuttal of the testimony of Dr. Barber, in which he proposed using the measurement

        of the mean-median difference to determine the degree of partisan skew in a

        particular instance. His report described the method as follows:

                     One of the simplest measures of symmetry we can apply to
                     redistricting scenarios is the median-mean difference (see
                     Katz, King and Rosenblatt 2020; MacDonald and Best
                     2015; Best et al. 2017) . . . We find [the median-mean
                     difference] by taking the mean (average) of the district-
                     level vote share and comparing it to the median district-
                     level vote-share, the district-level vote share for which
                     there are an equal number of districts with higher vote
                     shares as there are districts with lower vote shares. When
                     the median and mean are equal, the distribution of
                     districts is symmetrical and the map will treat the parties
                     with symmetry. If the median-mean is not zero, it means
                     the map will not treat vote cast for the parties equally.

        Thus, based on Dr. Magelby’s testimony, any mean-median difference that is not zero

        could be treated as presumptively unconstitutional. However, using the actual mean-

        median difference measure, from 1972 to 2016 the average mean-median difference

        in North Carolina’s congressional redistricting plans was 1%. Common Cause, 318 F.
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        Supp. 3d at 893. That measure instead could be a threshold standard such that any

        plan with a mean-median difference of 1% or less when analyzed using a

        representative sample of past elections is presumptively constitutional.

¶ 167          With regard to the efficiency gap measure, courts have found “that an

        efficiency gap above 7% in any districting plan’s first election year will continue to

        favor that party for the life of the plan.” Whitford v. Gill, 218 F. Supp. 3d 837, 905
        (W.D. Wis. 2016) rev’d on other grounds 138 S. Ct. 1916 (2018). It is entirely workable

        to consider the seven percent efficiency gap threshold as a presumption of

        constitutionality, such that absent other evidence, any plan falling within that limit

        is presumptively constitutional. The efficiency gap, like other measures of partisan

        symmetry, “is not premised on strict proportional representation, but rather on the

        notion that the magnitude of the winner’s bonus should be approximately the same

        for both parties.” Common Cause, 318 F. Supp. 3d at 889.

¶ 168         Other manageable standards appear in the evidence before the trial court as

        well. Legislative Defendants’ own expert witness proposed using computer

        simulations to draw redistricting plans solely on the basis of traditional redistricting

        criteria, with any adopted redistricting plan with a partisan bias that fell within the

        middle 50% of simulation results being presumptively constitutional. It was also

        suggested that the legislature could be required to draw districts “within 5% of the

        median outcome expected from nonpartisan redistricting criteria, at a statewide
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        level, across a range of electoral circumstances.” The development of such metrics in

        this and future cases is precisely the kind of reasoned elaboration of increasingly

        precise standards the United States Supreme Court utilized in the one-person, one-

        vote context. See, e.g., Brown v. Thomson, 462 U.S. 835, 842–43 (1983) (“Our decisions

        have established, as a general matter, that an apportionment plan with a maximum

        population deviation under 10% falls within this category of minor deviations. A plan

        with larger disparities in population, however, creates a prima facie case of

        discrimination and therefore must be justified by the State.” (citations omitted)).

¶ 169         There may be other standards the parties wish to suggest to the trial court.

        These are primarily questions of what evidence might be relevant to prove a

        redistricting plan’s discriminatory effect under the free elections and equal protection

        clauses and a discriminatory burden to a right or benefit on the basis of protected

        political activity amounting to viewpoint discrimination and retaliation under the

        free speech and freedom of assembly clauses of the state constitution. Because this is

        not a strict proportionality requirement, there is no magic number of Democratic or

        Republican districts that is required, nor is there any constitutional requirement that

        a particular district be competitive or safe. To be clear, the fact that one party

        commands fifty-nine percent of the statewide vote share in a given election does not

        entitle the voters of that party to have representatives of its party comprise fifty-nine

        percent of the North Carolina House, North Carolina Senate, or North Carolina
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        congressional delegation. But those voters are entitled to have substantially the same

        opportunity to electing a supermajority or majority of representatives as the voters

        of the opposing party would be afforded if they comprised fifty-nine percent of the

        statewide vote share in that same election. What matters here, as in the one-person,

        one-vote context, is that each voter’s vote carries roughly the same weight when

        drawing a redistricting plan that translates votes into seats in a legislative body.

¶ 170         Once a plaintiff shows that a map infringes on their fundamental right to equal

        voting power under the free elections clause and equal protection clause or that it

        imposes a burden on that right based on their views such that it is a form of viewpoint

        discrimination and retaliation based on protected political activity under the free

        speech clause and the freedom of assembly clause, the map is subject to strict scrutiny

        and is presumptively unconstitutional and “the government must demonstrate that

        the classification it has imposed is necessary to promote a compelling governmental

        interest.” Northampton, 326 N.C. at 746. As noted above, partisan advantage—that

        is, achieving a political party’s advantage across a map incommensurate with its level

        of statewide voter support—is neither a compelling nor a legitimate governmental

        interest, as it in no way serves the government’s interest in maintaining the

        democratic processes which function to channel the people’s will into a representative
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        government.16 Rather, compelling governmental interests in the redistricting context

        include the traditional neutral districting criteria expressed in article II, sections 3

        and 5 of the North Carolina Constitution. Incumbency protection may ordinarily be

        a permissible governmental interest if it is applied evenhandedly, is not perpetuating

        a prior unconstitutional redistricting plan, and is consistent with the equal voting

        power requirements of the state constitution; however, incumbency protection is not

        a compelling governmental interest that justifies the denial to a voter of the

        fundamental right to substantially equal voting power under the North Carolina

        Constitution. Other widely recognized traditional neutral redistricting criteria, such

        as compactness of districts and respect for other political subdivisions, may also be

        compelling governmental interests. If the General Assembly has created a map that

        infringes on individual voter’s fundamental right to equal voting power and cannot

        show that the map is narrowly tailored to a compelling governmental interest, courts

        must conclude the map is unconstitutional and forbid its use.

¶ 171          The dissent contends that the partisan gerrymandering claims we recognize as

        violating both fundamental principles and particular provisions of our Declaration of

        Rights are not cognizable claims under that document. Our fundamental



               16 Political fairness, or the effort to apportion to each political party a share of seats

        commensurate with its level of statewide support, is a permissible redistricting criterion. See
        Gaffney, 412 U.S. at 736. However, achieving such a goal involves a government’s
        prioritization of, rather than diminution and dilution of, each person’s right to substantially
        equal voting power.
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        disagreement stems in one respect from a difference in method. Here, we have

        “recurre[d]” to those “fundamental principles” by which “[a]ll generations are

        solemnly enjoined to return ad fontes (to the sources) and [to] rethink for themselves

        the implications of the fundamental principles of self-government that animated the

        revolutionary generation.” Orth &amp; Newby, at 91. In this light, the dissenters insist

        that the only way to discern the meaning of provisions of the North Carolina

        Constitution is to adhere to their own assessment of historical practice. In so doing,

        they interpret the state constitution in a manner the Framers and the constitution

        they enacted firmly rejected. If constitutional provisions forbid only what they were

        understood to forbid at the time they were enacted, then the free elections clause has

        nothing to say about slavery and the complete disenfranchisement of women and

        minorities. In short, the dissent’s view compels the conclusion that there is no

        constitutional bar to denying the right to vote to women and black people.

        Fortunately, the Framers and the people of North Carolina chose to adopt a

        constitution containing provisions which “provide[s] the elasticity which ensures the

        responsive operation of government.” State ex rel. Martin v. Preston, 325 N.C. 438,

        458 (1989).

¶ 172         Second, our disagreement with the dissenting opinion is compelled in part by

        our divergent views of the role of the courts in conducting judicial review for

        constitutionality. The justification for judicial review in North Carolina is motivated
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by the concern for securing both the fundamental rights contained in our Declaration

of Rights and our constitution, and for ensuring the effective functioning of the

democratic system of government established by the same. In North Carolina, we

presume the legislature has complied with the constitution. Where legislation does

not violate a particular constitutional limitation, and particularly where it does not

violate the rights protected by the Declaration of Rights, the presumption that the

issue will be resolved through the ordinary political process is justified, and

legislation will be upheld if there is a rational basis supporting it. However, in Bayard

v. Singleton and since, we have identified two circumstances justifying judicial review

by this Court. First, we will protect constitutional rights and, although they are by

no means the only enforceable provisions of our constitution, the “civil rights

guaranteed by the Declaration of Rights in Article I of our Constitution,” in

particular. Corum, 330 N.C. at 782. “The very purpose of the Declaration of Rights is

to ensure that the violation of these rights is never permitted by anyone who might

be invested under the Constitution with the powers of the State,” including the

General Assembly. Id. at 783. Accordingly, “[w]e give our Constitution a liberal

interpretation in favor of its citizens with respect to those provisions which were

designed to safeguard the liberty and security of the citizens in regard to both person

and property.” Id. Fundamentally, “[i]t is the state judiciary that has the

responsibility to protect the state constitutional rights of [its people]; this obligation
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        to protect the fundamental rights of individuals is as old as the State.” Id. Indeed, we

        have recognized this duty since Bayard, where we held that legislation violated the

        right to a trial by jury. 1 N.C. (Mart.) at 7. Bayard justified review of all such rights

        on the ground that any erosion of rights endangered other rights. See id. (justifying

        review of “right to a decision of his property by a trial by jury” on the grounds that “if

        the Legislature could take away this right, and require him to stand condemned in

        his property without a trial, it might with as much authority require his life to be

        taken away without a trial by jury, and that he should stand condemned to die,

        without the formality of any trial at all”).

¶ 173         Further this court has recognized an even greater justification for judicial

        review of acts that restrict the democratic processes through which the “political

        power” is channeled to the people’s representatives, and which undermine the very

        democratic system created by our constitution. In Bayard, this Court justified judicial

        review of acts of the coordinate branches not only because without it they might

        violate fundamental rights, but also on the grounds of an even greater harm that

        without judicial review “the members of the General Assembly . . . might with equal

        authority, . . . render themselves the Legislators of the State for life, without any

        further election of the people.” Id. Just as it is the duty of this Court under Bayard to

        guarantee constitutional rights protecting liberty, person, and property, it is the duty

        of this Court under Bayard to protect the democratic processes through which the
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        “political power” of the people is exercised, and that each person’s voice is heard on

        “equal” terms through the vote. N.C. Const. art. I, §§ 2, 1; see, e.g., Stephenson 355

        N.C. at 379 (recognizing “the fundamental right of each North Carolinian to

        substantially equal voting power”); Northampton, 326 N.C. at 747 (holding the “right

        to vote on equal terms is a fundamental right”); People ex rel. Van Bokkelen, 73 N.C.

        at 225 (holding it to be “too plain for argument” that the General Assembly’s

        malapportionment of election districts “is a plain violation of fundamental

        principles”); Ely, Democracy and Distrust at 103 (“Malfunction occurs when the

        process is undeserving of trust, when [ ] the ins are choking off the channels of

        political change to ensure that they will stay in and the outs will stay out.”).

¶ 174         Partisan gerrymandering claims do not require the making of “policy choices

        and value determinations.” Bacon, 353 N.C. at 717. As we have discussed, such claims

        are discernable under the North Carolina Constitution and precedent. Moreover, we

        have described several manageable standards for evaluating the extent to which

        districting plans dilute votes on the basis of partisan affiliation. Accordingly, we hold

        partisan gerrymandering claims are justiciable in North Carolina courts under the

        free elections clause, equal protection clause, free speech clause, and freedom of

        assembly clause of the Declaration of Rights.

        E. Legislative Defendants’ Elections Clause Argument

¶ 175         Legislative Defendants also argue that “the federal constitution bars
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        plaintiffs[’] claims against the congressional plan” under the Elections Clause, U.S.

        Const. art. I, § 4, cl. 1, because the word “Legislature” in that clause forbids state

        courts from reviewing a congressional districting plan violates the state’s own

        constitution. We disagree. This argument, which was not presented at the trial court,

        is inconsistent with nearly a century of precedent of the Supreme Court of the United

        States affirmed as recently as 2015. It is also repugnant to the sovereignty of states,

        the authority of state constitutions, and the independence of state courts, and would

        produce absurd and dangerous consequences.

¶ 176         First, this theory contradicts the holding of Rucho, where the Supreme Court

        of the United States, in an opinion authored by Chief Justice Roberts, said that

        “[p]rovisions in . . . state constitutions can provide standards and guidance for state

        courts to apply” in a case addressing the justiciability of partisan gerrymandering

        claims in congressional plans. 139 S. Ct. at 2507 (emphases added).

¶ 177         Second, a long line of decisions by the Supreme Court of the United States

        confirm the view that state courts may review state laws governing federal elections

        to determine whether they comply with the state constitution. See Smiley v. Holm,

        285 U.S. 355, 368 (1932) (holding the Elections Clause does not “endow the

        Legislature of the state with power to enact laws in any manner other than that in

        which the Constitution of the state has provided” (emphasis added)). The state

        legislature’s enactment of election laws reflects an exercise of the lawmaking power;
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        accordingly, the legislature must comply with all of “the conditions which attach to

        the making of state laws,” id. at 365, including “restriction[s] imposed by state

        Constitutions upon state Legislatures when exercising the lawmaking power,” id. at

        369; see also Ariz. State Leg. v. Ariz. State Indep. Redistricting Comm’n, 576 U.S. 787,

        817–18 (2015) (“Nothing in [the Elections] Clause instructs, nor has this Court ever

        held, that a state legislature may prescribe regulations on the time, place, and

        manner of holding federal elections in defiance of provisions of the State’s

        constitution.”); Growe v. Emison, 507 U.S. 25, 33–34 (1993) (emphasizing “[t]he power

        of the judiciary of a State to require valid reapportionment” of congressional districts

        and rejecting the federal district court’s “mistaken view that federal judges need defer

        only to the Minnesota Legislature and not at all to the State’s courts”).

        F. The 2021 Enacted Plans Violate the Declaration of Rights as Partisan
           Gerrymanders

¶ 178         Now, we must apply these legal principles to the 2021 enacted plans in order

        to determine if the current maps constitute partisan gerrymanders in violation of the

        North Carolina Constitution’s Declaration of Rights. We conclude that they do and

        therefore enjoin the enacted plans from use in any future elections and, in accordance

        with N.C.G.S. § 120-2.4(a), provide the General Assembly the opportunity to submit

        new redistricting plans that satisfy all provisions of the North Carolina Constitution.

¶ 179         As discussed above, the General Assembly triggers strict scrutiny under the

        free elections clause and the equal protection clause of the North Carolina
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        Constitution when, on the basis of partisan affiliation, it deprives a voter of his or her

        fundamental right to substantially equal voting power. This fundamental right

        encompasses the opportunity to aggregate one’s vote with likeminded citizens to elect

        a governing majority of elected officials who reflect those citizens’ views. When on the

        basis of partisanship the General Assembly enacts a districting plan that diminishes

        or dilutes a voter’s opportunity to aggregate with likeminded voters to elect a

        governing majority—that is, when a districting plan systematically makes it harder

        for one group of voters to elect a governing majority than another group of voters of

        equal size—the General Assembly infringes upon that voter’s fundamental right to

        vote. Similarly, this action is subject to strict scrutiny under the free speech clause

        and freedom of assembly clause because it burdens voters on the basis of protected

        political activity.

¶ 180          To trigger strict scrutiny, a party alleging that a redistricting plan violates this

        fundamental right must demonstrate that the plan makes it systematically more

        difficult for a voter to aggregate his or her vote with other likeminded voters, thus

        diminishing or diluting the power of that person’s vote on the basis of his or her views.

        Such a demonstration can be made using a variety of direct and circumstantial

        evidence, including but not limited to: median-mean difference analysis; efficiency

        gap analysis; close-votes-close seats analysis, partisan symmetry analysis; comparing

        the number of representatives that a group of voters of one partisan affiliation can
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        plausibly elect with the number of representatives that a group of voters of the same

        size of another partisan affiliation can plausibly elect; and comparing the relative

        chances of groups of voters of equal size who support each party of electing a

        supermajority or majority of representatives under various possible electoral

        conditions. Evidence that traditional neutral redistricting criteria were subordinated

        to considerations of partisan advantage may be particularly salient in demonstrating

        an infringement of this right.

¶ 181         The right to vote on equal terms is a fundamental right in this state and thus

        when a challenging party demonstrates that a redistricting plan, on the basis of

        partisan affiliation, infringes upon his or her fundamental right to substantially

        equal voting power, strict scrutiny is the appropriate standard for reviewing that act.

        See Stephenson, 355 N.C. at 377 (“Strict scrutiny . . . applies when the classification

        impermissibly interferes with the exercise of a fundamental right . . . .” (cleaned up)).

        Strict scrutiny is “this Court’s highest tier of review.” Id. “Under strict scrutiny, a

        challenged governmental action is unconstitutional if the State cannot establish that

        it is narrowly tailored to advance a compelling governmental interest.” Id. Within the

        redistricting context, compliance with traditional neutral districting principles,

        including those enumerated in article II, sections 3 and 5 of the North Carolina

        Constitution, may constitute a compelling governmental interest. Partisan

        advantage, however, is not a compelling governmental interest.
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¶ 182         Here, we apply this standard to each of the three 2021 enacted maps: the

        congressional map, the North Carolina House map, and the North Carolina Senate

        map. As noted previously, we have adopted in full the extensive and detailed factual

        findings of the trial court summarized above and have attached the maps themselves

        to this opinion.

           1. Congressional Map

¶ 183         First, we apply this constitutional standard to the 2021 congressional map.

        Based on the trial court’s factual findings, we conclude that the 2021 congressional

        map constitutes partisan gerrymandering that, on the basis of partisan affiliation,

        violates plaintiffs’ fundamental right to substantially equal voting power.

¶ 184         Numerous factual findings compel this conclusion. For instance, based on Dr.

        Mattingly’s ensemble analysis, the trial court found “that the Congressional Map is

        the product of intentional, pro-Republican partisan redistricting. Indeed, the court

        found that

                     [a]cross [the] 80,000 simulated nonpartisan plans, not a
                     single one had the same or more Democratic voters packed
                     into the three most Democratic districts—i.e., the districts
                     Democrats would win no matter what—in comparison to
                     the enacted plan. And not a single one had the same or
                     more Republican voters in the next seven districts—i.e.,
                     the competitive districts—in comparison to the enacted
                     plan.

¶ 185         Accordingly, the court found that “[t]he Congressional map is ‘an extreme

        outlier’ that is ‘highly non-responsive to the changing opinion of the electorate.’ ” The
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        court found that this high non-responsiveness was a product of “cracking Democrats

        from the more competitive districts and packing them into the most heavily

        Republican and heavily Democratic districts,” which the court described as “the key

        signature of intentional partisan redistricting.”

¶ 186         Based on Dr. Cooper’s analysis, the court observed that “[a]lthough North

        Carolina gained an additional congressional seat as a result of population growth that

        came largely from the Democratic-leaning Triangle (Raleigh-Durham-Chapel Hill)

        and the Charlotte metropolitan areas, the number of anticipated Democratic seats

        under the enacted map actually decreases, with only three anticipated Democratic

        seats, compared with the five seats that Democrats won in the 2020 election.” This

        decrease, the court observed, is enacted “by splitting the Democratic-leaning counties

        of Guilford, Mecklenburg, and Wake among three congressional districts each.” The

        court further noted that “[t]here was no population-based reason” for these splits.

¶ 187         Based on Dr. Pegden’s analysis, the court found “that the enacted

        congressional plan is more favorable to Republicans than 99.9999% of the [billions or

        trillions of] comparison maps his algorithm generated.” Accordingly, the court

        determined that “the enacted congressional map is more carefully crafted to favor

        Republicans than at least 99.9999% of all possible maps of North Carolina satisfying

        the nonpartisan constraints imposed in [Dr. Pegden’s] algorithm.”

¶ 188         Based on Dr. Duchin’s analysis, the trial court found “that the political
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        geography of North Carolina today does not lead only to a district map with partisan

        advantage given to one political party.” Rather, the court determined, “[t]he Enacted

        Plans behave as though they are built to resiliently safeguard electoral advantage for

        Republican candidates.”

¶ 189         Based on Dr. Cooper’s close-votes-close-seats analysis, the trial court found

        that individual congressional districts were drawn to favor certain current or future

        Republican representatives. For instance, the court found that the congressional map

        “places the residences of an incumbent Republican representative and an incumbent

        Democratic representative within a new, overwhelmingly Republican district, NC-11,

        ‘virtually guaranteeing’ that the Democratic incumbent will lose her seat.” Similarly,

        the court observed that “[t]he 2021 Congressional Plan includes one district where no

        incumbent congressional representative resides . . . [which] ‘overwhelmingly favors’

        the Republican candidate based on the district’s partisan lean.”

¶ 190         The trial court found that the congressional map constituted a statistical

        partisan outlier on the regional level, as well. Specifically, the court found that “that

        the enacted congressional plan[s] districts in each region examined exhibit[ed]

        political bias when compared to the computer-simulated districts in the same

        regions.”

¶ 191         More broadly, though, the trial court found that “[t]he congressional district

        map is best understood as a single organism given that the boundaries drawn for a
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        particular congressional district in one part of the state will necessarily affect the

        boundaries drawn for the districts elsewhere in the state.” Accordingly, the court

        found “that the ‘cracking and packing’ of Democratic voters in [larger urban] counties

        has ‘ripple effects throughout the map.’ ”

¶ 192         The trial court considered several different types of statistical analysis in

        confirming that the “extreme partisan outcome” of the congressional map that

        “cannot be explained by North Carolina’s political geography or by adherence to

        Adopted Criteria.” These included: (1) “mean-median difference” analysis; (2)

        “efficiency gap” analysis; (3) “the lopsided margins test”; and (4) “partisan symmetry”

        analysis.

¶ 193         In sum, the trial court found “that the 2021 Congressional Plan is a partisan

        outlier intentionally and carefully designed to maximize Republican advantage in

        North Carolina’s Congressional delegation.” The court found that the enacted

        congressional map “fails to follow and subordinates the Adopted Criteria’s

        requirement[s]” regarding splitting counties and VTDs. Further, the court found

        “that the enacted congressional plan fails to follow, and subordinates, the Adopted

        Criteria’s requirement to draw compact districts. The [c]ourt [found] that the enacted

        congressional districts are less compact than they would be under a map-drawing

        process that adhered to the Adopted Criteria and prioritized the traditional

        districting criteria of compactness.” Ultimately, the court “concluded based upon a
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        careful review of all the evidence that the [congressional map is] a result of

        intentional, pro-Republican partisan redistricting.”

¶ 194         Based on these findings and numerous others, it is abundantly clear and we so

        conclude that the 2021 congressional map substantially diminishes and dilutes on

        the basis of partisan affiliation plaintiffs’ fundamental right to equal voting power,

        as established by the free elections clause and the equal protection clause, and

        constitutes viewpoint discrimination and retaliation burdening the exercise of rights

        guaranteed by the free speech clause and the freedom of assembly clause of the North

        Carolina Constitution. The General Assembly has substantially diminished the

        voting power of voters affiliated with one party on the basis of partisanship—indeed,

        in this case, the General Assembly has done so intentionally. Accordingly, we must

        review the congressional map under strict scrutiny.

¶ 195         Defendants have not shown the 2021 congressional map is narrowly tailored

        to a compelling governmental interest, and therefore the map fails strict scrutiny. As

        noted above, partisan advantage is neither a compelling nor a legitimate

        governmental interest. Rather, given an infringement of plaintiffs’ fundamental right

        to substantially equal voting power, the General Assembly must show that the map

        is narrowly tailored to meet traditional neutral districting criteria, including those

        expressed in article II, sections 3 and 5 of the North Carolina Constitution, those

        expressed in the General Assembly’s own Adopted Criteria, or other articulable
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        neutral principles. Here, the General Assembly has failed to make that showing.

        Indeed, the trial court explicitly found that the congressional maps demonstrate a

        subordination of traditional neutral criteria, including compactness and minimizing

        county and VTD splits, in favor of partisan advantage. We conclude that the General

        Assembly has not demonstrated that the congressional map, despite its extreme

        partisan bias, is nevertheless carefully calibrated toward advancing some compelling

        neutral priority. Accordingly, the congressional map fails strict scrutiny and must be

        rejected.

           2. State House Map

¶ 196         Next, we apply this constitutional standard to the 2021 North Carolina State

        House map. Based on the trial court’s factual findings, we conclude that the 2021

        State House map constitutes partisan gerrymandering that, on the basis of partisan

        affiliation, violates plaintiffs’ fundamental right to substantially equal voting power.

¶ 197         Numerous factual findings compel this conclusion. For instance, based on Dr.

        Mattingly’s ensemble analysis, the trial court found that

                     [t]he North Carolina House maps show that they are the
                     product of an intentional, pro-Republican partisan
                     redistricting over a wide range of potential election
                     scenarios. Elections that under typical maps would
                     produce a Democratic majority in the North Carolina
                     House give Republicans a majority under the enacted
                     maps. Likewise, maps that would normally produce a
                     Republican majority under nonpartisan maps produce a
                     Republican supermajority under the enacted maps. Among
                     every possible election that Dr. Mattingly analyzed, the
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                     partisan results were more extreme than what would be
                     seen from nonpartisan maps.

¶ 198         Indeed, the court found that “the enacted plan shows a systematic bias toward

        the Republican party, favoring Republicans in every single one of the 16 elections [Dr.

        Mattingly] considered.” The court determined that the state House “map is also

        especially anomalous under elections where a non-partisan map would almost always

        give Democrats the majority in the House because the enacted map denied Democrats

        that majority. The probability that this partisan bias arose by chance, without an

        intentional effort by the General Assembly, is ‘astronomically small.’ ” Further, the

        court found that the mapmakers’ selective failure to preserve municipalities in the

        House map, when they did preserve them in the Senate map, was based solely on

        considerations of partisan advantage.

¶ 199         Based on Dr. Pegden’s analysis, the court found that “the enacted House map

        was more favorable to Republicans than 99.99999% of the comparison maps

        generated by his algorithm making small random changes to the district boundaries.”

        Accordingly, the court found “that the enacted map is more carefully crafted for

        Republican partisan advantage than at least 99.9999% of all possible maps of North

        Carolina satisfying [the nonpartisan] constraints.”

¶ 200         Based on Dr. Cooper’s analysis, the trial court found that “Legislative

        Defendants’ exercise of . . . discretion in the . . . House 2021 Plans resulted in . . .

        House district boundaries that enhanced the Republican candidates’ partisan
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        advantage, and this finding is consistent with a finding of partisan intent.”

¶ 201         Based on Dr. Duchin’s close-votes-close-seats analysis, the court found that the

        House map is “designed to systematically prevent Democrats from gaining a tie or a

        majority in the House. In close elections, the Enacted House Plan always gives

        Republicans a substantial House majority. That Republican majority is resilient and

        persists even when voters clearly express a preference for Democratic candidates.”

        “As with the Enacted Congressional Plan . . . , the [c]ourt [found] that the Enacted

        House Plan achieves this resilient pro-Republican bias by the familiar mechanisms

        of packing and cracking Democratic voters . . . .”

¶ 202         Based on Dr. Magleby’s median-mean differential analysis, the trial court

        found “that the level of partisan bias in seats in the House maps went far beyond

        expected based on the neutral political geography of North Carolina.” Specifically, the

        court determined “that the median-mean bias in the enacted maps was far more

        extreme than expected in nonpartisan maps.” In fact, the court found, “[n]o randomly

        generated map had such an extreme median-mean share—meaning that . . . no

        simulated map . . . was as extreme and durable in terms of partisan advantage.”

¶ 203         Finally, based on all of the evidence presented, the trial court found that the

        following North Carolina House district groupings minimized Democratic districts

        and maximized safe Republican districts through the “packing” and “cracking” of

        Democratic    voters   as   the   “result   of   intentional,   pro-Republican   partisan
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        redistricting”: the Guilford House County Grouping; the Buncombe House County

        Grouping; the Mecklenburg House County Grouping; the Pitt House County

        Grouping; the Durham-Person House County Grouping; the Forsyth-Stokes House

        County Grouping; the Wake House County Grouping; the Cumberland House County

        Grouping; and the Brunswick-New Hanover House County Grouping. Ultimately, the

        court “conclude[d] based upon a careful review of all the evidence that the [House

        map is] a result of intentional, pro-Republican partisan redistricting.”

¶ 204         Based on these findings and numerous others, it is abundantly clear and we so

        conclude that the 2021 North Carolina House map substantially diminishes and

        dilutes on the basis of partisan affiliation plaintiffs’ fundamental right to equal voting

        power, as established by the free elections clause and the equal protection clause, and

        constitutes viewpoint discrimination and retaliation burdening the exercise of rights

        guaranteed by the free speech clause and the freedom of assembly clause of the North

        Carolina Constitution. Accordingly, we review the House map under strict scrutiny.

¶ 205         Defendants have not shown the 2021 House map is narrowly tailored to a

        compelling governmental interest, and therefore the map fails strict scrutiny. As

        noted already, partisan advantage is neither a compelling nor a legitimate

        governmental interest. Rather, the General Assembly must show that the map is

        narrowly tailored to meet traditional neutral districting criteria, including those

        expressed in article II, sections 3 and 5 of the North Carolina Constitution, those
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        expressed in the General Assembly’s own Adopted Criteria, or other articulable

        neutral principles. Here, as with the congressional map above, the General Assembly

        has failed to make that showing. Given the breadth and depth of the evidence that

        partisan advantage predominated over any traditional neutral districting criteria in

        the creation of the House map, the General Assembly has not demonstrated that the

        House map, despite its extreme partisan bias, is nevertheless carefully calibrated

        toward advancing some neutral priority. Indeed, the evidence establishes that the

        General Assembly subordinated these neutral priorities, such as preserving

        municipalities, in favor of partisan advantage. Accordingly, the North Carolina

        House map fails strict scrutiny and must be rejected.

           3. State Senate Map

¶ 206         Third and finally, we apply this constitutional standard to the 2021 North

        Carolina State Senate map. Based on the trial court’s factual findings, we conclude

        that the 2021 State Senate map constitutes partisan gerrymandering that, on the

        basis of partisan affiliation, violates plaintiffs’ fundamental right to substantially

        equal voting power.

¶ 207         As with the two previous maps, numerous factual findings compel our

        conclusion. For instance, based on Dr. Cooper’s analysis, the court found that

        “Legislative Defendants’ exercise of . . . discretion in the Senate . . . Plans resulted in

        . . . district boundaries that enhanced the Republican candidates’ partisan advantage,
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        and this finding is consistent with a finding of partisan intent.”

¶ 208         Based on Dr. Mattingly’s ensemble analysis, the court found “that the State . . .

        Senate plans are extreme outliers that ‘systematically favor the Republican Party to

        an extent which is rarely, if ever, seen in the non-partisan collection of maps.’ ” The

        court found that this intentional partisan redistricting in the Senate “is especially

        effective in preserving Republican supermajorities in instances in which the majority

        or the vast majority of plans in Dr. Mattingly’s ensemble would have broken it.”

        Specifically, the court found that the Senate plan “is an outlier or extreme outlier in

        elections where Democrats win a vote share between 47.5% and 50.5%. This range is

        significant because many North Carolina elections have this vote fraction, and this is

        the range where the non-partisan ensemble shows that Republicans lose the super-

        majority.”

¶ 209         Based on Dr. Pegden’s analysis, the court determined “that the enacted Senate

        map was more favorable to Republicans than 99.9% of comparison maps.”

        Accordingly, the court found “that the enacted Senate map is more carefully crafted

        for Republican partisan advantage than at least 99.9% of all possible maps of North

        Carolina satisfying [the nonpartisan] constraints.”

¶ 210         Based on Dr. Duchin’s close-votes-close-seats analysis, the court found that

                     [t]he Enacted Senate Plan effectuates the same sort of
                     partisan advantage as the Enacted Congressional Plan.
                     The Enacted Senate Plan consistently creates Republican
                     majorities and precludes Democrats from winning a
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                                             2022-NCSC-17

                                           Opinion of the Court



                       majority in the Senate even when Democrats win more
                       votes. Even in an essentially tied election or in a close
                       Democratic victory, the Enacted Senate Plan gives
                       Republicans a Senate majority, and sometimes even a veto-
                       proof 30-seat majority. And that result holds even when
                       Democrats win by larger margins.

        “As with the Enacted Congressional Plan, the [c]ourt [found] that the Enacted Senate

        Plan achieves its partisan goals by packing Democratic voters into a small number of

        Senate districts and then cracking the remaining Democratic voters by splitting them

        across other districts . . . .”

¶ 211          Finally, based on all of the evidence presented at trial, the trial court found

        that the following North Carolina Senate district groupings minimized Democratic

        districts and maximized safe Republican districts through the “packing” and

        “cracking” of Democratic voters as the “result of intentional, pro-Republican partisan

        redistricting”: the Granville-Wake Senate County Grouping; the Cumberland-Moore

        Senate County Grouping; the Guilford-Rockingham Senate County Grouping; the

        Forsyth-Stokes Senate County Grouping; the Iredell-Mecklenburg Senate County

        Grouping; the Northeastern Senate County Grouping (Bertie County, Camden

        County, Currituck County, Dare County, Gates County, Hertford County,

        Northampton County, Pasquotank County, Perquimans County, Tyrrell County,

        Carteret County, Chowan County, Halifax County, Hyde County, Martin County,

        Pamlico County, Warren County, and Washington County); and the Buncombe-

        Burke-McDowell Senate County Grouping. The trial court did not find any of the
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                                              2022-NCSC-17

                                           Opinion of the Court



        Senate district groupings it considered to not be the result of intentional, pro-

        Republican redistricting through packing and cracking. Ultimately, the court

        “concluded based upon a careful review of all the evidence that the [Senate map is] a

        result of intentional, pro-Republican partisan redistricting.

¶ 212         Based on these findings and numerous others, it is abundantly clear and we so

        conclude that the 2021 North Carolina Senate map substantially diminishes and

        dilutes on the basis of partisan affiliation plaintiffs’ fundamental right to equal voting

        power, as established by the free elections clause and the equal protection clause, and

        constitutes viewpoint discrimination and retaliation burdening the exercise of rights

        guaranteed by the free speech clause and the freedom of assembly clause of the North

        Carolina Constitution. Accordingly, we review the Senate map under strict scrutiny.

¶ 213         Conducting that review, we conclude that defendants have not shown the 2021

        Senate map is narrowly tailored to a compelling governmental interest and therefore

        the map fails strict scrutiny. Partisan advantage is not a compelling governmental

        interest. Rather, the General Assembly must show that the Senate map is narrowly

        tailored to meet traditional neutral districting criteria, including those expressed in

        article II, sections 3 and 5 of the North Carolina Constitution, those expressed in the

        General Assembly’s own Adopted Criteria, or other articulable neutral principles.

        Here, as with the congressional and House maps above, the General Assembly has

        failed to make that showing. Given the breadth and depth of the evidence that
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                                             2022-NCSC-17

                                           Opinion of the Court



        partisan advantage predominated over any traditional neutral districting criteria in

        the creation of the Senate map, the General Assembly has not demonstrated that the

        Senate map, despite its extreme partisan bias, is nevertheless carefully calibrated

        toward advancing some compelling neutral priority. To the contrary, the evidence

        demonstrates that the Senate map prioritized considerations of partisan advantage

        above traditional neutral districting principles. Accordingly, the North Carolina

        Senate map fails strict scrutiny and must be rejected.

        G. Compliance with Stephenson requirements

¶ 214         Finally, we further hold that under Stephenson, the General Assembly was

        required to conduct a racially polarized voting analysis prior to drawing district lines.

        Notably, the General Assembly’s responsibility to conduct a racially polarized voting

        analysis arises from our state constitution and decisions of this Court, including

        primarily Stephenson, and not from the VRA itself, or for that matter from any federal

        law. In Stephenson, this Court sought to harmonize several sections of our state

        constitution―namely the whole county provision of article II, sections 3(3) and 5(3)

        and the supremacy clause of article I, section 3― in light of the federal requirements

        established by Section 5 and Section 2 of the VRA. 355 N.C. at 359. Of course, since

        the 2013 decision of the Supreme Court of the United States in Shelby County v.

        Holder, 570 U.S. 529 (2013), in which it held that the coverage formula for the

        preclearance requirement under Section 5 of the VRA was no longer justified under
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                                             2022-NCSC-17

                                          Opinion of the Court



        the Fourteenth Amendment and held that section was unconstitutional, North

        Carolina has not been subject to that preclearance requirement.

¶ 215         Nevertheless, the Stephenson Court ruling relied exclusively on interpretation

        of the North Carolina Constitution. Indeed, after the Stephenson defendants initially

        removed the case to federal district court, the district court remanded the case,

        stating that “the redistricting process was a matter primarily within the province of

        the states, that plaintiffs have challenged the 2001 legislative redistricting plans

        solely on the basis of state constitutional provisions, that the complaint ‘only raises

        issues of state law,’ and that defendants’ removal of th[e] suit from state court was

        inappropriate.” Stephenson, 355 N.C. at 358. Further, when the Stephenson

        defendants “subsequently filed a notice of appeal from the District Court’s order with

        the United States Court of Appeals for the Fourth Circuit[,] . . . [t]he Fourth Circuit

        denied defendants’ motion to stay the District Court’s order of remand.” Id.
¶ 216         Here, as in Stephenson, plaintiffs’ claims arise under the same provisions of

        the North Carolina Constitution implicated in Stephenson—namely article I, sections

        3 and 5 and article II, sections 3 and 5. Here, as in Stephenson, this Court serves as

        the highest and final authority in interpreting those state constitutional provisions.

        And here, as in Stephenson, we hold that compliance with those provisions, when

        read in harmony, requires the General Assembly to conduct racially polarized voting

        analysis within their decennial redistricting process in order to assess whether any
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                                               2022-NCSC-17

                                           Opinion of the Court



        steps must be taken to avoid the dilution of minority voting strength.

                                        III.    Conclusion

¶ 217         Article I, section 2 of the North Carolina Constitution establishes that “[a]ll

        political power is vested in and derived from the people,” that “all government of

        rights originates from the people,” and “is founded upon their will only.” N.C. Const.

        art I, § 2. Furthermore, article I, section 1 of the constitution provides that “all

        persons are created equal.” N.C. Const. art I, § 1. Subsequent constitutional

        provisions within the Declaration of Rights, including the free elections clause, the

        equal protection clause, the free speech clause, and the freedom of assembly clause,

        protect fundamental rights of the people in order to ensure, among other things, that

        their government is indeed “founded upon their will only.” See id.

¶ 218         When North Carolinians claim that acts of their government violate these

        fundamental rights, and particularly when those acts choke off the democratic

        processes that channel political power from the people to their representatives, it is

        the solemn duty of this Court to review those acts to enforce the guarantees of our

        constitution. See Corum, 330 N.C. at 783. Such judicial review ensures that despite

        present day challenges our constitution’s most fundamental principles are preserved.

        Indeed, “[a] frequent recurrence to fundamental principles is absolutely necessary to

        preserve the blessings of liberty.” N.C. Const. art I, § 35.

¶ 219         Today, this Court recurs to those fundamental principles. Specifically, we have
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                                            Opinion of the Court



        considered whether partisan gerrymandering claims present a justiciable question,

        whether constitutional provisions supply administrable standards, and whether,

        having applied these standards, the General Assembly’s 2021 enacted plans

        constitute such a violation of plaintiffs’ constitutional rights.

¶ 220         First, we hold that claims of partisan gerrymandering are justiciable under the

        North Carolina Constitution. Although the primary responsibility for redistricting is

        constitutionally delegated to the General Assembly, this is not a delegation of

        unlimited power; the exercise of this power is subject to restrictions imposed by other

        constitutional provisions, including the Declaration of Rights. Further, as

        demonstrated through our analysis of the constitutional provisions at issue and the

        extensive factual findings of the trial court, claims of partisan gerrymandering can

        be carefully discerned and governed by manageable judicial standards.

¶ 221         Second, we hold that the General Assembly infringes upon voters’ fundamental

        rights when, on the basis of partisan affiliation, it deprives a voter of his or her right

        to substantially equal voting power, as established by the free elections clause and

        the equal protection clause in our Declaration of Rights. We hold it also constitutes

        viewpoint discrimination and retaliation based on protected political activity in

        violation of the free speech clause and the freedom of assembly clause in our

        Declaration of Rights. When a redistricting plan creates such an infringement of

        fundamental rights, strict scrutiny must be applied to determine whether the plan is
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                                             2022-NCSC-17

                                           Opinion of the Court



        nevertheless narrowly tailored to advance a compelling governmental interest.

¶ 222         Here, we hold that the General Assembly’s 2021 enacted plans are partisan

        gerrymanders that on the basis of partisan affiliation substantially infringe upon

        plaintiffs’ fundamental right to equal voting power. Finally, we hold that the enacted

        plans fail strict scrutiny and must therefore be struck down.

¶ 223         We reverse the trial court’s judgment and remand this case to that court to

        oversee the redrawing of the maps by the General Assembly or, if necessary, by the

        court. In accordance with our 4 February 2022 order and our decision today, the

        General Assembly shall now have the opportunity to submit new congressional and

        state legislative districting plans that satisfy all provisions of the North Carolina

        Constitution.17 It is the sincere hope of this Court that these new maps ensure that

        the channeling of “political power” from the people to their representatives in

        government through elections, the central democratic process envisioned by our

        constitutional system, is done on equal terms so that ours is a “government of right”

        that “originates from the people” and speaks with their voice.

              REVERSED AND REMANDED.




              17 In doing so, we hold they must also conduct racially polarized voting analysis to

        comply with the constitutional requirements under Stephenson. As we have reversed the
        judgment of the trial court based on its conclusions about the partisan gerrymandering
        claims, we decline to determine whether NCLCV Plaintiffs could also prevail on their
        minority vote dilution claim or whether plaintiff Common Cause could prevail on its
        intentional racial discrimination claim at this time.
               Justice MORGAN concurring.


¶ 224          While I fully join my learned colleagues in my agreement with the majority

        opinion in this case, in my view the dispositive strength of the Free Elections Clause

        warrants additional observations in light of the manner in which it has been postured

        and addressed. The substantive construction of the constitutional provision is

        buttressed by the contextual construction of the brief, yet potent, directive.

¶ 225          The entirety of article I, section 10 of the North Carolina Constitution states:

        “All elections shall be free.” N.C. Const. art. I, § 10. The dissenting view of this Court,

        the order of the trial court, and the presentations of Legislative Defendants have

        largely declined the opportunity to address the manner in which the term “free”

        should be interpreted as compared to plaintiffs’ significant reliance on the

        applicability of the Free Elections Clause. In this regard, plaintiffs’ invocation of the

        constitutional provision has either been cast as inapplicable to this case or relegable

        to a diminished role. To the extent that the word “free” in article I, section 10 has

        been construed here by Legislative Defendants, they conflate the right to a free

        election with the right to be free to participate in the election process, stating “there

        is no barrier between any voter and a ballot or a ballot box, no restriction on the

        candidates the voter may select, and no bar on a person’s ability to seek candidacy for

        any office” and also citing the proposition that “[t]he meaning [of North Carolina’s

        Free Elections Clause] is plain: free from interference or intimidation,” quoting John

        V. Orth &amp; Paul Martin Newby, The North Carolina State Constitution 56 (2d ed.
                                           HARPER V. HALL

                                             2022-NCSC-17

                                         Morgan, J., concurring



        2013). And curiously, instead of focusing on how elections must be free, the dissent

        chooses to focus on how the General Assembly should be free to create legislative

        election maps admittedly based on politically partisan considerations.

¶ 226         In my view, a free election is uninhibited and unconstrained in its ability to

        have the prevailing candidate to be chosen in a legislative contest without the stain

        of the outcome’s predetermination. Commensurate with the General Assembly’s

        constitutional authority to draw legislative maps is one’s constitutional right to

        participate in legislative elections which shall be free of actions—such as the General

        Assembly’s creation of the legislative redistricting maps here—which are tantamount

        to the predetermination of elections and, hence, constitute constitutional

        abridgement.

              Justice EARLS joins in this concurring opinion.
              Chief Justice NEWBY dissenting.


¶ 227         How should a constitution be interpreted? Should its meaning be fixed or

        changing? If changing, to whom have the people given the task of changing it? When

        judges change the meaning of a constitution, does this undermine public trust and

        confidence in the judicial process? Traditionally, honoring the constitutional role

        assigned to the legislative branch, this Court has stated that acts of the General

        Assembly are presumed constitutional and deserving of the most deferential standard

        of review: To be unconstitutional, an act of the General Assembly must violate an

        explicit provision of our constitution beyond a reasonable doubt. We have recognized

        that our constitution allows the General Assembly to enact laws unless expressly

        prohibited by its text. This approach of having a fixed meaning and a deferential

        standard of review ensures a judge will perform his or her assigned role and not

        become a policymaker.

¶ 228         With this decision, unguided by the constitutional text, four members of this

        Court become policymakers. They wade into the political waters by mandating their

        approach to redistricting. They change the time-honored meaning of various portions

        of our constitution by inserting their interpretation to reach their desired outcome.

        They justify this activism because their understanding of certain constitutional

        provisions has “evolved over time.” They lament that the people have not placed a

        provision in our constitution for a “citizen referendum” and use the absence of such a

        provision to justify their judicial activism to amend our constitution. The majority
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                                              2022-NCSC-17

                                         Newby, C.J., dissenting



        says courts must protect constitutional rights. This is true. Courts are not, however,

        to judicially amend the constitution to create those rights. As explicitly stated in our

        constitution, the people alone have the authority to alter our foundational document,

        and the people have the final say.

¶ 229         In its analysis, the majority misstates the history, the case law of this Court,

        and the meaning of various portions of our Declaration of Rights. In its remedy the

        majority replaces established principles with ambiguity, basically saying that judges

        alone know which redistricting plan will be constitutional and accepted by this Court

        based on analysis by political scientists. This approach ensures that the majority now

        has and indefinitely retains the redistricting authority, thereby enforcing its policy

        preferences.

¶ 230         Generally, the majority takes a sweeping brush and enacts its own policy

        preferences of achieving statewide proportionality as determined by political

        scientists and approved by judges. While mentioning traditional, neutral redistricting

        criteria, its primary focus is instead on the final partisanship analysis to achieve

        statewide parity.

¶ 231         The majority requires the General Assembly to finalize corrected maps within

        two weeks of the 4 February 2022 order along with an accompanying political science

        analysis. The majority invites others, who have not been elected by the people, to

        provide alternative maps without that same required analysis, thus inviting private
                                              HARPER V. HALL

                                                2022-NCSC-17

                                            Newby, C.J., dissenting



        parties to usurp legislative authority to make the laws with respect to redistricting

        without explanation. The majority forces this directive into an artificial timeline

        which could support the majority’s adopting its own maps.

¶ 232          A recent opinion poll found that 76% of North Carolinians believe judges decide

        cases based on partisan considerations. N.C. Comm’n on the Admin. of L. &amp; Just.,

        Final Report 67 (2017). Today’s decision, which dramatically departs from our time-

        honored standard of requiring proof that an explicit provision of the constitution is

        violated beyond a reasonable doubt, will solidify this belief.1

¶ 233          The people speak through the express language of their constitution. They

        have assigned specific tasks to each branch of government. When each branch stays

        within its lane of authority, the will of the people is achieved. When a branch grasps

        a task assigned to another, that incursion violates separation of powers and thwarts

        the will of the people. This decision, with its various policy determinations, judicially

        amends the constitution. Furthermore, it places redistricting squarely in the hands

        of four justices and not the legislature as expressly assigned by the constitution. The




               1 It does not help public confidence that in an unprecedented act, a member of the

        majority used social media to publicize this Court’s initial order when it was released, despite
        the fact that the case was still pending. See Anita Earls (@Anita_Earls), Twitter (Feb. 4, 2022,
        6:28 PM), https://twitter.com/Anita_Earls/status/1489742665356910596 (“Based on the trial
        court’s factual findings, we conclude that the congressional and legislative maps . . . are
        unconstitutional beyond a reasonable doubt.” (alteration in original)).
                                            HARPER V. HALL

                                              2022-NCSC-17

                                          Newby, C.J., dissenting



        majority’s determinations violate the will of the people, making us a government of

        judges, not of the people. I respectfully dissent.

                                     I.   Standard of Review

¶ 234         The question presented here is whether the enacted plans violate the North

        Carolina Constitution. While the standard of review is significant in all cases, it is

        particularly important in cases challenging the constitutionality of a statute.

                             The idea of one branch of government, the judiciary,
                     preventing another branch of government, the legislature,
                     through which the people act, from exercising its power is
                     the most serious of judicial considerations. See Hoke v.
                     Henderson, 15 N.C. (4 Dev.) 1, 8 (1833) (“[T]he exercise of
                     [judicial review] is the gravest duty of a judge, and is
                     always, as it ought to be, the result of the most careful,
                     cautious, and anxious deliberation.”), overruled in part on
                     other grounds by Mial v. Ellington, 134 N.C. 131, 162, 46
                     S.E. 961, 971 (1903); Trs. of Univ. of N.C. v. Foy, 5 N.C. (1
                     Mur.) 58, 89 (1805) (Hall, J., dissenting) (“A question of
                     more importance than that arising in this case [the
                     constitutionality of a legislative act] cannot come before a
                     court. . . . [W]ell convinced, indeed, ought one person to be
                     of another’s error of judgment . . . when he reflects that
                     each has given the same pledges to support the
                     Constitution.”). Since its inception, the judicial branch has
                     exercised its implied constitutional power of judicial review
                     with “great reluctance,” Bayard v. Singleton, 1 N.C.
                     (Mart.) 5, 6 (1787), recognizing that when it strikes down
                     an act of the General Assembly, the Court is preventing an
                     act of the people themselves, see Baker v. Martin, 330 N.C.
                     331,     336–37,      410    S.E.2d     887,   890     (1991).

        State ex rel. McCrory v. Berger, 368 N.C. 633, 650, 781 S.E.2d 248, 259 (2016) (Newby,

        J., concurring in part and dissenting in part) (footnote omitted).
                                              HARPER V. HALL

                                                2022-NCSC-17

                                            Newby, C.J., dissenting



¶ 235          All political power resides in the people, N.C. Const. art. I, § 2, and the people

        act through the General Assembly, Baker, 330 N.C. at 337, 410 S.E.2d at 891. Unlike

        the United States Constitution, the North Carolina Constitution “is in no matter a

        grant of power.” McIntyre v. Clarkson, 254 N.C. 510, 515, 119 S.E.2d 888, 891 (1961)

        (quoting Lassiter v. Northampton Cnty. Bd. of Elections, 248 N.C. 102, 112, 102

        S.E.2d 853, 861 (1958), aff’d, 360 U.S. 45, 79 S. Ct. 985 (1959)). Rather, “[a]ll power

        which is not limited by the Constitution inheres in the people.” Id. at 515, 119 S.E.2d

        at 891 (quoting Lassiter, 248 N.C. at 112, 102 S.E.2d at 861). Because the General

        Assembly serves as “the agent of the people for enacting laws,” State ex rel. Martin v.

        Preston, 325 N.C. 438, 448, 385 S.E.2d 473, 478 (1989), the General Assembly has

        plenary power, and a restriction on the General Assembly is in fact a restriction on

        the people themselves, Baker, 330 N.C. at 338–39, 410 S.E.2d at 891–92. Therefore,

        this Court presumes that legislation is constitutional, and a constitutional limitation

        upon the General Assembly must be (1) express and (2) proved beyond a reasonable

        doubt. Id. at 334, 410 S.E.2d at 889. When this Court looks for constitutional

        limitations on the General Assembly’s authority, it looks to the plain text of the

        constitution.2



               2 Furthermore, “[i]ssues concerning the proper construction of the Constitution of
        North Carolina ‘are in the main governed by the same general principles which control in
        ascertaining the meaning of all written instruments.’ ” State v. Webb, 358 N.C. 92, 97, 591
        S.E.2d 505, 510 (2004) (quoting State ex rel. Martin v. Preston, 325 N.C. 438, 449, 385 S.E.2d
                                            HARPER V. HALL

                                              2022-NCSC-17

                                          Newby, C.J., dissenting



¶ 236         This standard of review is illustrated by the landmark case of Bayard v.

        Singleton, the nation’s first reported case of judicial review. The majority cites Bayard

        in an effort to support its contention that judicial interference is necessary here “to

        prevent legislators from permanently insulating themselves from popular will.” But

        Bayard, rightly understood, was simply about the authority of the Court to declare

        unconstitutional a law which violated an express provision of the constitution. It was

        not about limiting the General Assembly’s authority to make discretionary political

        decisions within its express authority. Bayard involved a pointed assault on a clearly

        expressed and easily discernible individual right in the 1776 constitution, the right

        to a trial by jury “in all controversies at Law respecting Property.” N.C. Const. of

        1776, § XIV. There the court weighed the General Assembly’s ability to enact a

        statute that abolished the right to a jury trial for property disputes—for some citizens

        in some instances—in direct contradiction of the express text of the constitution, the

        fundamental law of the land:

                             That by the Constitution every citizen had
                     undoubtedly a right to a decision of his property by a trial
                     by jury. For that if the Legislature could take away this
                     right, and require him to stand condemned in his property
                     without a trial, it might with as much authority require his
                     life to be taken away without a trial by jury, and that he
                     should stand condemned to die, without the formality of
                     any trial at all: that if the members of the General

        473, 478 (1989)). “In interpreting our Constitution—as in interpreting a statute—where the
        meaning is clear from the words used, we will not search for a meaning elsewhere.” Id.
        (quoting Preston, 325 N.C. at 449, 385 S.E.2d at 479).
                                             HARPER V. HALL

                                              2022-NCSC-17

                                         Newby, C.J., dissenting



                     Assembly could do this, they might with equal authority,
                     not only render themselves the Legislators of the State for
                     life, without any further election of the people, from thence
                     transmit the dignity and authority of legislation down to
                     their heirs male forever.

        Bayard, 1 N.C. at 7. Thus, the holding of Bayard v. Singleton is easily understood: A

        statute cannot abrogate an express provision of the constitution because the

        constitution represents the fundamental law and express will of the people; it is the

        role of the judiciary to perform this judicial review. The Bayard holding, however,

        does not support the proposition that this Court has the authority to involve itself in

        a matter that is both constitutionally committed to the General Assembly and lacking

        in manageable legal standards. Thus, plainly stated and as applied to this case, the

        uncontroverted standard of review asks whether plaintiffs have shown that the

        challenged statutes, presumed constitutional, violate an express provision of the

        constitution beyond a reasonable doubt.

                                       II.    Justiciability

¶ 237         The Supreme Court of the United States has explained that “as essentially a

        function of the separation of powers,” courts must refuse to review issues that are

        better suited for the political branches; these issues are nonjusticiable.

                            It is apparent that several formulations which vary
                     slightly according to the settings in which the questions
                     arise may describe a political question, although each has
                     one or more elements which identify it as essentially a
                     function of the separation of powers. Prominent on the
                     surface of any case held to involve a political question is
                                           HARPER V. HALL

                                             2022-NCSC-17

                                         Newby, C.J., dissenting



                     found a textually demonstrable constitutional commitment
                     of the issue to a coordinate political department; or a lack
                     of judicially discoverable and manageable standards for
                     resolving it; or the impossibility of deciding without an
                     initial policy determination of a kind clearly for nonjudicial
                     discretion; or the impossibility of a court’s undertaking
                     independent resolution without expressing lack of the
                     respect due coordinate branches of government; or an
                     unusual need for unquestioning adherence to a political
                     decision already made; or the potentiality of
                     embarrassment from multifarious pronouncements by
                     various departments on one question.

        Baker v. Carr, 369 U.S. 186, 217, 82 S. Ct. 691, 710 (1962); see also Bacon v. Lee, 353

        N.C. 696, 716–17, 549 S.E.2d 840, 854 (2001). Thus, respect for separation of powers

        requires a court to refrain from entertaining a claim if any of the following are shown:

        (1) a textually demonstrable commitment of the matter to another political

        department; (2) a lack of judicially discoverable and manageable standards; (3) the

        impossibility of deciding a case without making a policy determination of a kind

        clearly suited for nonjudicial discretion; or (4) the impossibility of a court’s

        undertaking independent resolution of a matter without expressing lack of the

        respect due to a coordinate branch of government. Often the second, third, and fourth

        factors are collectively referred to as lacking a manageable standard.

        A. Manageable Standards

¶ 238         In addressing the manageable standards analysis, the Supreme Court recently

        held that partisan gerrymandering claims present nonjusticiable political questions,

        and it warned of the pitfalls inherent in such claims. See Rucho v. Common Cause,
                                               HARPER V. HALL

                                                 2022-NCSC-17

                                            Newby, C.J., dissenting



        139 S. Ct. 2484, 2506–07 (2019).3 In Rucho “[v]oters and other plaintiffs in North

        Carolina and Maryland challenged their States’ congressional districting maps as

        unconstitutional partisan gerrymanders.” Id. at 2491. “The plaintiffs alleged that the

        gerrymandering violated the First Amendment, the Equal Protection Clause of the

        Fourteenth Amendment, the Elections Clause, and Article I, § 2, of the Constitution.”

        Id. As such, the Supreme Court was tasked with deciding “whether claims of

        excessive partisanship in districting are ‘justiciable’—that is, properly suited for

        resolution by the federal courts.” Id.

¶ 239          In seeking to answer this question, the Court provided the following historical

        background:

                             Partisan gerrymandering is nothing new. Nor is
                      frustration with it. The practice was known in the Colonies
                      prior to Independence, and the Framers were familiar with
                      it at the time of the drafting and ratification of the
                      Constitution. . . .

                             ....

                             . . . The Framers were aware of electoral districting
                      problems and considered what to do about them. They
                      settled on a characteristic approach, assigning the issue to
                      the state legislatures, expressly checked and balanced by
                      the Federal Congress. As Alexander Hamilton explained,
                      “it will . . . not be denied that a discretionary power over

               3 It should be noted that several of the attorneys in Rucho are also litigating this case.

        Similar claims are presented here and similar remedies requested, only this time based on
        our state constitution, not the Federal Constitution. Neither the Federal Constitution nor the
        state constitution have explicit provisions addressing partisan gerrymandering. Likewise,
        some of the plaintiffs’ experts in Rucho are the same experts as used here.
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             elections ought to exist somewhere. It will, I presume, be
             as readily conceded that there were only three ways in
             which this power could have been reasonably modified and
             disposed: that it must either have been lodged wholly in the
             national legislature, or wholly in the State legislatures, or
             primarily in the latter, and ultimately in the former.” The
             Federalist No. 59, p. 362 (C. Rossiter ed. 1961). At no point
             was there a suggestion that the federal courts had a role to
             play. Nor was there any indication that the Framers had
             ever heard of courts doing such a thing.

Id. at 2494–96 (alteration in original). The Court then noted that “[i]n two areas—

[equal voting power defined as] one-person, one-vote and racial gerrymandering—our

cases have held that there is a role for the courts with respect to at least some issues

that could arise from a State’s drawing of congressional districts.” Id. at 2495–96. It

specified, however, that

                      [p]artisan gerrymandering claims have proved far
             more difficult to adjudicate. The basic reason is that, while
             it is illegal for a jurisdiction to depart from the one-person,
             one-vote rule, or to engage in racial discrimination in
             districting, “a jurisdiction may engage in constitutional
             political gerrymandering.” Hunt v. Cromartie, 526 U.S.
             541, 551, 119 S.Ct. 1545, 143 L.Ed.2d 731 (1999) (citing
             Bush v. Vera, 517 U.S. 952, 968, 116 S.Ct. 1941, 135
             L.Ed.2d 248 (1996); Shaw v. Hunt, 517 U.S. 899, 905, 116
             S.Ct. 1894, 135 L.Ed.2d 207 (1996) (Shaw II); Miller v.
             Johnson, 515 U.S. 900, 916, 115 S.Ct. 2475, 132 L.Ed.2d
             762 (1995); Shaw [v. Reno], 509 U.S. [630,] 646, 113 S.Ct.
             2816[, 125 L.Ed. 2d 511 (1993)]). See also Gaffney v.
             Cummings, 412 U.S. 735, 753, 93 S.Ct. 2321, 37 L.Ed.2d
             298 (1973) (recognizing that “[p]olitics and political
             considerations are inseparable from districting and
             apportionment”).

Id. at 2497 (last alteration in original). Thus, the Court reasoned that
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                    [t]o hold that legislators cannot take partisan
             interests into account when drawing district lines would
             essentially countermand the Framers’ decision to entrust
             districting to political entities. The “central problem” is not
             determining whether a jurisdiction has engaged in
             partisan gerrymandering. It is “determining when political
             gerrymandering has gone too far.” Vieth [v. Jubelirer], 541
             U.S. [267,] 296, 124 S.Ct. 1769 [(2004)] (plurality opinion).
             See League of United Latin American Citizens v. Perry, 548
             U.S. 399, 420, 126 S.Ct. 2594, 165 L.Ed.2d 609 (2006)
             (LULAC) (opinion of Kennedy, J.) (difficulty is “providing a
             standard for deciding how much partisan dominance is too
             much”).

Id. The Court then highlighted its “mindful[ness] of Justice Kennedy’s counsel in

Vieth: Any standard for resolving such claims must be grounded in a ‘limited and

precise rationale’ and be ‘clear, manageable, and politically neutral.’ 541 U.S. at 306–

308, 124 S.Ct. 1769 (opinion concurring in judgment).” Id. at 2498. The Court further

clarified that

             [a]n important reason for those careful constraints is that,
             as a Justice with extensive experience in state and local
             politics put it, “[t]he opportunity to control the drawing of
             electoral boundaries through the legislative process of
             apportionment is a critical and traditional part of politics
             in the United States.” [Davis v.] Bandemer, 478 U.S. [109,]
             145, 106 S.Ct. 2797 [(1986)] (opinion of O’Connor, J.). See
             Gaffney, 412 U.S. at 749, 93 S.Ct. 2321 (observing that
             districting implicates “fundamental ‘choices about the
             nature of representation’ ” (quoting Burns v. Richardson,
             384 U.S. 73, 92, 86 S.Ct. 1286, 16 L.Ed.2d 376 (1966))). An
             expansive standard requiring “the correction of all election
             district lines drawn for partisan reasons would commit
             federal and state courts to unprecedented intervention in
             the American political process,” Vieth, 541 U.S. at 306, 124
             S.Ct. 1769 (opinion of Kennedy, J.).
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        Id. (first alteration in original). As such, the Supreme Court concluded that “[i]f

        federal courts are to ‘inject [themselves] into the most heated partisan issues’ by

        adjudicating partisan gerrymandering claims, Bandemer, 478 U.S. at 145, 106 S.Ct.

        at 2797 (opinion of O’Connor, J.), they must be armed with a standard that can

        reliably    differentiate    unconstitutional          from   ‘constitutional   political

        gerrymandering.’ ” Id. at 2499 (second alteration in original) (quoting Cromartie, 526

        U.S. at 551, 119 S. Ct. at 1545).

¶ 240         The Court also explained that partisan gerrymandering claims are effectively

        requests for courts to allocate political power based upon a principle of

        proportionality:

                            Partisan gerrymandering claims invariably sound in
                     a desire for proportional representation. As Justice
                     O’Connor put it, such claims are based on “a conviction that
                     the greater the departure from proportionality, the more
                     suspect an apportionment plan becomes.” [Bandemer, 478
                     U.S. at 159, 106 S.Ct. 2797.] “Our cases, however, clearly
                     foreclose any claim that the Constitution requires
                     proportional representation or that legislatures in
                     reapportioning must draw district lines to come as near as
                     possible to allocating seats to the contending parties in
                     proportion to what their anticipated statewide vote will
                     be.” Id., at 130, 106 S.Ct. 2797 (plurality opinion). See
                     Mobile v. Bolden, 446 U.S. 55, 75–76, 100 S.Ct. 1490, 1504,
                     64 L.Ed.2d 47 (1980) (plurality opinion) (“The Equal
                     Protection Clause of the Fourteenth Amendment does not
                     require proportional representation as an imperative of
                     political organization.”).

                           The Founders certainly did not think proportional
                     representation was required. For more than 50 years after
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             ratification of the Constitution, many States elected their
             congressional representatives through at-large or “general
             ticket” elections. Such States typically sent single-party
             delegations to Congress. See E. Engstrom, Partisan
             Gerrymandering and the Construction of American
             Democracy 43–51 (2013). That meant that a party could
             garner nearly half of the vote statewide and wind up
             without any seats in the congressional delegation. The
             Whigs in Alabama suffered that fate in 1840: “their party
             garnered 43 percent of the statewide vote, yet did not
             receive a single seat.” Id., at 48. When Congress required
             single-member districts in the Apportionment Act of 1842,
             it was not out of a general sense of fairness, but instead a
             (mis)calculation by the Whigs that such a change would
             improve their electoral prospects. Id., at 43–44.

                   Unable to claim that the Constitution requires
             proportional representation outright, plaintiffs inevitably
             ask the courts to make their own political judgment about
             how much representation particular political parties
             deserve—based on the votes of their supporters—and to
             rearrange the challenged districts to achieve that end.

Id. at 2499. The Court thus determined that “federal courts are not equipped to

apportion political power as a matter of fairness, nor is there any basis for concluding

that they were authorized to do so.” Id. (quoting Vieth, 541 U.S. at 291, 124 S.Ct. 1769
(plurality opinion) (stating that: “ ‘Fairness’ does not seem to us a judicially

manageable standard. . . . Some criterion more solid and more demonstrably met

than that seems to us necessary to enable the state legislatures to discern the limits

of their districting discretion, to meaningfully constrain the discretion of the courts,

and to win public acceptance for the courts’ intrusion into a process that is the very

foundation of democratic decisionmaking.”)).
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¶ 241         The Court also explained that the Federal Constitution is devoid of any metric

        for measuring political fairness:

                             Appellees contend that if we can adjudicate one-
                     person, one-vote claims, we can also assess partisan
                     gerrymandering claims. But the one-person, one-vote rule
                     is relatively easy to administer as a matter of math. The
                     same cannot be said of partisan gerrymandering claims,
                     because the Constitution supplies no objective measure for
                     assessing whether a districting map treats a political party
                     fairly. It hardly follows from the principle that each person
                     must have an equal say in the election of representatives
                     that a person is entitled to have his political party achieve
                     representation in some way commensurate to its share of
                     statewide support.

        Id. at 2501. The Court then turned to the shortcomings of the political science-based

        tests that the plaintiffs proposed for determining the permissibility of partisan

        gerrymandering:

                            The appellees assure us that “the persistence of a
                     party’s advantage may be shown through sensitivity
                     testing: probing how a plan would perform under other
                     plausible electoral conditions.” Experience proves that
                     accurately predicting electoral outcomes is not so simple,
                     either because the plans are based on flawed assumptions
                     about voter preferences and behavior or because
                     demographics and priorities change over time. In our two
                     leading partisan gerrymandering cases themselves, the
                     predictions of durability proved to be dramatically wrong.
                     In 1981, Republicans controlled both houses of the Indiana
                     Legislature as well as the governorship. Democrats
                     challenged the state legislature districting map enacted by
                     the Republicans. This Court in Bandemer rejected that
                     challenge, and just months later the Democrats increased
                     their share of House seats in the 1986 elections. Two years
                     later the House was split 50–50 between Democrats and
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                     Republicans, and the Democrats took control of the
                     chamber in 1990. Democrats also challenged the
                     Pennsylvania congressional districting plan at issue in
                     Vieth. Two years after that challenge failed, they gained
                     four seats in the delegation, going from a 12–7 minority to
                     an 11–8 majority. At the next election, they flipped another
                     Republican seat.

                            Even the most sophisticated districting maps cannot
                     reliably account for some of the reasons voters prefer one
                     candidate over another, or why their preferences may
                     change. Voters elect individual candidates in individual
                     districts, and their selections depend on the issues that
                     matter to them, the quality of the candidates, the tone of
                     the candidates’ campaigns, the performance of an
                     incumbent, national events or local issues that drive voter
                     turnout, and other considerations. Many voters split their
                     tickets. Others never register with a political party, and
                     vote for candidates from both major parties at different
                     points during their lifetimes. For all of those reasons,
                     asking judges to predict how a particular districting map
                     will perform in future elections risks basing constitutional
                     holdings on unstable ground outside judicial expertise.

        Id. at 2503–04 (citations omitted).

¶ 242         The Supreme Court concluded “that partisan gerrymandering claims present

        political questions beyond the reach of the federal courts. Federal judges have no

        license to reallocate political power between the two major political parties, with no

        plausible grant of authority in the Constitution, and no legal standards to limit and

        direct their decisions.” Id. at 2506–07. The Court’s discussion in Rucho of its previous

        decision in Bandemer, especially its reference to Justice O’Connor’s concurring

        opinion, serves as a cautionary tale for the dangers that loom when a court thrusts
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        itself into the political thicket guided by nothing more than a “nebulous standard.”

        Bandemer, 478 U.S. at 145, 106 S. Ct. at 2817 (O’Connor, J., concurring). The

        Supreme Court did state that some state constitutions might provide the explicit

        guidance necessary to adjudicate partisan gerrymandering claims.

¶ 243         For specific guidance, the Court mentioned a case in which “the Supreme Court

        of Florida struck down that State’s congressional districting plan as a violation of the

        Fair Districts Amendment to the Florida Constitution.” Rucho, 139 S. Ct. at 2507
        (citing League of Women Voters of Florida v. Detzner, 172 So. 3d 363, 416 (Fla. 2015)).

        Notably, in Detzner the state court was directed by the following express

        constitutional provision:

                     In establishing congressional district boundaries:

                            (a)     No apportionment plan or individual district
                     shall be drawn with the intent to favor or disfavor a
                     political party or an incumbent; and districts shall not be
                     drawn with the intent or result of denying or abridging the
                     equal opportunity of racial or language minorities to
                     participate in the political process or to diminish their
                     ability to elect representatives of their choice; and districts
                     shall consist of contiguous territory.

                            (b)    Unless compliance with the standards in this
                     subsection conflicts with the standards in subsection (a) or
                     with federal law, districts shall be as nearly equal in
                     population as is practicable; districts shall be compact; and
                     districts shall, where feasible, utilize existing political and
                     geographical boundaries.

                           (c)    The order in which the standards within
                     subsections (a) and (b) of this section are set forth shall not
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                     be read to establish any priority of one standard over the
                     other within that subsection.

        Fla. Const. art. III, § 20 (footnotes omitted). When the Supreme Court referenced the

        use of state constitutions to address claims of partisan gerrymandering, it was

        referring to explicit prohibitions found in state constitutions, not to those created by

        judges as this Court does today. When asked by the dissent why the majority did not

        follow the Florida court’s lead, the majority said, “The answer is that there is no

        ‘Fair Districts Amendment’ to the Federal Constitution.” Rucho, 139 S. Ct. at 2507.

¶ 244         Here the majority opinion confirms the truth of all the warnings given by the

        Supreme Court that there is no manageable standard for adjudicating claims of

        partisan gerrymandering. The will of the people of Florida is fully and clearly

        expressed in their constitution. Like the Federal Constitution, there is no provision

        in our state constitution remotely comparable to this express provision in the Florida

        Constitution. As the Supreme Court said, with an express provision, states are better

        “armed with a standard that can reliably differentiate” between constitutional and

        unconstitutional political gerrymandering. See Rucho, 139 S. Ct. at 2499. Instead, the

        majority inexplicably takes the Court’s statement that the “[p]rovisions in state

        statutes and state constitutions can provide standards and guidance for state courts

        to apply,” id. at 2507, as an unrestricted license to judicially amend our constitution.

        In doing so, the majority wholly ignores the fact that the Court in Rucho identified

        several state constitutional provisions and statutes that are clear, manageable, and
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        express as examples of workable standards for assessing political gerrymandering.

        See id. at 2507–08.

¶ 245         The North Carolina Constitution could have a provision like the Florida

        Constitution. But, to do so properly requires the amendment process authorized in

        the constitution itself, allowing the people to determine the wisdom of this new policy.

        Instead of following the constitutionally required process for properly amending the

        constitution, the majority now does so by judicial fiat, effectively placing in the

        constitution that any redistricting plan cannot “on the basis of partisan affiliation . . .

        deprive[ ] a voter of his or her fundamental right to substantially equal voting power”

        as determined by certain political science tests. Would the people have adopted this

        constitutional amendment? We do not know, and the majority does not care.

¶ 246         The plaintiffs in Rucho presented arguments and evidence similar to what was

        presented here—that the use of certain political science theories could provide a

        manageable standard. The Supreme Court disagreed. See id. at 2503–04. Here the

        majority’s new constitutional standard requires litigants and courts to utilize those

        rejected approaches to predict the electoral outcomes that various proposed plans

        would produce. In doing so, the majority adopts various policies. First, the majority

        makes the initial policy determination that the constitution mandates a statewide

        proportionality standard. Next, it determines that the constitution requires the use

        of political science tests to adhere to this standard and designates which political
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        science tests should be used. But, the majority refuses to identity how the standard

        can be met: “We do not believe it prudent or necessary to, at this time, identify an

        exhaustive set of metrics or precise mathematical thresholds which conclusively

        demonstrate or disprove the existence of an unconstitutional partisan gerrymander.”

        “[B]asing [its] constitutional holdings on unstable ground outside judicial expertise,”

        Rucho, 139 S. Ct. at 2504, the majority’s decision effectively results in the creation of

        a redistricting commission comprised of selected political scientists and judges.

¶ 247         The majority simply fails to recognize that its political science-based approach

        involves policy decisions and that these are the same policy determinations about

        which the Supreme Court warned in Rucho. See id. at 2503–04; id. at 2504 (“For all

        of those reasons, asking judges to predict how a particular districting map will

        perform in future elections risks basing constitutional holdings on unstable ground

        outside judicial expertise.”). Why did the majority choose this approach and these

        specific tests instead of others? The expert witnesses in this case looked to selected

        past statewide elections results for data, and the majority approves such a practice.

        Left unanswered is which past elections’ results are germane to predicting future

        ones. Moreover, what if the experts approved by the majority tend to favor one

        political party over the other as shown by their trial testimony in various cases? Could

        such experts be considered politically neutral?
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¶ 248         As found by the trial court, “[t]he experts’ analysis does not inform the Court

        of how far the Enacted Maps are from what is permissible partisan advantage.

        Accordingly, these analyses do not inform the Court of how much of an outlier the

        Enacted Maps are from what is actually permissible.” The trial court also found that

        the “statewide races [used by plaintiffs’ experts] have one thing in common, that is,

        the elected positions have very little in common with the legislative and congressional

        races except that they all occur in North Carolina.”

¶ 249         The majority inserts a requirement of “partisan fairness” into our constitution.

        Under the majority’s newly created policy, any redistricting that diminishes or dilutes

        an individual’s vote on the basis of partisanship is unconstitutional. This outcome

        results, as predicted by the Court in Rucho, in a statewide proportionality standard.

        According to the majority, when groups of voters of “equal size” exist within a state,

        elections should result in an equal amount of representatives. Again, this vague

        notion of fairness does not answer how to measure whether groups of voters are of

        equal size or how to predict the results an election would produce.

¶ 250         The majority also bases its reasoning on several false assumptions. First,

        plaintiffs’ experts and now the majority appear to assume that voters will vote along

        party lines in future elections. This assumption is especially troubling considering

        that in 2020 over eight percent of North Carolinians voted for both a Republican

        candidate for president and a Democratic candidate for governor on the same ballot.
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        Though individuals self-select their party affiliation, the views can often differ from

        one individual to another within that affiliation. Second, in equating partisan

        affiliation to an immutable characteristic and then elevating its protection to strict

        scrutiny, the majority also fails to consider that party affiliation can change at any

        point or be absent altogether. How can the General Assembly forecast the appropriate

        protections for the unaffiliated voter, a group growing by rapid number in the state?

        What is the standard for that group’s fair representation? The majority certainly

        provides no answer for these important questions.

¶ 251         Third, the majority’s policy decision erroneously assumes that a voter’s

        interests can never be adequately represented by someone from a different party.

        Representative government is grounded in the concept of geographic representation.

        Though partisanship may influence the representative’s attention to certain political

        issues, the representative is likely to attend to numerous other issues important to

        the shared community interests that affect his or her constituents. The constitution

        cannot guarantee that a representative will have the same political objectives as a

        given constituent because it is an impossible requirement. Representatives are

        individuals with their own beliefs and who pursue their own motivations, often in

        opposition to other members of their own party. As the trial court correctly found,

        plaintiffs’ experts, and now the majority, treat candidates and representatives “as

        inanimate objects in that they do not consider the personality or qualifications of each
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candidate, any political baggage each candidate may carry, as well as a host of other

considerations that voters use to select a candidate.” Not only does the majority

assume that voters will vote along party lines, but it also likewise transforms the

individual representatives into partisan robots. Such reasoning is divorced from

reality but nonetheless is the expected result when a court involves itself in a “policy

determination of a kind clearly for nonjudicial discretion.” Baker, 369 U.S. at 217, 82

S. Ct. at 710. As in this case, the plaintiffs in Rucho argued that addressing concerns

of partisan gerrymandering was comparable to the process used in the one-person,

one-vote legal analysis. Again, the Supreme Court of the United States disagreed. See

Rucho, 139 S. Ct. at 2501. The one-person, one-vote rule is just “a matter of math.”

Id. But the Constitution does not provide an “objective measure” of how to determine

if a political party is treated “fairly.” Id. Again, rejecting the Supreme Court’s

guidance, the majority holds that one-person, one-vote and partisan gerrymandering

use comparable assessments and even asserts that violations related to partisan

gerrymandering are more egregious than violations of one-person, one-vote. In sum,

there is no judicially discernible manageable standard. As thoroughly discussed in

Rucho, the majority’s approach is replete with policy determinations. Thus, the case

is nonjusticiable.
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        B. Textual Commitment

¶ 252         In addition to the fact that partisan gerrymandering claims are lacking in

        manageable standards, the issue is textually committed to the General Assembly.

        Under our state constitution, the General Assembly possesses plenary power as well

        as responsibilities explicitly recognized in the text. McIntyre, 254 N.C. at 515, 119

        S.E.2d at 891–92. Both the Federal Constitution and the North Carolina Constitution

        textually assign redistricting authority to the legislature. The Federal Constitution

        commits the drawing of congressional districts to the state legislatures subject to

        oversight by the Congress of the United States. “The Times, Places and Manner of

        holding Elections for Senators and Representatives, shall be prescribed in each State

        by the Legislature thereof; but the Congress may at any time by Law make or alter

        such Regulations, except as to the Places of chusing Senators.” U.S. Const. art. I, § 4,

        cl. 1. Our constitution also plainly commits redistricting responsibility to the General

        Assembly. See N.C. Const. art. II, § 3 (“The General Assembly . . . shall revise the

        senate districts and the apportionment of Senators among those districts . . . .”

        (emphasis added)); id. § 5 (“The General Assembly . . . shall revise the representative

        districts and the apportionment of Representatives among those districts . . . .”

        (emphasis added)). The governor has no role in the redistricting process because the
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        constitution explicitly exempts redistricting legislation from the governor’s veto

        power. Id. § 22(5)(b)–(d).

¶ 253         The role of the judiciary through judicial review is to decide challenges

        regarding whether a redistricting plan violates the objective limitations in Article II,

        Sections 3 and 5 of our constitution or a provision of federal law. Under our historic

        standard of review, the Court should not venture beyond the express language of the

        constitution. This Court is simply not constitutionally empowered nor equipped to

        formulate policy or develop standards for matters of a political, rather than legal,

        nature.

¶ 254         Our constitution places only the following four enumerated objective

        limitations on the General Assembly’s redistricting authority:

                            (1) Each Senator shall represent, as nearly as may
                     be, an equal number of inhabitants, the number of
                     inhabitants that each Senator represents being
                     determined for this purpose by dividing the population of
                     the district that he represents by the number of Senators
                     apportioned to that district;

                           (2) Each senate district shall at all times consist of
                     contiguous territory;

                           (3) No county shall be divided in the formation of a
                     senate district;

                            (4) When established, the senate districts and the
                     apportionment of Senators shall remain unaltered until
                     the return of another decennial census of population taken
                     by order of Congress.
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        Id. § 3; see id. § 5 (setting the same limitations for the state House of Representatives).

        These express limitations neither restrict nor prohibit the General Assembly’s

        presumptively constitutional discretion to engage in partisan gerrymandering. See

        Preston, 325 N.C. at 448–49, 385 S.E.2d at 478. The majority seriously errs by

        suggesting the General Assembly needs an express grant of authority to redistrict for

        partisan advantage. Under our state constitution, the opposite is true; absent an

        express prohibition, the General Assembly can proceed.

¶ 255          In a landmark case this Court considered the explicit limitations in Article II,

        Sections 3 and 5 and concluded that these objective restraints remain valid and can

        be applied consistently with federal law. In Stephenson the plaintiffs challenged the

        2001 state legislative redistricting plans as unconstitutional in violation of the Whole

        County Provisions (WCP) of Article II, Sections 3 and 5. Stephenson v. Bartlett, 355

        N.C. 354, 358, 562 S.E.2d 377, 381 (2002). The defendants argued that “the

        constitutional provisions mandating that counties not be divided are wholly

        unenforceable because of the requirements of the Voting Rights Act [(VRA)].” Id. at

        361, 562 S.E.2d at 383–84. Thus, before addressing whether the 2001 redistricting

        plans violated the Whole County Provisions, this Court first had to address “whether

        the WCP is now entirely unenforceable, as [the] defendants contend, or, alternatively,

        whether the WCP remains enforceable throughout the State to the extent not
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preempted or otherwise superseded by federal law.” Id. at 369, 562 S.E.2d at 388. In

doing so, we explained that

             an inflexible application of the WCP is no longer attainable
             because of the operation of the provisions of the VRA and
             the federal “one-person, one-vote” standard, as
             incorporated within the State Constitution. This does not
             mean, however, that the WCP is rendered a legal nullity if
             its beneficial purposes can be preserved consistent with
             federal law and reconciled with other state constitutional
             guarantees.

             . . . . The General Assembly may consider partisan
             advantage and incumbency protection in the application of
             its discretionary redistricting decisions, see Gaffney v.
             Cummings, 412 U.S. 735, [93 S. Ct. 2321,] 37 L. Ed. 2d 298             (1973), but it must do so in conformity with the State
             Constitution. To hold otherwise would abrogate the
             constitutional limitations or “objective constraints” that
             the people of North Carolina have imposed on legislative
             redistricting and reapportionment in the State
             Constitution.

Id. at 371–72, 562 S.E.2d at 389–90. Thus, we referred to the Whole County

Provisions and the other explicit limitations of Article II, Sections 3 and 5 as the

“objective constraints” that the people have imposed upon the General Assembly’s

redistricting authority. We then concluded that “the WCP remains valid and binding

upon the General Assembly during the redistricting and reapportionment process . . .

except to the extent superseded by federal law.” Id. at 372, 562 S.E.2d at 390. Having

decided that the Whole County Provisions remained enforceable to the extent not

preempted or otherwise superseded by federal law, we held that the 2001
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        redistricting plans violated the Whole County Provisions because “the 2001 Senate

        redistricting plan divide[d] 51 of 100 counties into different Senate Districts,” and

        “[t]he 2001 House redistricting plan divide[d] 70 out of 100 counties into different

        House districts.” Id. at 371, 562 S.E.2d at 390.

¶ 256         Having found that the maps violated the still valid Whole County Provisions,

        out of respect for the legislative branch, we then sought to give the General Assembly

        detailed criteria for fashioning remedial maps. The plaintiffs “contend[ed] that

        remedial compliance with the WCP requires the formation of multi-member

        legislative districts in which all legislators would be elected ‘at-large.’ ” Id. at 376,

        562 S.E.2d at 392. As such, we “turn[ed] to address the constitutional propriety of

        such districts, in the public interest, in order to effect a comprehensive remedy to the

        constitutional violation which occurred in the instant case.” Id. at 377, 562 S.E.2d at

        393. In doing so, we noted that “[t]he classification of voters into both single-member

        and multi-member districts . . . necessarily implicates the fundamental right to vote

        on equal terms.” Id. at 378, 562 S.E.2d at 393. We explained that

                     voters in single-member legislative districts, surrounded
                     by multi-member districts, suffer electoral disadvantage
                     because, at a minimum, they are not permitted to vote for
                     the same number of legislators and may not enjoy the same
                     representational influence or “clout” as voters represented
                     by a slate of legislators within a multi-member district.

        Id. at 377, 562 S.E.2d at 393 (emphasis added). Thus, we concluded that the use of

        both single-member and multi-member districts within the same redistricting plan
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        infringes upon “the fundamental right of each North Carolinian to substantially equal

        voting power.” Id. at 379, 562 S.E.2d at 394. In other words, “substantially equal

        voting power” meant that each legislator should represent a similar number of

        constituents. This is an application of the one-person, one-vote concept. Here the

        majority changes the concept of “substantially equal voting power” of one-person, one-

        vote to apply now to “party affiliation.”

¶ 257          We did not discuss the political party of the constituents in Stephenson but

        provided the following remedial directive:

                      [T]o ensure full compliance with federal law, legislative
                      districts required by the VRA shall be formed prior to
                      creation of non-VRA districts. The USDOJ precleared the
                      2001 legislative redistricting plans, and the VRA districts
                      contained therein, on 11 February 2002.[4] This
                      administrative determination signified that, in the opinion
                      of the USDOJ, the 2001 legislative redistricting plans had
                      no retrogressive effect upon minority voters. In the
                      formation of VRA districts within the revised redistricting
                      plans on remand, we likewise direct the trial court to
                      ensure that VRA districts are formed consistent with
                      federal law and in a manner having no retrogressive effect
                      upon minority voters. To the maximum extent practicable,
                      such VRA districts shall also comply with the legal
                      requirements of the WCP, as herein established for all
                      redistricting plans and districts throughout the State.


               4 North Carolina is no longer subject to this requirement of Section 5 of the Voting

        Rights Act. N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 215–16 (4th Cir. 2016) (“[I]n
        late June 2013, the Supreme Court issued its opinion in Shelby County. In it, the Court
        invalidated the preclearance coverage formula, finding it based on outdated data. Shelby
        [Cnty. v. Holder], [570 U.S. 529, 556–57,] 133 S. Ct. [2612,] 2631 [(2013)]. Consequently, as
        of that date, North Carolina no longer needed to preclear changes in its election laws.”).
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      In forming new legislative districts, any deviation
from the ideal population for a legislative district shall be
at or within plus or minus five percent for purposes of
compliance     with   federal     “one-person,     one-vote”
requirements.

       In counties having a 2000 census population
sufficient to support the formation of one non-VRA
legislative district falling at or within plus or minus five
percent deviation from the ideal population consistent with
“one-person, one-vote” requirements, the WCP requires
that the physical boundaries of any such non-VRA
legislative district not cross or traverse the exterior
geographic line of any such county.

      When two or more non-VRA legislative districts may
be created within a single county, which districts fall at or
within plus or minus five percent deviation from the ideal
population consistent with “one-person, one-vote”
requirements, single-member non-VRA districts shall be
formed within said county. Such non-VRA districts shall be
compact and shall not traverse the exterior geographic
boundary of any such county.

       In counties having a non-VRA population pool which
cannot support at least one legislative district at or within
plus or minus five percent of the ideal population for a
legislative district or, alternatively, counties having a non-
VRA population pool which, if divided into districts, would
not comply with the at or within plus or minus five percent
“one-person, one-vote” standard, the requirements of the
WCP are met by combining or grouping the minimum
number of whole, contiguous counties necessary to comply
with the at or within plus or minus five percent “one-
person, one-vote” standard. Within any such contiguous
multi-county grouping, compact districts shall be formed,
consistent with the at or within plus or minus five percent
standard, whose boundary lines do not cross or traverse the
“exterior” line of the multi-county grouping; provided,
however, that the resulting interior county lines created by
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                     any such groupings may be crossed or traversed in the
                     creation of districts within said multi-county grouping but
                     only to the extent necessary to comply with the at or within
                     plus or minus five percent “one-person, one-vote” standard.
                     The intent underlying the WCP must be enforced to the
                     maximum extent possible; thus, only the smallest number
                     of counties necessary to comply with the at or within plus
                     or minus five percent “one-person, one-vote” standard shall
                     be combined, and communities of interest should be
                     considered in the formation of compact and contiguous
                     electoral districts.

                            Because multi-member legislative districts, at least
                     when used in conjunction with single-member legislative
                     districts in the same redistricting plan, are subject to strict
                     scrutiny under the Equal Protection Clause of the State
                     Constitution, multi-member districts shall not be used in
                     the formation of legislative districts unless it is established
                     that such districts are necessary to advance a compelling
                     governmental interest.

                            Finally, we direct that any new redistricting plans,
                     including any proposed on remand in this case, shall depart
                     from strict compliance with the legal requirements set
                     forth herein only to the extent necessary to comply with
                     federal law.

        Id. at 383–84, 562 S.E.2d at 396–97.

¶ 258         The majority attempts to analogize the classification of voters in Stephenson

        that were placed into both single and multi-member districts to the classification of

        voters based upon partisan affiliation. It does so by concluding, without any citation

        or other reference to legal support or any explanation, that the right to vote on equal

        terms “necessarily encompasses the opportunity to aggregate one’s vote with

        likeminded citizens to elect a governing majority of elected officials who reflect those
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        citizens’ views.” The majority thus reasons that “[l]ike the distinctions at issue in

        Stephenson, drawing distinctions between voters on the basis of partisanship when

        allocating voting power diminishes the ‘representational influence’ of voters” because

        “those voters have far fewer legislators who are ‘responsive’ to their concerns and who

        can together ‘press their interests.’ ”

¶ 259         The majority, however, fails to recognize that at least some partisan

        considerations are permitted under Stephenson. Id. at 371, 562 S.E.2d at 390 (“The

        General Assembly may consider partisan advantage and incumbency protection in

        the application of its discretionary redistricting decisions, but it must do so in

        conformity with the State Constitution.” (internal citation omitted)); Rucho, 139

        S. Ct. at 2497 (recognizing that legislators must be permitted to take some “partisan

        interests into account when drawing district lines”). Furthermore, our Stephenson

        decision thus directs that the Whole County Provisions of Article II, Sections 3 and 5

        are still enforceable to the extent that they are compatible with the VRA and one-

        person, one-vote principles. When understanding Stephenson in context, it becomes

        clear that the Court’s statement—that the General Assembly’s practice of partisan

        gerrymandering must still conform with the constitution—refers to the express

        objective limitations present in Article II, Sections 3 and 5. The Court in Stephenson

        did not identify any other restrictions on the General Assembly’s redistricting
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        authority arising from the state constitution; the Court only recognized the express

        limitations, which deal exclusively with geographic and population-based measures.

¶ 260          The majority’s misunderstanding of Stephenson is further expressed through

        its requirement from the 4 February 2022 order that “[t]he General Assembly must

        first assess whether, using current election and population data, racially polarized

        voting is legally sufficient in any area of the state such that Section 2 of the Voting

        Rights Act requires the drawing of a district to avoid diluting the voting strength of

        African-American voters.”5 Contrarily, Stephenson in no way requires the General

        Assembly to conduct an independent analysis under Section 2 of the VRA before

        enacting a redistricting plan. Similarly, federal precedent does not have this

        requirement.6



               5 Interestingly, the language in the majority’s opinion now attempts to contextualize

        this requirement, noting that “the General Assembly’s responsibility to conduct a racially
        polarized voting analysis arises from our state constitution and decisions of this Court,
        including primarily Stephenson, and not from the VRA itself, or for that matter from any
        federal law.” But this attempted contextualization is senseless considering the directive from
        the majority’s order specifically instructed the General Assembly to apply the federal VRA.
               6  “The Equal Protection Clause of the Fourteenth Amendment limits racial
        gerrymanders in legislative districting plans.” Cooper v. Harris, 137 S. Ct. 1455, 1463 (2017).
        Thus, absent a “sufficient justification,” a state is prevented from “separat[ing] its citizens
        into different voting districts on the basis of race.” Bethune-Hill v. Virginia State Bd. of
        Elections, 137 S. Ct. 788, 797 (2017) (alteration in original) (quoting Miller v. Johnson, 515
        U.S. 900, 911, 115 S. Ct. 2475, 2486 (1995)). A plaintiff must first “prove that ‘race was the
        predominant factor motivating the legislature’s decision to place a significant number of
        voters within or without a particular district.’ That entails demonstrating that the legislature
        ‘subordinated’ other factors—compactness, respect for political subdivisions, partisan
        advantage, what have you—to ‘racial considerations.’ ” Cooper, 137 S. Ct. at 1463–64 (citation
        omitted) (quoting Miller, 515 U.S. at 916, 115 S. Ct. at 2488).
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¶ 261          In Stephenson we explained that “Section 2 of the VRA generally provides that

        states or their political subdivisions may not impose any voting qualification or

        prerequisite that impairs or dilutes, on account of race or color, a citizen’s opportunity

        to participate in the political process and to elect representatives of his or her choice.”

        Stephenson, 355 N.C. at 363, 562 S.E.2d at 385 (first citing 42 U.S.C. §§ 1973a, 1973b

        (1994); and then citing Thornburg v. Gingles, 478 U.S. 30, 43, 106 S. Ct. 2752, 2762
        (1986)). We then stated that “[o]n remand, to ensure full compliance with federal law,

        legislative districts required by the VRA shall be formed prior to creation of non-VRA

        districts.” Id. at 383, 562 S.E.2d at 396–97. We provided this approach to alleviate

        the tension between the Whole County Provisions and the VRA because the

        legislative defendants in Stephenson argued that “the constitutional provisions

        mandating that counties not be divided are wholly unenforceable because of the

        requirements of the Voting Rights Act.” Id. at 361, 562 S.E.2d at 383–84. Thus, the

        Court in Stephenson was not forcing the legislative defendants to conduct a VRA

        analysis. Rather, the Court was merely stating that if Section 2 requires VRA

        districts, those districts must be drawn first so that the remaining non-VRA districts

        can be drawn in compliance with the Whole County Provisions.

¶ 262          Legislative defendants here made the decision not to draw any VRA districts.

        As the trial court correctly noted, “[i]f the [l]egislative [d]efendants are incorrect that

        no VRA Districts are required, [p]laintiff Common Cause has an adequate remedy at
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        law and that is to bring a claim under Section 2 of the VRA.” There is no requirement

        under the North Carolina Constitution or federal law that the General Assembly

        must conduct a racially polarized voting analysis before enacting a redistricting plan.

        Here the trial court found that there was no showing that race was the predominant

        factor in drawing the districts. Similarly, the trial court concluded that the state

        legislative district plans did not violate the Whole County Provisions because the

        plans contained the minimum number of county traversals necessary to comply with

        one-person, one-vote principles and because the traversals were done predominantly

        in pursuit of traditional redistricting principles. Since the trial court formed these

        conclusions based upon findings of fact supported by competent evidence, its

        conclusions should be upheld.

¶ 263          Similar to our holding in Stephenson is People ex rel. Van Bokkelen v. Canaday,

        73 N.C. 198 (1875). There the General Assembly divided the City of Wilmington into

        three wards, with three aldermen elected in each ward. While the first and second

        wards each had about 400 voters, the third ward had 2800. Id. at 225. While the first

        and second wards each consisted of one precinct for registration and voting, the third

        ward had four precincts divided by a “meets and bounds” description which omitted

        a portion of the city. Id. at 223. To be eligible to vote, voters needed to register to vote

        in their assigned precincts. Lastly, the act required a ninety-day residency in the

        ward, whereas the constitution provided for thirty days. Id. at 216, 221. The Court
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        held that these obstacles to voting amounted to “the disfranchisement of the voters.”

        Id. at 223. Furthermore, it observed that the great disparity of voters in the third

        ward as compared to the others meant that a third ward voter’s vote was not equal.

        Id. at 225. The vote in the two wards “counts as much as seven votes in the third

        ward.” Id. This malapportionment was “a plain violation of fundamental principles.”

        Id. The “fundamental principle” is that representation shall be apportioned to the

        popular vote as near as may be. In other words, the Court recognized a basic one-

        person, one-vote principle. This case has no application to partisan gerrymandering.

        Notably, for the more than one hundred years since this case was decided, it has never

        been cited for the proposition for which the majority seeks to use it here.

¶ 264         Since 1776 this Court has exercised restraint absent an express limitation on

        the authority of the General Assembly. Moreover, this Court has long recognized that

        responsibilities reserved for the legislature are not reviewable by this Court because

        they raise political questions. In Howell v. Howell, 151 N.C. 575, 66 S.E. 571 (1909),

        the board of education in Haywood County created a school district and then held a

        vote to enable those in the district to determine whether a special tax should be

        imposed. Id. at 575–76, 66 S.E. at 572. A majority of the qualified voters in the newly

        drawn district voted in favor of the tax. Id. at 576, 66 S.E. at 572. The plaintiffs, who

        were taxpayers within that district, brought an action to annul creation of the special-

        tax school district and to enjoin collection of the tax. Id. at 575, 66 S.E. at 572. The
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        plaintiffs argued that the district was neither compact nor convenient, indicating to

        them that the district had been gerrymandered based on political views to ensure

        that a majority would vote in favor of the tax. Id. at 575–76, 66 S.E. at 572.

¶ 265         This Court, however, recognized that the creation of a special-tax school

        district was a legislative task, which at that time the legislature had delegated to

        local boards of education by a special act. Id. at 581, 66 S.E. at 572; see also Atwell C.

        McIntosh, Special Tax School Districts in North Carolina, 1 N.C. L. Rev. 88, 88–89

        (1922). As such, the Court noted that the board’s creation of the district was “no more

        subject to review than the act of the Legislature itself.” Howell, 151 N.C. at 581, 66

        S.E. at 574. Because “questions of compactness and convenience must be addressed

        to somebody’s judgment and discretion,” and because the duty to create districts at

        that time was “unequivocally delegate[d] . . . to the county board of education,” the

        plaintiffs’ challenge to the district’s creation and composition raised a political

        question. Id. at 578, 66 S.E. at 573. The Court also noted that “[f]or the courts to

        undertake to pass upon such matters would be manifestly unwise.” Id. at 578, 66 S.E.

        at 573. Moreover, the Court stated: “There is no principle better established than that

        the courts will not interfere to control the exercise of discretion on the part of any

        officer to whom has been legally delegated the right and duty to exercise that

        discretion.” Id. at 578, 66 S.E. at 573 (emphasis added).
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¶ 266         The      Court   expressed   its     concern   about   the   politically   motivated

        gerrymandering of special-tax districts to produce a favorable result and commented

        that perhaps “the overzealous overstep[ped] the limitations of prudence.” Id. at 582,

        66 S.E. at 574. Nonetheless, the Court recognized that a question about the creation

        of districts, even when a court disagrees with the district’s creation, raises a political

        question “to be fought out on the hustings”—or, through the political process—not

        through the judiciary. Id. at 581, 66 S.E. at 574. In recognition of the constitutionally

        assigned authority to the General Assembly, the Court held it was prohibited from

        interfering.

¶ 267         In sum, a matter is nonjusticiable if the constitution expressly assigns

        responsibility to one branch of government or there is not a manageable standard by

        which to decide it, including whether the matter involves a policy determination. Both

        elements are present here. In addition to the legislature’s plenary power, the

        constitution expressly assigns the General Assembly redistricting authority subject

        only to express limitations. The decision to implement a political fairness

        requirement in the constitution without explicit direction from the text inherently

        requires policy choices and value determinations and does not result in a neutral,

        manageable standard. Here this Court’s intrusion is a violation of separation of

        powers. By striking down the enacted plans as unconstitutional partisan

        gerrymanders, the majority today wholeheartedly ushers this Court into a new
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        chapter of judicial activism, severing ties with over two hundred years of judicial

        restraint in this area. The majority seizes this opportunity to advance its agenda by

        grafting a prohibition of partisan gerrymandering onto several provisions of the

        Declaration of Rights. A review of these provisions, however, demonstrates that none

        specifically address redistricting. They are designed to protect only “individual and

        personal rights” rather than a group’s right to have a party’s preferred candidate

        placed in office. The majority seems to concede that there is no express provision of

        the constitution which addresses partisan gerrymandering. Undeterred, it untethers

        itself from history and case law in this case to apply an evolving understanding to

        these rights.

                                  III.    Declaration of Rights

¶ 268         To properly understand what the drafters meant when they included various

        rights in the Declaration of Rights, and particularly the application, if any, they may

        have in structuring voting districts, the historical context of our apportionment and

        elections process is significant. As recognized by the trial court, North Carolina has

        had some form of elected, representative body since 1665.7 Leading up to the


              7 As early as 1663, the Lords Proprietors could enact laws in consultation with the

        freeman settled in their province. Charter Granted by Charles II, King of England to the
        Lords Proprietors of Carolina (Mar. 24, 1663), in 1 Colonial and State Records of North
        Carolina 23 (William L. Sanders ed., 1886). In 1665 certain “concessions” by the Lords
        Proprietors allowed for the formation of the predecessor to the General Assembly and the
        election of freeman representatives. Concessions and Agreement Between the Lords
        Proprietors of Carolina and William Yeamans, et al. (Jan. 7, 1665), in 1 Colonial and State
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enactment of the 1776 constitution, in 1774 the delegates of the First Provincial

Congress were elected by geographic location, by county or town. See Henry G.

Connor &amp; Joseph B. Cheshire, Jr., The Constitution of North Carolina Annotated xii–

xiv (1911). The text of the 1776 constitution established the General Assembly as the

Senate and the House of Commons. N.C. Const. of 1776, § I. Senators were elected

annually by county without regard to the population size of that county, id. § II, and

representatives were also elected annually but with two representatives per county

or specified town, id. § III. Only certain towns were included in the representation,

id. but other towns were later added.8 This apportionment was done at the same time

certain Declaration of Rights provisions, namely the popular sovereignty provision,

N.C. Const. of 1776, Declaration of Rights, § I, the free elections clause, id. at § VI,




Records of North Carolina 81 (William L. Sanders ed., 1886). The 1669 Fundamental
Constitutions of Carolina divided those representatives into counties, divided again into
precincts. The Fundamental Constitutions of Carolina (Mar. 1, 1669), in 1 Colonial and State
Records of North Carolina 188 (William L. Sanders ed., 1886). The assembly met every two
years and stood for election every two years. Id. at 199–200. Thus, long before the 1776
constitution, the people in Carolina were electing their representatives in districts.
       Later under the Royal Governor, the bicameral assembly consisted of an upper house
to advise the Royal Governor and a lower house that represented the people and their
interests. See Charles Lee Raper, North Carolina, A Study in English Colonial Government
71–100 (1904) [hereinafter English Colonial Government]. The lower house consisted of
freeman elected by county and certain towns. Id. at 89–91.
       8 The towns represented initially were Edenton, New Bern, Wilmington, Salisbury,

Hillsborough, and Halifax, while others were added over the years. John V. Orth, North
Carolina Constitutional History, 70 N.C. L. Rev. 1759, 1769 (1992) (discussing Article III of
the 1776 constitution and including that Fayetteville, for example, was added to that list in
1789).
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        and the right to assembly and petition, id. at § XVIII, were enacted. Given the

        apportionment provisions, clearly these clauses did not mean “equal voting power,”

        even based on population. Furthermore, partisan gerrymandering was well known to

        the framers, yet none of these provisions were crafted to address it. See Rucho, 139

        S. Ct. at 2496.

¶ 269         Through the years, the population of the state shifted radically from the east

        to the piedmont and west. John V. Orth, North Carolina Constitutional History, 70

        N.C. L. Rev. 1759, 1770–71 (1992). Nonetheless, the eastern region received

        additional representation. Id. at 1770. The General Assembly created smaller

        counties in the east and larger ones in the piedmont and west, tipping the numbers

        of representatives in favor of the east despite population growth trends in other areas.

        Id. at 1770–71. This county-town approach, combined with the power of the General

        Assembly to divide existing counties to create new ones, resulted in superior political

        power in the east despite the shift in population. See id. This malapportionment led

        to civil unrest and a crisis which culminated with the 1835 constitutional convention.

        John V. Orth &amp; Paul Martin Newby, The North Carolina State Constitution 3, 13 (2d

        ed. 2013) [hereinafter State Constitution]. No one argued that the provisions of the

        Declaration of Rights made the legislative apportionment acts unconstitutional.

¶ 270         In 1835 a constitutional convention met to, among other things, adjust the

        representative system to better address differences in population. See id. That
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        convention resulted in amendments that required senatorial districts to be drawn by

        the General Assembly based on the taxes paid by each county, N.C. Const. of 1776,

        amends. of 1835, art. I, § 1, and included the predecessor of the Whole County

        Provisions, see N.C. Const. art. II, § 3(3), that prohibited a county from being divided

        to create the senatorial districts, N.C. Const. of 1776, amends. of 1835, art. I, § 1.

        House seats were allotted based on population, allowing the more populated counties

        to have additional representatives. Id. art. I, § 2. Like today, the General Assembly

        was instructed to reconsider the apportionment of the counties based on population

        according to the census taken by order of Congress. Id. art. I, § 3. Each county was

        required to have at least one House representative. Id. art. I, § 2. Likewise, the

        convention implemented other changes to representation such as lengthening

        legislative terms from one year to two years, id. art. I, §§ 1–2, and allowing the voters

        to elect the governor, id. art. II, § 1.

¶ 271          The constitutional convention of 1868 placed the Declaration of Rights in

        Article I, the forefront of the constitution. See N.C. Const. of 1868, art. I. The

        convention added Article I, Section 1, incorporating the provision from the

        Declaration of Independence that acknowledged our God-given, equal rights. See id.

        art. I, § 1. Significant here, the Senate became apportioned by population. Id. art. II,

        § 5. Along with the express limitation imposed by the Whole County Provisions, the

        1868 amendments required senatorial districts to be contiguous and only be redrawn
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        in connection with the decennial census. Id. The convention lengthened the term of

        the governor to four years, id. art. III, § 1, and constitutionally created a separate

        judicial branch, see id. art. IV, with judges being elected by the voters for eight-year

        terms, id. art. IV, § 26.

¶ 272          For almost one hundred years, apportionment remained unchanged until the

        1960s. During that time, the Speaker of the House received the authority to apportion

        the House districts. N.C. Const. of 1868, amends. of 1961, art. II, § 5. Also, to comply

        with a federal lawsuit and the decision in Baker v. Carr, the constitution was

        amended in 1968 to reflect the one-person, one-vote requirement. State Constitution

        31. This change affected the structure of the House of Representatives in particular.

        Id. Significantly, the number of House members remained at 120, but the

        representatives were no longer apportioned by county; instead, the 120

        representatives were allotted among districts now drawn based on equal population.

        N.C. Const. of 1868, amends. of 1961, art. II, § 5. By the end of the 1960s, the same

        criteria for proper districts—equal population, contiguous territory, the Whole

        County Provisions, and reapportionment in conjunction with the decennial census—

        applied to both Senate and House districts. See N.C. Const. of 1868, amends. of 1967,

        art. II, §§ 4, 6.

¶ 273          The current version of our constitution, ratified by the people at the ballot box

        in 1971 along with five new amendments, came about as a “good government
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        measure,” State Constitution 32–33, or, in other words, an attempt to consolidate the

        1868 constitution and its subsequent amendments along with editorial and

        organizational revisions and amendment proposals. See, e.g., N.C. State Constitution

        Study Comm’n, Report of the North Carolina State Constitution Study Commission

        8–12 (1968).

¶ 274         Based upon our history and the constitutional structure, when the people had

        concerns about ineffective political representation, they addressed those concerns by

        amending the constitution itself, rather than relying on judicial amendment through

        litigation. Each of the provisions relevant to the claims here have existed since 1971,

        with some dating back to the 1776 constitution. They are all housed in Article I of our

        constitution, the Declaration of Rights. None of those clauses have been interpreted

        as a restriction on partisan considerations in redistricting—even after hundreds of

        years of apportionments and decades of redistricting litigation—until today.

¶ 275         The Declaration of Rights is an expressive yet nonexhaustive list of protections

        afforded to individual citizens against government intrusion, along with “the

        ideological premises that underlie the structure of government.” State Constitution

        46. The Declaration of Rights sets out “[b]asic principles, such as popular sovereignty

        and separation of powers,” which are “given specific application in later articles.” Id.

        As such, each provision within the Declaration of Rights must be considered with the

        related, more specific provisions of the constitution that outline the practical
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        workings for governance. That understanding comports with the general principles

        for interpreting all legal documents, treating statutes and constitutional text alike.9

¶ 276          The frequent elections provision provides a classic example of when a general

        principle set forth in the Declaration of Rights is practically developed by other

        constitutional text. Article I, Section 9 states: “For redress of grievances and for

        amending and strengthening the laws, elections shall be often held.” N.C. Const. art.

        I, § 9. This provision appeared in the original Declaration of Rights, see N.C. Const.

        of 1776, Declaration of Rights, § XX, and in 1776 “often” meant annual elections, see,

        e.g., N.C. Const. of 1776, §§ V, VI, XV. The frequency of elections changed in 1835

        through amendments providing for biannual legislative elections. N.C. Const. of

        1776, amends. of 1835, art. I, §§ 1, 2. Even though it changed the frequency of

        elections from one to two years, this constitutional amendment did not violate the

        stated goal to have frequent elections as a timely means of holding accountable an

        unresponsive elected legislature. The concept of frequent elections remained

        embodied in the biannual election cycle.




               9 Compare Piedmont Publ’g Co. v. City of Winston-Salem, 334 N.C. 595, 598, 434
        S.E.2d 176, 177–78 (1993) (“One canon of construction is that when one statute deals with a
        particular subject matter in detail, and another statute deals with the same subject matter
        in general and comprehensive terms, the more specific statute will be construed as
        controlling.”), with Preston, 325 N.C. at 449, 385 S.E.2d at 478 (“Issues concerning the proper
        construction of the Constitution of North Carolina ‘are in the main governed by the same
        general principles which control in ascertaining the meaning of all written instruments.’ ”
        (quoting Perry v. Stancil, 237 N.C. 442, 444, 75 S.E.2d 512, 514 (1953))).
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¶ 277         Similarly, the 1868 constitution for the first time set the three branches on

        different election cycles. For example, in recognition of its policymaking authority,

        the General Assembly stayed on a biannual election cycle, see N.C. Const. of 1868,

        art. II, §§ 3, 6; however, the executive officers received four-year terms, id. art. III,

        § 1, and the Justices of the Supreme Court received eight-year terms, id. art. IV, § 26.

        Did this change violate the frequent elections provision? The answer is no—the

        principle of “often” elections in the Declaration of Rights is defined by other provisions

        of the constitution.

¶ 278         This Court recently read a provision of the Declaration of Rights in Article I,

        Section 15 together with a more specific and applicable provision in Article IX, Section

        2. Deminski ex rel. C.E.D. v. State Bd. of Educ., 377 N.C. 406, 2021-NCSC-58, ¶ 14.

        Article I, Section 15 acknowledges the “right to the privilege of education” and the

        State’s duty “to guard and maintain that right.” N.C. Const. art. I, § 15. Placed in the

        working articles of the constitution, Article IX, entitled “Education,” see id. art. IX,

        actually “implements the right to education as provided in Article I,” Deminski, ¶ 14.

        This Court explained that “these two provisions work in tandem,” id. in that

                     “Article I, Section 15 and Article IX, Section 2 of the North
                     Carolina Constitution combine to guarantee every child of
                     this state an opportunity to receive a sound basic education
                     in our public schools.” Leandro [v. State], 346 N.C. [336],
                     347, 488 S.E.2d [249,] 255 [(1997).] . . . .

                           Further, Article I, Section 15 places an affirmative
                     duty on the government “to guard and maintain that
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                     right.” N.C. Const. art. I, § 15. Taken together, Article I,
                     Section 15 and Article IX, Section 2 require the government
                     to provide an opportunity to learn that is free from
                     continual intimidation and harassment which prevent a
                     student from learning. In other words, the government
                     must provide a safe environment where learning can take
                     place.

        Id. ¶¶ 14–15. Thus, to arrive at a proper and harmonious interpretation of the

        constitutional text, the Court read the principles regarding the privilege of education

        enshrined in our Declaration of Rights in conjunction with the specific application

        given to education in a later article. As done in Deminiski, this Court should construe

        the general provisions of the Declaration of Rights in harmony with the more specific

        provisions addressing redistricting.

¶ 279         Moreover, “[t]he civil rights guaranteed by the Declaration of Rights in Article

        I of our Constitution are individual and personal rights entitled to protection against

        state action.” Corum v. Univ. of N.C., 330 N.C. 761, 782, 413 S.E.2d 276, 289 (1992)

        (emphasis added); id. at 783, 413 S.E.2d at 290 (“Having no other remedy, our

        common law guarantees plaintiff a direct action under the State Constitution for

        alleged violations of his constitutional freedom of speech rights.” (emphases added)).

¶ 280         Finding     no    explicit   constitutional      provision   prohibiting   partisan

        gerrymandering, the majority creatively attempts to mine the Declaration of Rights

        to find or create some protection for a political group’s right to their preferred form of

        representation and a “fair” share of the “voting power.” The majority seems to say
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that this entitlement is based on the political party registrants associated with that

group. Under a Corum analysis, however, an individual plaintiff has a direct cause

of action against state officials who, acting in their official capacity, violate his

constitutional rights as protected by the Declaration of Rights. Id. at 783–84, 413

S.E.2d at 290; see Deminski, ¶¶ 16–18 (outlining the Corum framework as the legal

mechanism for bringing a proper claim under the Declaration of Rights).10 Even when

considering a self-identified class of individuals, such as self-selection of political

affiliation, the Court has concluded that the Declaration of Rights protects the

individual’s rights, not the political group’s rights. Libertarian Party of N.C. v. State,

365 N.C. 41, 49, 707 S.E.2d 199, 204–05 (2011) (explaining that casting votes in

alignment with political beliefs implicates “individual associational rights”

(emphasis added)). This principle rings true even when alleging a violation of an

associational right such as those implicated in the free speech and assembly clauses.

Id. at 49, 707 S.E.2d at 204–05 (“In North Carolina, statutes governing ballot access

by political parties implicate individual associational rights rooted in the free speech

and assembly clauses of the state constitution.” (emphasis added) (citing N.C. Const.

art. I, §§ 12, 14)). Nonetheless, in the majority’s view, “political equality” based on a




       10 The holdings in Corum and Deminiski did not expand the role of the Court in
remedying violations of constitutional rights as protected by the Declaration of Rights.
Rather, like in Bayard, those cases involved the Court’s interpretation of express provisions
within the text of the constitution.
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        group’s party affiliation is a fundamental, albeit unwritten, principle of the

        Declaration of Rights akin to an immutable characteristic that deserves the highest

        form of protection under the state constitution.

¶ 281         Contrary to the majority’s assertion, even a cursory review of the applicable

        history and case law supports the basic understanding that the Declaration of Rights

        protects individual rights such as the freedom of an individual to vote his conscience

        in an election which is free from fraud. The individual right to participate in a “free

        election” does not include the right to have one’s preferred candidate elected or a

        political group’s right to proportional representation. Moreover, because “a

        constitution cannot violate itself,” Leandro, 346 N.C. at 352, 488 S.E.2d at 258, this

        Court must construe Article II, Sections 3 and 5 and the provisions that the majority

        relies upon—Article I, Sections 10, 12, 14, and 19—harmoniously. We address each

        provision in turn.

        A. Free Elections Clause

¶ 282         Article I, Section 10 states that “[a]ll elections shall be free.” N.C. Const. art.

        I, § 10. The clause first appears in the 1776 constitution, providing that “[t]he election

        of members, to serve as representatives, ought to be free.” N.C. Const. of 1776,

        Declaration of Rights, § VI.11 The 1868 constitution restated the free elections clause



              11 Under the 1776 constitution, the members of the General Assembly were the only

        elected officials. The General Assembly thus had the exclusive power to: (1) elect the
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        as “[a]ll elections ought to be free.” N.C. Const. of 1868, art. I, § 10. Even though the

        word “ought” in both the 1776 and 1868 constitutions was changed to “shall” in the

        1971 constitution, this change is not a substantive revision to the free elections

        clause. See Report of the North Carolina State Constitution Study Commission 73–75;

        see also Smith v. Campbell, 10 N.C. (3 Hawks) 590, 598 (1825) (declaring that “ought”

        is synonymous with “shall,” noting that “the word ought, in this and other sections of

        the [1776 constitution], should be understood imperatively”). “Free” means having

        political and legal rights of a personal nature or enjoying personal freedom, a “free

        citizen,” or having “free will” or choice, as opposed to compulsion, force, constraint, or

        restraint. See Free, Black’s Law Dictionary (11th ed. 2019). As a verb, “free” means

        to liberate or remove a constraint or burden. Id. Therefore, giving the provision its

        plain meaning, “free” means “free from interference or intimidation.” State

        Constitution 56.12

¶ 283          While the provision protects the voter, it also protects candidates; however,

        there are limits. The terms “elections” and “free,” N.C. Const. art. I, § 10, must be


        Governor, N.C. Const. of 1776, § XV; (2) appoint the Attorney-General, id. § XIII; (3) appoint
        Judges of the Supreme Courts of Law and Equity and Judges of Admiralty, id.; (4) appoint
        the general and field officers of the militia, id. § XIV; (5) elect the council of State, id. § XVI;
        (6) appoint a treasurer or treasurers of the State, id. § XXII; (7) appoint the Secretary of
        State, id. § XXIV; and (8) recommend the appointment of Justices of the Peace to the
        Governor who shall commission them accordingly, id. § XXXIII.
               12 The full text of the Virginia Declaration of Rights, from which the North Carolina

        free elections clause was taken, provides a clearer idea of the intention behind the text.
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        read, for example, in the context of Article VI, entitled “Suffrage and Eligibility to

        Office,” see id. art. VI. Even though “elections shall be free,” they are nonetheless

        restricted in certain ways in Article VI. See, e.g., N.C. Const. art. VI, § 1 (requiring a

        North Carolina voter to be a citizen of the United States and at least 18 years old);

        id. § 2(1)–(2) (placing residency requirements on voters); id. § 2(3) (placing

        restrictions on felons’ voting rights); id. § 3 (allowing for conditions on voter

        registration as prescribed by statute); id. § 5 (requiring that votes by the people be by

        ballot); id. § 7 (requiring public officials to take an oath before assuming office); id.

        § 8 (outlining certain disqualifications from holding public office); id. § 9 (prohibiting

        dual office holding); id. § 10 (allowing an incumbent to continue in office until a

        successor is chosen and qualified).

¶ 284          Based on our constitution’s plain language and history, the framers had a

        specific meaning of the free elections clause. With respect to the history of the clause,

        the trial court found that inclusion of the clause was intended to protect against

        abuses of executive power, not to protect the people from their representatives who


                      That elections of members to serve as representatives of the
                      people, in Assembly ought to be free; and that all men, having
                      sufficient evidence of permanent common interest with, and
                      attachment to, the community, have the right of suffrage and
                      cannot be taxed or deprived of their property for public uses
                      without their own consent or that of their representatives so
                      elected, nor bound by any law to which they have not, in like
                      manner, assented for the public good.
        Va. Const. of 1776, Declaration of Rights, § 6.
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frequently face election by the people.13 For the same reason, the 1776 constitution

allowed the General Assembly to elect the Governor. N.C. Const. of 1776, § XV. The

trial court found in part:



      13 The trial court found in part:


                    . . . [T]he words as originally used in the English Bill of
             Rights ([1689]) were crafted in response to abuses and
             interference by the Crown in elections for members of
             parliament which included changing the electorate in different
             areas to achieve electoral advantage. J.R. Jones, The
             Revolution of 1688 in England, 148 (1972). . . . Examining the
             North Carolina Free Elections Clause in a greater context gives
             a complete understanding to its meaning.
                    . . . At the time of the Glorious Revolution, King James
             II embarked on a campaign to pack Parliament with members
             sympathetic to him in an attempt to have laws that penalized
             Catholics and criminalized the practice of Catholicism
             repealed. After failing in his attempt to pack parliament, King
             James II was ultimately overthrown and fled England, paving
             the way for King William and Queen Mary to rule together. As
             a condition of King William and Queen Mary’s assumption of
             the throne, they were required to sign the English Declaration
             of Rights which resulted in limiting the powers of the Crown
             and an increase in power to Parliament, most notably in the
             House of Commons.
                     . . . The Glorious Revolution and the resulting English
             Bill of Rights were the beginning of a constitutional monarchy.
             While the English Bill of Rights, in part, sought to address the
             Crown’s interference with the affairs of Parliament, there is no
             indication that the English Free Election Clause was directed
             at anyone but the Crown, much less a restriction on the power
             of Parliament. In fact, the opposite seems true. The English
             Bill of Rights reflected a shift in power from the Crown, who
             generally acted to protect its own interest, to the House of
             Commons in Parliament, whose members were elected by the
             people. Because the English Bill of Rights did not abolish the
             monarchy, provisions were necessary to provide protection to
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the elected members of parliament from interference by the
Crown.
       . . . By the time the Virginia Declaration of Rights and
the North Carolina Declaration of Rights and Constitution
were passed, the Glorious Revolution had been over for almost
a century. It is safe to say that none of the drafters of the 1776
Constitution were alive during the Glorious Revolution or the
establishment of the English Bill of Rights and their
experiences and concerns did not arise from direct interactions
with the Crown, but instead from direct interactions with the
Royal Governors and their Council who represented the
interests of the Crown. Moreover, the Royal Governors were
representatives of a constitutional monarch, unlike the
monarchs who claimed the throne through divine right before
and up to the signing of the English Bill of Rights.
        . . . Under colonial rule, the North Carolina Royal
Governor had veto power, as no law could be passed without
his consent. While his instructions did not allow him to
determine the manner of electing members to the House of
Burgesses or set the number of members, they did allow him to
dissolve the House of Burgesses. [English Colonial
Government], at 35. The instructions to the Royal Governor
also allowed him to issue charters of incorporation for towns
and counties from which representatives would be elected.
        . . . No doubt there were tensions between the House of
Burgesses and the Governor from 1729 to 1776. In 1746, in an
effort to give equal representation to each county, as the newer
counties were given fewer representatives in the House of
Burgesses, the Royal Governor moved the legislature to
Wilmington where representatives of the larger counties would
not travel, giving the smaller counties effective control of the
lower house. As a result, the legislature passed legislation
giving each county two representatives in the assembly. This
remained in effect until 1754 when the legislation was repealed
by the Crown. [English Colonial Government, at] 90–91.
       ....
      . . . At times, the House of Burgesses refused to seat new
members from counties created by the Governor. The dispute
was not necessarily that the Governor did not have the
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                     Upon the adoption of the 1776 Constitution, the
              Royal Governor, who represented and protected the
              interest of the Crown, was replaced by a Governor chosen
              by the General Assembly. N.C. Const. of 1776, § XV. . . .

                     . . . The circumstances under which the English Free
              Election Clause was written were far different than those
              which caused the same language to be used in the 1776
              Constitution.

                     ....

                    . . . Any argument that the Free Elections Clause
              placed limits on the authority of the General Assembly to
              apportion seats flies in the face of the overwhelming
              authority given to the General Assembly in the 1776
              Constitution. . . .

                    . . . Much like the English Bill of Rights, the 1776
              Constitution shifted power to the elected representatives of
              the people.

As noted by the trial court, under the 1776 constitution, voters did not vote for any

executive branch members, including the governor, nor did voters elect judges. The

General Assembly selected the members of the executive and judicial branches. See

N.C. Const. of 1776, §§ XIII, XV, XXII, XXIV. Despite the existence of the free

elections clause, under this constitutional structure, the voter did not have the right



              authority, but the House believed they had a role in the process
              in the creation of counties. [English Colonial Government,] at
              89–90.
As the trial court found, aside from disputes over representation, the lower house fought
the Royal Governor over a myriad of issues, including the right to establish a quorum for
the legislature and, most seriously, over fiscal matters and the appointment of judges.
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        to vote for these offices at all and certainly was not entitled to see his preferred

        candidate in office.

¶ 285         Because of its plain meaning, this Court has issued few opinions interpreting

        the free elections clause though it has been part of our constitution since 1776. The

        first instance was in State ex rel. Swaringen v. Poplin, 211 N.C. 700, 191 S.E. 746
        (1937), in which the plaintiff, a candidate who ostensibly lost an election for the office

        of county commissioner of Wilkes County, brought a quo warranto action, alleging

        that the Wilkes County Board of Elections fraudulently deprived him of the office by

        altering the vote count. Id. at 700–01, 191 S.E. at 746. In response, the defendant

        argued the plaintiff’s complaint failed to state facts sufficient to constitute a cause of

        action. Id. at 701, 191 S.E. at 746. After the trial court rejected the defendant’s

        argument, the defendant appealed, arguing that it was the sole duty of the County

        Board of Elections, rather than the judiciary, “to judicially determine the result of the

        election from the report and tabulation made by the precinct officials.” Id. at 701, 191

        S.E.2d at 747. In affirming the trial court’s decision, we provided the following

        rationale:

                     One of the chief purposes of quo warranto or an information
                     in the nature of quo warranto is to try the title to an office.
                     This is the method prescribed for settling a controversy
                     between rival claimants when one is in possession of the
                     office under a claim of right and in the exercise of official
                     functions or the performance of official duties; and the
                     jurisdiction of the Superior Court in this behalf has never
                     been abdicated in favor of the board of county canvassers
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                     or other officers of an election.

                           In the present case fraud is alleged. The courts are
                     open to decide this issue in the present action. In Art. I, sec.
                     10, of the Constitution of North Carolina, we find it
                     written: “All elections ought to be free.” Our government is
                     founded on the consent of the governed. A free ballot and a
                     fair count must be held inviolable to preserve our
                     democracy. In some countries the bullet settles disputes, in
                     our country the ballot.

        Id. at 702, 191 S.E. at 747 (internal citations omitted) (quoting N.C. Const. of 1868,

        art. I, § 10). Therefore, we interpreted “free” to mean the right to an honest vote count,

        free from fraud.

¶ 286         The next time we addressed the merits of a free election claim was in Clark v.

        Meyland, 261 N.C. 140, 134 S.E.2d 168 (1964). The plaintiff in Clark challenged a

        statute that required voters wishing to change their party affiliation to first take an

        oath with the following language: “I will support the nominees of the party to which

        I am now changing my affiliation in the next election and the said party nominees

        thereafter until I shall, in good faith, change my party affiliation in the manner

        provided by law.” Id. at 140, 134 S.E.2d at 169. We held that the provision in the

        statute requiring certain provisions of the oath was invalid, explaining that:

                     Any elector who offers sufficient proof of his intent, in good
                     faith, to change his party affiliation cannot be required to
                     bind himself by an oath, the violation of which, if not
                     sufficient to brand him as a felon, would certainly be
                     sufficient to operate as a deterrent to his exercising a free
                     choice among available candidates at the election––even by
                     casting a write-in ballot. His membership in his party and
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                     his right to participate in its primary may not be denied
                     because he refuses to take an oath to vote in a manner
                     which violates the constitutional provision that elections
                     shall be free. Article I, Sec. 10, Constitution of North
                     Carolina.

                             When a member of either party desires to change his
                     party affiliation, the good faith of the change is a proper
                     subject of inquiry and challenge. Without the objectionable
                     part of the oath, ample provision is made by which the
                     officials may strike from the registration books the names
                     of those who are not in good faith members of the party.
                     The oath to support future candidates violates the principle
                     of freedom of conscience. It denies a free ballot––one that is
                     cast according to the dictates of the voter’s judgment. We
                     must hold that the Legislature is without power to shackle
                     a voter’s conscience by requiring the objectionable part of
                     the oath as a price to pay for his right to participate in his
                     party’s primary.

        Id. at 142–43, 134 S.E.2d at 170 (emphases added) (citing N.C. Const. of 1868, art. I,

        § 10). Thus, we interpreted “free” to mean freedom to vote one’s conscience.

        Nonetheless, an inquiry into the sincerity of one’s desire to change parties did not

        violate the clause.

¶ 287         The majority judicially amends the free elections clause to read “elections shall

        be free from depriving a voter of substantially equal voting power on the basis of party

        affiliation” with the voting power to be measured by modern political science analysis.

        To believe that the framers of this provision in 1776 or the people who ultimately

        adopted it in subsequent constitutions had even a vague notion that the clause had

        this unbounded meaning is absurd. The mandated political science methods did not
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        even exist. Our hundreds of years of constitutional history confirms that this creative

        idea has no support in our history or case law.

¶ 288         Based upon this Court’s precedent with respect to the free elections clause, a

        voter is deprived of a “free” election if (1) the election is subject to a fraudulent vote

        count, see Poplin, 211 N.C. at 702, 191 S.E. at 747, or (2) a law prevents a voter from

        voting according to one’s judgment, see Clark, 261 N.C. at 142, 134 S.E.2d at 170.

        Therefore, the free elections clause must be read in harmony with other constitutional

        provisions such as Article VI, that limits who can vote and run for office. Free

        elections must be absent of fraud in the vote tabulation. The free elections clause was

        not meant to restrict the General Assembly’s presumptively constitutional ability to

        engage in partisan gerrymandering.

        B. Equal Protection Clause

¶ 289         Next, the majority claims its decision is supported by the equal protection

        clause. Article I, Section 19 provides, in relevant part, that “[n]o person shall be

        denied the equal protection of the laws; nor shall any person be subjected to

        discrimination by the State because of race, color, religion, or national origin.” N.C.

        Const. art. I, § 19. With respect to the history of this clause, the trial court found as

        follows:

                     The Equal Protection Clause came into existence as part of
                     the ratification of the 1971 Constitution . . . . The addition
                     of the Equal Protection Clause, while a substantive change,
                     was not meant to “bring about a fundamental change” to
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             the power of the General Assembly. Report of Study
             Comm’n at 10.

This Court reviews claims brought under the equal protection clause as follows:

                   Traditionally, courts employ a two-tiered scheme of
             analysis when an equal protection claim is made.

                     When a governmental act classifies persons in terms
             of their ability to exercise a fundamental right, or when a
             governmental classification distinguishes between persons
             in terms of any right, upon some “suspect” basis, the upper
             tier of equal protection analysis is employed. Calling for
             “strict scrutiny”, this standard requires the government to
             demonstrate that the classification is necessary to promote
             a compelling governmental interest.

                    When an equal protection claim does not involve a
             “suspect class” or a fundamental right, the lower tier of
             equal protection analysis is employed. This mode of
             analysis merely requires that distinctions which are drawn
             by a challenged statute or action bear some rational
             relationship to a conceivable legitimate governmental
             interest.

                    For strict scrutiny to be properly applied in
             evaluating an equal protection claim, it is necessary that
             there be a preliminary finding that there is a suspect
             classification or an infringement of a fundamental right. It
             has been held that a class is deemed “suspect” when it is
             saddled with such disabilities, or subjected to such a
             history of purposeful unequal treatment, or relegated to
             such a position of political powerlessness as to command
             particular consideration from the judiciary. The underlying
             rationale of the theory of suspect classification is that
             where legislation or governmental action affects discrete
             and      insular    minorities,   the     presumption     of
             constitutionality fades because the traditional political
             processes may have broken down.

Texfi Indus., Inc. v. City of Fayetteville, 301 N.C. 1, 10–11, 269 S.E.2d 142, 149 (1980)
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        (internal citations omitted).

¶ 290          Classification based upon affiliation with one of the two major political parties

        in the United States—especially the Democratic Party in North Carolina14—does not

        trigger heightened scrutiny because neither party has historically been relegated to

        a position of political powerlessness. Allegations of partisan gerrymandering likewise

        do not trigger heightened scrutiny because the practice of partisan gerrymandering

        alone does not constitute “an infringement of a fundamental right.” Id. at 11, 269

        S.E.2d at 149.

¶ 291          This Court has explained that “[t]he right to vote on equal terms is a

        fundamental right.” Northampton Cnty. Drainage Dist. No. One v. Bailey, 326 N.C.

        742, 747, 392 S.E.2d 352, 356 (1990) (emphasis added). The fundamental right to vote

        on equal terms simply means that each vote should have the same weight. This is a

        simple mathematical calculation. Rucho, 139 S. Ct. at 2501. The historic

        understanding of equal voting power is stated in Article II, Sections 3(1) and 5(1),

        requiring that legislators “represent, as nearly as may be, an equal number of

        inhabitants.” Party affiliation is not mentioned. This understanding of equal voting

        power meaning one-person, one-vote is supported by our cases such as Stephenson



               14 The trial court found that “[b]etween 1870 and 2010, the Democratic Party at all

        times controlled one or both houses of the General Assembly.” This finding, which is binding
        on appeal, demonstrates that throughout North Carolina’s history, members of the
        Democratic Party certainly have not been relegated to a position of political powerlessness.
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        and Canaday. To reach its approved application of the equal protection clause, the

        majority begins by radically changing the meaning of the fundamental right to vote.

        It takes this individual right and transforms it into a right to “substantially equal

        voting power on the basis of party affiliation” and then declares a right to statewide

        proportional representation. In its unparalleled distortion of the right to vote, it

        singles out equal representation based on political affiliation, i.e., the two major

        political parties. What about the unaffiliated voters or voters in “non-partisan,” issue-

        focused groups organized for political influence? Of course, nothing about this

        approach is supported by the constitutional text or case law.

¶ 292         Only when a redistricting enactment infringes upon the “right to vote on equal

        terms for representatives” does heightened scrutiny apply. See Stephenson, 355 N.C.

        at 378, 562 S.E.2d at 393 (“The classification of voters into both single-member and

        multi-member districts within [the same redistricting plan] necessarily implicates

        the fundamental right to vote on equal terms, and thus strict scrutiny is the

        applicable standard.”); Blankenship v. Bartlett, 363 N.C. 518, 518, 523–24, 681 S.E.2d

        759, 763–64, 766 (2009) (applying heightened scrutiny where the plaintiffs showed a

        “gross disparity in voting power” because some judicial districts had five times the

        population of others). The “right to vote on equal terms” has been carefully defined in

        our case law.
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¶ 293         In Stephenson this Court explained that “[t]he classification of voters into both

        single-member and multi-member districts [in the same redistricting plan]

        necessarily implicates the fundamental right to vote on equal terms.” 355 N.C. at 378,

        562 S.E.2d at 393. We reasoned that

                     voters in single-member legislative districts, surrounded
                     by multi-member districts, suffer electoral disadvantage
                     because, at a minimum, they are not permitted to vote for
                     the same number of legislators and may not enjoy the same
                     representational influence or “clout” as voters represented
                     by a slate of legislators within a multi-member district.

        Id. at 377, 562 S.E.2d at 393 (emphasis added).

¶ 294         Likewise, in Blankenship the plaintiffs demonstrated a “gross disparity in

        voting power between similarly situated residents of Wake County” by making the

        following showing:

                     In Superior Court District 10A, the voters elect one judge
                     for every 32,199 residents, while the voters of the other
                     districts in Wake County, 10B, 10C, and 10D, elect one
                     judge per every 140,747 residents, 158,812 residents, and
                     123,143 residents, respectively. Thus, residents of District
                     10A have a voting power roughly five times greater than
                     residents of District 10C, four and a half times greater than
                     residents of District 10B, and four times greater than
                     residents of District 10D.

        363 N.C. at 527, 681 S.E.2d at 766. We explained that the above showing implicated

        the fundamental “right to vote on equal terms in representative elections—a one-

        person, one-vote standard,” and we thus employed a heightened scrutiny analysis. Id.

        at 522, 681 S.E.2d at 762–63.
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¶ 295          Unlike the classifications in        Stephenson and Blankenship, partisan

        gerrymandering has no significant impact upon the right to vote on equal terms under

        the one-person, one-vote standard. In other words, an effort to gerrymander districts

        to favor a political party does not alter voting power so long as voters are permitted

        to (1) vote for the same number of representatives as voters in other districts and (2)

        vote as part of a constituency that is similar in size to that of the other districts.

        Therefore, because partisan gerrymandering does not infringe upon a fundamental

        right, rational basis review applies. As such, read in harmony with Article II, Sections

        3 and 5, Article I, Section 19 only prohibits redistricting plans that fail to “bear some

        rational relationship to a conceivable legitimate governmental interest.” Texfi, 301

        N.C. at 11, 269 S.E.2d at 149.15 Our understanding of the equal protection clause has

        been informed by federal case law interpreting the Federal Equal Protection Clause.

        See Rucho, 139 S Ct. at 2506–07 (finding no manageable standards for assessing

        partisan considerations in redistricting despite claims that the federal Equal

        Protection Clause had been violated). The plan here does not violate the equal

        protection clause.




               15 Here the enacted plans pass rational basis review because they are rationally
        related to the General Assembly’s legitimate purpose of redrawing the legislative districts
        after each decennial census.
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        C. Freedom of Assembly and Freedom of Speech Clauses

¶ 296         The majority also engrafts new meaning into Article I, Sections 12 and 14.

        These sections provide as follows:

                     Sec. 12. Right of assembly and petition.
                            The people have a right to assemble together to
                     consult for their common good, to instruct their
                     representatives, and to apply to the General Assembly for
                     redress of grievances; but secret political societies are
                     dangerous to the liberties of a free people and shall not be
                     tolerated.

                     ....

                     Sec. 14. Freedom of speech and press.
                            Freedom of speech and of the press are two of the
                     great bulwarks of liberty and therefore shall never be
                     restrained, but every person shall be held responsible for
                     their abuse.

        N.C. Const. art. I, §§ 12, 14. The trial court made the following findings with respect

        to the history of these clauses:

                     Like the Equal Protection Clause, the Free Speech Clause
                     was added to the Freedom of the Press Clause as part of
                     the 1971 Constitution . . . . The addition of the Free Speech
                     Clause, while a substantive change, was not meant to
                     “bring about a fundamental change” to the power of the
                     General Assembly. Report of Study Comm’n at 10.

                            ....

                           . . . The Freedom of Assembly Clause first appeared
                     in the Declaration of Rights set forth in the 1776
                     Constitution and provided that “the people have a right to
                     assemble together, to consult for their common good, to
                     instruct their Representatives, and to apply to the
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                     Legislature, for redress of grievances.” 1776 Const. Decl. of
                     Rights XVII. The Freedom of Assembly Clause was
                     modified by the 1868 Constitution by deleting the first
                     word of the clause “that.” 1868 Const. art. I, § 26.
                     Amendments were again made to the Freedom of Assembly
                     Clause with the ratification of the 1971 Constitution . . . .
                     The change to the Freedom of Assembly Clause was not
                     meant as a substantive change, nor was it meant to “bring
                     about a fundamental change” to the power of the General
                     Assembly. Rept. of Study Comm’n at 10.

¶ 297         The right to free speech is violated when “restrictions are placed on the

        espousal of a particular viewpoint,” State v. Petersilie, 334 N.C. 169, 183, 432 S.E.2d

        832, 840 (1993), or where retaliation motivated by the contents of an individual’s

        speech would deter a person of reasonable firmness from engaging in speech or

        association, Toomer v. Garrett, 155 N.C. App. 462, 477–78, 574 S.E.2d 76, 89 (2002)

        (explaining that the test for a retaliation claim requires a showing “that the plaintiff

        . . . suffer[ed] an injury that would likely chill a person of ordinary firmness from

        continuing to engage” in a “constitutionally protected activity,” including First

        Amendment activities), appeal dismissed and disc. rev. denied, 357 N.C. 66, 579

        S.E.2d 576 (2003); see Evans v. Cowan, 132 N.C. App. 1, 11, 510 S.E.2d 170, 177
        (1999) (determining “there was no forecast of evidence” to support a retaliation

        claim).

¶ 298         Partisan gerrymandering plainly does not place any restriction upon the

        espousal of a particular viewpoint. Rather, redistricting enactments in North

        Carolina are subject to the typical policymaking customs of open debate and
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        compromise. See Berger, 368 N.C. at 653, 781 S.E.2d at 261 (noting that the structure

        of the legislature “ensures healthy review and significant debate of each proposed

        statute, the enactment of which frequently reaches final form through compromise”).

        As such, opponents of a redistricting plan are free to voice their opposition.

¶ 299         Moreover, partisan gerrymandering—and public disdain for the practice—has

        been ubiquitous throughout our state’s history. See Rucho, 139 S. Ct. at 2494
        (“Partisan gerrymandering is nothing new. Nor is frustration with it. The practice

        was known in the Colonies prior to Independence, and the Framers were familiar

        with it at the time of the drafting and ratification of the Constitution.”) As such, it is

        apparent that a person of ordinary firmness would not refrain from expressing a

        political view out of fear that the General Assembly will place his residence in a

        district that will likely elect a member of the opposing party. See Toomer, 155 N.C.

        App. at 477–78, 574 S.E.2d at 89. It is plausible that an individual may be less

        inclined to voice his political opinions if he is unable to find someone who will listen.

        Article I, Sections 12 and 14, however, guarantee the rights to speak and assemble

        without government intervention, rather than the right to be provided a receptive

        audience. See Minn. State Bd. for Cmty. Colls. v. Knight, 465 U.S. 271, 286, 104 S. Ct.

        1058, 1066 (1984) (stating that individuals “have no constitutional right as members

        of the public to a government audience for their policy views”); Johnson v. Wisc.

        Elections Comm’n, 967 N.W.2d 469, 487 (Wis. 2021) (“Associational rights guarantee
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        the freedom to participate in the political process; they do not guarantee a favorable

        outcome.” (emphasis added)).

¶ 300         This Court and the Court of Appeals have interpreted speech and assembly

        rights in alignment with federal case law under the First Amendment. See Petersilie,

        334 N.C. at 184, 432 S.E.2d at 841; Feltman v. City of Wilson, 238 N.C. App. 246,

        252–53, 767 S.E.2d 615, 620 (2014); State v. Shackelford, 264 N.C. App. 542, 552, 825

        S.E.2d 689, 696 (2019). As discussed at length in Rucho, the Supreme Court of the

        United States found no manageable standards for assessing partisan considerations

        in redistricting despite having the similar express protections of speech and assembly

        rights. Rucho, 139 S. Ct. at 2505–07. Therefore, when interpreted in harmony with

        Article II, Sections 3 and 5, it is clear that Article I, Sections 12 and 14 do not limit

        the General Assembly’s presumptively constitutional authority to engage in partisan

        gerrymandering. As with the prior Declaration of Rights clauses, there is nothing in

        the history of the clauses nor the applicable case law that supports the majority’s

        expanded use of them.

        D. Summary

¶ 301         In summary, none of the constitutional provisions cited by plaintiffs prohibit

        the practice of partisan gerrymandering. Each must be read in harmony with the

        more specific provisions that outline the practical workings for governance. Notably,

        Article II, Sections 3 and 5 outline the practical workings of the General Assembly’s
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        redistricting authority. These provisions contain only four express limitations on the

        General Assembly’s otherwise plenary power, none of which address partisan

        gerrymandering. Therefore, because the constitution expressly assigns to the General

        Assembly the authority to redistrict, and this Court is without any satisfactory or

        manageable standards to assess redistricting decisions by the legislative branch, we

        should not and cannot adjudicate partisan gerrymandering claims. The claims here

        present a nonjusticiable political question, and this Court’s intrusion violates

        separation of powers.

¶ 302         Recognizing that there is no explicit constitutional provision supporting its

        position, the majority resorts to an evolving understanding to support its expansive

        approach. The majority cites Article I, Sections 1 and 2 as supporting its statewide

        proportionality argument. See N.C. Const. art. I, § 1 (“We hold it to be self-evident

        that all persons are created equal; that they are endowed by their Creator with

        certain inalienable rights; that among these are life, liberty, the enjoyment of the

        fruits of their own labor, and the pursuit of happiness.”); id. § 2 (“All political power

        is vested in and derived from the people; all government of right originates from the

        people, is founded upon their will only, and is instituted solely for the good of the

        whole.”). Undoubtedly, Article I, Sections 1 and 2, are bedrock constitutional

        principles, recognizing that all are created equal and endowed with God-given rights

        and acknowledging that all political power originates and is derived from the people.
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        Neither provision speaks expressly to limitations on the General Assembly’s

        authority to redistrict. Undeterred, however, the majority reads into our constitution

        a proportionality requirement which appears to be more akin to the European

        parliamentary system, rather than the American system. Furthermore, the “will of

        the people” is expressed in the words of our constitution. The best way to honor the

        “will of the people” is to interpret the constitution as written and as the drafters

        intended. At no point in 1776, 1835, 1868, or 1971 did the drafters or refiners intend

        for the selected provisions of the Declaration of Rights to limit the legislature’s

        authority to redistrict. The limitations the people placed upon the General Assembly

        regarding redistricting are expressly stated in Article II, Sections 3 and 5.

¶ 303         The people expressed their will in the 2020 election, which utilized

        constitutionally compliant maps. Knowing that the 2021 General Assembly would be

        tasked with redistricting, the people elected them. Nonetheless, the majority says it

        is simply “recur[ing] to fundamental principles.” Its analysis and remedies, however,

        are new, not fundamental. Judicially modified constitutional provisions and judicial

        intrusion into areas specifically reserved for the legislative branch are not a

        “recurrence to fundamental principles.” Rather, the decisions of the majority are a

        significant departure threatening “the blessings of liberty.”
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                                         IV.     Remedy

¶ 304         The majority’s remedy mandates its approved political scientists and their

        approaches. Apparently, the majority’s policy decisions guide these selections. The

        majority’s required timeline is arbitrary and seems designed only to ensure this

        Court’s continued direct involvement in this proceeding. Instead of following our

        customary process of allowing the trial court to manage the details of a case on

        remand, the majority mandates a May 2022 primary. No reason is given, nor does

        one exist for not allowing the trial court to manage the remand schedule, including,

        if necessary, further delaying the primary.

¶ 305         The majority defines “partisan advantage” as “achieving a political party’s

        advantage across a map incommensurate with its level of statewide voter support.”

        The majority also defines “political fairness” as “the effort to apportion to each

        political party a share of seats commensurate with its level of statewide support.”

        These definitions demonstrate the majority’s desire to judicially amend our

        constitution to include a requirement of statewide proportional representation. See

        Proportional representation, Black’s Law Dictionary (11th ed. 2014) (“An electoral

        system that allocates legislative seats to each political group in proportion to its

        actual voting strength in the electorate.”) Just as there is no proportionality

        requirement in our constitution, there is none in the Federal Constitution: “Our cases,

        however, clearly foreclose any claim that the Constitution requires proportional
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        representation or that legislatures in reapportioning must draw district lines to come

        as near as possible to allocating seats to the contending parties in proportion to what

        their anticipated statewide vote will be.” Rucho, 139 S. Ct. at 2499 (quoting

        Bandemer, 478 U.S. at 130, 106 S. Ct. at 2809).

¶ 306         The majority asserts that

                     [i]f constitutional provisions forbid only what they were
                     understood to forbid at the time they were enacted, then
                     the free elections clause has nothing to say about slavery
                     and the complete disenfranchisement of women and
                     minorities. In short, the dissent’s view compels the
                     conclusion that there is no constitutional bar to denying
                     the right to vote to women and black people.

        This claim is wholly unfounded. Slavery was officially abolished by the Thirteenth

        Amendment to the United States Constitution ratified in 1865. Article I, Section 17,

        of the 1868 state constitution explicitly prohibits slavery. N.C. Const. of 1868, art. I,

        § 17. Similarly, the Nineteenth Amendment to the United States Constitution gave

        women the right to vote. The state constitution was modified accordingly. See N.C.

        Const. art. VI, § 1. As discussed elsewhere, the free election and assembly clauses

        were enacted in 1776 and were never applied to voter qualifications. Free speech and

        equal protection clauses were added to the state constitution in 1971, after equal

        voting qualifications were established. In sum, the issues raised by the majority are

        specifically addressed in the Federal Constitution and the state constitution.
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                                         V.    Conclusion

¶ 307         Historically, to prove an act of the General Assembly is unconstitutional we

        have required a showing that, beyond a reasonable doubt, an express provision of the

        constitution is violated. No express provision of our constitution has been violated

        here. Nonetheless, in the majority’s view, it is the members of this Court, rather than

        the people, who hold the power to alter our constitution. Thus, the majority by judicial

        fiat amends the plain text of Article I, Sections 10, 12, 14, and 19, to empower courts

        to supervise the legislative power of redistricting when met with complaints of

        partisan gerrymandering. Such action constitutes a clear usurpation of the people’s

        authority to amend their constitution. As explicitly stated in our constitution, the

        people alone have the authority to alter this foundational document. N.C. Const. art.

        I, § 3 (“The people of this State have the inherent, sole, and exclusive right of . . .

        altering . . . their Constitution . . . .”); see also id. art. XIII, § 2. Under our

        constitution’s expressed process, the people have the final say. Id. art. XIII, §§ 3–4.

¶ 308         The majority asserts that its holding somehow adheres to “the principle of

        democratic and political equality that reflects the spirits and intent of our Declaration

        of Rights.” It cannot point to any text or case law to support its deciphering of the

        “spirits and intent” of the document because there is nothing in the text of the

        constitution, its history, or our case law that supports the majority’s position. The

        majority simply rules that the North Carolina Constitution now has a statewide
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        proportionality requirement for redistricting. In doing so, the conclusion magically

        transforms the protection of individual rights into the creation of a protected class

        consisting of members of a political party, thereby subjecting a redistricting plan to

        strict scrutiny review. The majority presents various general views about what

        constitutes unconstitutional partisan gerrymandering and provides a variety of

        observations about what the constitution requires. Absent from the opinion is what

        is meant by “substantially equal voting power on the basis of partisan affiliation.”

        Any discretionary decisions constitutionally committed to the General Assembly in

        the redistricting process seem to have been transferred to the Court.

¶ 309         The vagaries within the opinion and the order only reinforce the holding of the

        Supreme Court in Rucho that there is no neutral, manageable standard. The four

        members of this Court alone will approve a redistricting plan which meets their test

        of constitutionality. This case substantiates the observations of the Supreme Court

        of the United States as to the many reasons why partisan gerrymandering claims are

        nonjusticiable. The Court observed that redistricting invariably involves numerous

        policy decisions. It noted that “[p]artisan gerrymandering claims invariably sound in

        a desire for proportional representation,” Rucho, 139 S. Ct. at 2499, and that

        “plaintiffs inevitably ask the courts to make their own political judgment about how

        much representation particular political parties deserve—based on the votes of their

        supporters—and to rearrange the challenged districts to achieve that end,” id. In
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        other words, plaintiffs ask the courts “to reallocate political power between the two

        major political parties.” Id. at 2507. Despite these well-reasoned warnings, the

        majority of this Court proceeds, and in the process, proves the Supreme Court’s point.

¶ 310         The Supreme Court also warned of the need for courts to provide a clear

        standard so legislatures could “reliably differentiate unconstitutional from

        ‘constitutional political gerrymandering.’ ” Id. at 2499 (quoting Cromartie, 526 U.S.

        at 551, 119 S. Ct. at 1551). It observed that:

                     “Fairness” does not seem to us a judicially manageable
                     standard. . . . Some criterion more solid and more
                     demonstrably met than that seems to us necessary to
                     enable the state legislatures to discern the limits of their
                     districting discretion, to meaningfully constrain the
                     discretion of the courts, and to win public acceptance for
                     the courts’ intrusion into a process that is the very
                     foundation of democratic decisionmaking.

        Id. at 2499–500 (alteration in original) (quoting Vieth, 541 U.S. at 291, 124 S. Ct. at

        1784 (opinion of Scalia, J.)). The majority ignores all these warnings, fails to

        articulate a manageable standard, and seems content to have the discretion to

        determine when a redistricting plan is constitutional. This approach is radically

        inconsistent with our historic standard of review, which employs a presumption that

        acts of the General Assembly are constitutional, requiring identification of an express

        constitutional provision and a showing of a violation of that provision beyond a

        reasonable doubt.
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¶ 311         The Supreme Court cautioned that embroiling courts in cases involving

        partisan gerrymandering claims by applying an “expansive standard” would amount

        to an “unprecedented intervention in the American political process.” Id. at 2498

        (quoting Vieth, 541 U.S. at 306, 124 S. Ct. at 1793 (opinion of Kennedy, J.)). Sadly,

        the majority does just that. I respectfully dissent.

              Justices BERGER and BARRINGER join in this dissenting opinion.
